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     EXHIBIT A
              Case 5:21-cv-00047-MTT Document 1-1 Filed 02/05/21 Page 2 of 96
                                    This is a Banner Page




                              Staple Here For This Policy Set




       Click The Page Forward Arrow (>) Under Formset

                   to Advance to the Dec. Page




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       Case 5:21-cv-00047-MTT Document 1-1 Filed 02/05/21 Page 3 of 96
                                 POLICY                         NN1125585


                       INSURED ADDRESS COVER SHEET


TAPCO
PO BOX 286
BURLINGTON, NC 27216




                           DALE MELTON

                           1217 S HOUSTON LAKE RD STE 5



                           WARNER ROBINS          , GA 31088




         Due to USPS regulations on automated flat mail, YOU
         may receive the AGENT COPY and the INSURED COPY of
         the policy in separate envelopes.




                             Agency Information:
                   Agency Code: 1031993
                   DALE MELTON
                   1217 S HOUSTON LAKE RD STE 5

                   WARNER ROBINS                         GA 31088
                   Phone Number: (478) 287-1753




                            INSURED'S COPY
                     Case 5:21-cv-00047-MTT Document 1-1 Filed 02/05/21 Page 4 of 96
                               COMMERCIAL LINES POLICY - COMMON POLICY DECLARATIONS

                                   NAUTILUS INSURANCE COMPANY
                                                                 Scottsdale, Arizona
                                                                                             Policy No. NN1125585
Transaction Type:         New
  Renewal of Policy #                                   Inspection Ordered:
  Rewrite of Policy #                                           Yes      No
  Cross Ref. Policy #                                                                This contract is registered and delivered as a
  NIC Quote #                                                                        surplus line coverage under the Surplus Line
                                                                                     Insurance Law, O.C.G.A. Chapter 33-5.
Named Insured and Mailing Address
(No., Street, Town or City, County, State, Zip Code)
  BACONSFIELD APARTMENTS, LLC

  8062 EISENHOWER PARKWAY

  LIZELLA                             GA 31052
  BIBB
Agent and Mailing Address                      Agency No.        03204      00
(No., Street, Town or City, County, State, Zip Code)
  Tapco Underwriters, Inc.,
  A Division of CRC Insurance Services, Inc.                                             If property coverage is afforded by this policy, the
  3060 South Church Street (PO Box 286)                                                       POLICY IS A COINSURANCE CONTRACT.
  Burlington, NC 27215                                                                               NO FLAT CANCELLATION
Policy
Period:     From     05/21/2020           to    05/21/2021            at 12:01 A.M. Standard Time at your mailing address shown above.
Business Description:          OFFICE                                                                                          Tax State   GA

Form of Business:            Individual      Partnership     Joint Venture       Trust    X Limited Liability Company (LLC)
                             Organization, including a Corporation (but not including a Partnership, Joint Venture or LLC)

                IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
                               WE WILL PROVIDE YOU THE INSURANCE STATED IN THIS POLICY.
               THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED.
                                     THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
                                                                                                                           PREMIUM
      Commercial General Liability Coverage Part                                                                  $
      Commercial Property Coverage Part                                                                           $
                                                                                                                  $
                                                                                                                  $
                                                                                                                  $
                                                                                                                  $
                                                                                                                  $
             Tax & Fee Schedule                                           TOTAL ADVANCE PREMIUM                   $
      Policy Fee                                            $    150.00          Minimum & Deposit
      State Tax                                                  332.12
                                                                                 TOTAL TAXES & FEES               $


                                                                                                     TOTAL        $



Form(s) and Endorsement(s) made a part of this policy at time of issue: Refer to Schedule of Forms and Endorsements.

Producer and Mailing Address
(No., Street, Town or City, County, State, Zip Code)
  DALE MELTON
  1217 S HOUSTON LAKE RD

  WARNER ROBINS


Countersigned: Burlington, NC                                                                                 Surplus Lines Broker
                                                            By
               06/09/2020     JACOB550
                                                                      Countersignature or Authorized Representative, whichever is applicable

THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART COVERAGE
   FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.
                                  Includes copyrighted material of Insurance Services Office, Inc., with its permission.

E001 (02/14)                                              ORIGINAL
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POLICY NUMBER: NN1125585

Named Insured:       BACONSFIELD APARTMENTS, LLC


                       SCHEDULE OF FORMS AND ENDORSEMENTS

      Forms Applicable to this Coverage Part - Multi-Peril
      TAP-CRF (11/18)                  Claims Reporting Information
      IL0017 (11/98)                   Common Policy Conditions
      IL0262 (02/15)                   Georgia Changes-Cancel/Nonrenew
      E001J   (04/17)                  Nautilus Policy Jacket
      E906    (01/16)                  Service of Suit
      E915 (07/13)                     US Treasurey OFAC Advisory Notice
      E919 (01/20)                     Privacy Notice
      S013    (07/09)                  Minimum Earned Premium Endt
      Forms Applicable to this Coverage Part - Property
      F001        (03/12)              Comml Property Coverage Part Dec
      CP0010      (10/12)              Building & Personal Prop Cvg Frm
      CP0090      (07/88)              Commercial Property Conditions
      CP1030      (10/12)              Cause of Loss - Special Form
      CP1033      (10/12)              Theft Exclusion
      IL0935      (07/02)              Excl-Certain Comp-Related Losses
      IL0953      (01/15)              Excl of Certified Acts of Terror
      E600        (11/15)              Actual Cash Value
      E909        (01/20)              Disclosure-SFP & Decl of Terror
      F201        (11/05)              Exclusion - Property Pollution
      F202        (11/05)              Excl-Micro/Bio Organisms/Contam
      F210        (04/16)              Amendment of Coverage - Collapse
      F233        (11/14)              Exclusion of Loss Due to Virus or Bacteria
      F605        (11/05)              Total Loss Endorsement
      Forms Applicable to this Coverage Part - General Liability
      S150        (07/09)              CGL Coverage Part Declarations
      CG0001      (04/13)              Comml General Liability Cvg Form
      CG2107      (05/14)              Excl-Access or Discl of Conf/Pers Info
      CG2109      (06/15)              Excl-Unmanned Aircraft
      CG2147      (12/07)              Excl-Employmt-Related Practices
      CG2173      (01/15)              Excl of Certified Acts of Terror
      CG2196      (03/05)              Silica/Silica-Related Dust Excl
      IL0021      (09/08)              Nuclear Energy Liab Exclusion
      L216        (04/16)              Amend of Deftns-Insd Contract
      L217        (06/17)              Excl-Punitive Exemplary Dmgs
      L223        (06/07)              Exclusion - Total Pollution
      L226        (06/06)              Excl-Contag,Infect,Trans Disease
      L240        (06/07)              Limit Cvg to Designated Ops
      L241        (07/09)              Excl-Micro/Bio Organisms/Contam
      L282        (07/10)              Excl-Contractor & Subcontractor
      L408        (03/12)              Changes-Civil Union or Domestic Partnership
      L601        (12/09)              Amend of Conditions - Prem Audit
      L850        (05/09)              Deductible Liab Insurance
      S038        (04/16)              Amendment of Liquor Liab Excl
      S261        (07/09)              Exclusion - Asbestos




      The forms and endorsements shown on this Schedule constitute the entire policy at the time of issuance.


S902 (07/09)                                                                                                    Page 1 of 2
               Case 5:21-cv-00047-MTT Document 1-1 Filed 02/05/21 Page 6 of 96


                       SCHEDULE OF FORMS AND ENDORSEMENTS (Continued)




                                      ADDITIONAL FORMS APPLICABLE:




      The forms and endorsements shown on this Schedule constitute the entire policy at the time of issuance.
S902 (07/09)                                                                                                    Page 2 of 2
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                   Claim Reporting Information



To report a claim, you can contact your agent or notify the TAPCO
Claims Department by calling 1-800-334-5579; or emailing
claims@gotapco.com; or faxing to 336-538-0094.


                How To Report A Claim Directly to TAPCO

Call 1-800-334-5579; or email claims@gotapco.com; or fax to
336-538-0094.

In order to expedite this process, please be prepared to furnish as
much of the following information as possible:


 *    Your Policy Number


 *    Date, time, and location of the loss/accident


 *    Details of the loss/accident


 *    Name, address and phone number of any involved parties


 *    If applicable, name of law enforcement agency or fire
      department along with the incident number




     TAP-CRF (11/18)
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                                                                 IL 00 17 11 98

                                          COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A.   Cancellation                                                                        b.    Give you reports on the conditions we find;
     1.   The first Named Insured shown in the                                                 and
          Declarations may cancel this policy by mailing or                              c.    Recommend changes.
          delivering to us advance written notice of                                2.   We are not obligated to make any inspections,
          cancellation.                                                                  surveys, reports or recommendations and any
     2.   We may cancel this policy by mailing or                                        such actions we do undertake relate only to
          delivering to the first Named Insured written                                  insurability and the premiums to be charged. We
          notice of cancellation at least:                                               do not make safety inspections. We do not
          a.     10 days before the effective date of                                    undertake to perform the duty of any person or
                 cancellation if we cancel for nonpayment of                             organization to provide for the health or safety of
                 premium; or                                                             workers or the public. And we do not warrant
                                                                                         that conditions:
          b.     30 days before the effective date of
                 cancellation if we cancel for any other                                 a.    Are safe or healthful; or
                 reason.                                                                 b.    Comply with laws, regulations, codes or
                                                                                               standards.
     3.   We will mail or deliver our notice to the first
          Named Insured's last mailing address known to                             3.   Paragraphs 1. and 2. of this condition apply not
          us.                                                                            only to us, but also to any rating, advisory, rate
                                                                                         service or similar organization which makes
     4.   Notice of cancellation will state the effective date
                                                                                         insurance inspections, surveys, reports or
          of cancellation. The policy period will end on that
                                                                                         recommendations.
          date.
                                                                                    4.   Paragraph 2. of this condition does not apply to
     5.   If this policy is cancelled, we will send the first
                                                                                         any      inspections,   surveys,   reports    or
          Named Insured any premium refund due. If we
                                                                                         recommendations we may make relative to
          cancel, the refund will be pro rata. If the first
                                                                                         certification under state or municipal statutes,
          Named Insured cancels, the refund may be less
                                                                                         ordinances or regulations, of boilers, pressure
          than pro rata. The cancellation will be effective
                                                                                         vessels or elevators.
          even if we have not made or offered a refund.
     6.   If notice is mailed, proof of mailing will be                        E.   Premiums
          sufficient proof of notice.                                               The first Named Insured shown in the Declarations:

B.   Changes                                                                        1.   Is responsible for the payment of all premiums;
                                                                                         and
     This policy contains all the agreements between you
     and us concerning the insurance afforded. The first                            2.   Will be the payee for any return premiums we
     Named Insured shown in the Declarations is                                          pay.
     authorized to make changes in the terms of this
                                                                               F.   Transfer Of Your Rights And Duties Under This
     policy with our consent. This policy's terms can be
                                                                                    Policy
     amended or waived only by endorsement issued by
     us and made a part of this policy.                                             Your rights and duties under this policy may not be
                                                                                    transferred without our written consent except in the
C. Examination Of Your Books And Records                                            case of death of an individual named insured.
     We may examine and audit your books and records                                If you die, your rights and duties will be transferred to
     as they relate to this policy at any time during the                           your legal representative but only while acting within
     policy period and up to three years afterward.                                 the scope of duties as your legal representative. Until
                                                                                    your legal representative is appointed, anyone having
D. Inspections And Surveys                                                          proper temporary custody of your property will have
     1.   We have the right to:                                                     your rights and duties but only with respect to that
          a.     Make inspections and surveys at any time;                          property.




GU519 (11/98)                  "Includes copyrighted material of Insurance Services Office, Inc. with its permission."
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                                                                                                                     IL 02 62 02 15


           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                 GEORGIA CHANGES - CANCELLATION
                                        AND NONRENEWAL
This endorsement modifies insurance provided under the following:

     CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
     COMMERCIAL AUTOMOBILE COVERAGE PART
     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     COMMERCIAL INLAND MARINE COVERAGE PART
     COMMERCIAL PROPERTY COVERAGE PART
     CRIME AND FIDELITY COVERAGE PART
     EQUIPMENT BREAKDOWN COVERAGE PART
     FARM COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


A.   Paragraph A.1. of the Cancellation Common                                        Our notice will state the effective date of
     Policy Condition is replaced by the following:                                   cancellation, which will be the later of the
     1.   The first Named Insured shown in the                                        following:
          Declarations may cancel this policy by mailing                              (1) 10 days from the date of mailing or
          or delivering to us advance written notice of                                   delivering our notice; or
          cancellation stating a future date on which the                             (2) The effective date of cancellation
          policy is to be cancelled, subject to the                                       stated in the first Named Insured's
          following:                                                                      notice to us.
          a.     If only the interest of the first Named
                 Insured is affected, the effective date of            B.   Paragraph A.5. of the Cancellation Common
                 cancellation will be either the date we                    Policy Condition is replaced by the following:
                 receive notice from the first Named                        5.   Premium Refund
                 Insured or the date specified in the notice,                    a.   If this policy is cancelled, we will send the
                 whichever    is   later.  However,     upon                          first Named Insured any premium refund
                 receiving a written notice of cancellation                           due.
                 from the first Named Insured, we may
                 waive the requirement that the notice state                     b.   If we cancel, the refund will be pro rata,
                 the future date of cancellation, by                                  except as provided in c. below.
                 confirming    the    date   and    time   of                    c.   If the cancellation results from failure of the
                 cancellation in writing to the first Named                           first Named Insured to pay, when due, any
                 Insured.                                                             premium to us or any amount, when due,
          b.     If by statute, regulation or contract this                           under a premium finance agreement, then
                 policy may not be cancelled unless notice                            the refund may be less than pro rata.
                 is given to a governmental agency,                                   Calculation of the return premium at less
                 mortgagee or other third party, we will mail                         than pro rata represents a penalty charged
                 or deliver at least 10 days' notice to the                           on unearned premium.
                 first Named Insured and the third party as                      d.   If the first Named Insured cancels, the
                 soon as practicable after receiving the first                        refund may be less than pro rata.
                 Named Insured's request for cancellation.                       e.   The cancellation will be effective even if we
                                                                                      have not made or offered a refund.




IL 02 62 02 15                              Copyright, Insurance Services Office, Inc., 2014                              Page 1 of 2
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C. The following is added to the Cancellation                             2.   When this policy has been in effect for more
   Common Policy Condition and supersedes any                                  than 60 days, or at any time if it is a renewal
   other provisions to the contrary:                                           with us, we may cancel for one or more of the
    If we decide to:                                                           following reasons:

    1.   Cancel or nonrenew this policy; or                                    a.   Nonpayment of premium, whether payable
                                                                                    to us or to our agent;
    2.   Increase current policy premium by more than
         15% (other than any increase due to change in                         b.   Upon discovery of fraud, concealment of a
         risk, exposure or experience modification or                               material fact, or material misrepresentation
         resulting  from    an    audit of    auditable                             made by or with the knowledge of any
         coverages); or                                                             person insured under this policy in
                                                                                    obtaining this policy, continuing this policy
    3.   Change any policy provision which would limit                              or presenting a claim under this policy;
         or restrict coverage;
                                                                               c.   Upon the occurrence of a change in the
    then:                                                                           risk which substantially increases any
    We will mail or deliver notice of our action                                    hazard insured against; or
    (including the dollar amount of any increase in                            d.   Upon the violation of any of the material
    renewal premium of more than 15%) to the first                                  terms or conditions of this policy by any
    Named Insured and lienholder, if any, at the last                               person insured under this policy.
    mailing address known to us. Except as applicable
    as described in Paragraph D. or E. below, we will                          We may cancel by providing notice to the first
    mail or deliver notice at least:                                           Named Insured at least:

         a.   10 days before the effective date of                                  (1) 10 days before the effective date of
              cancellation if this policy has been in effect                            cancellation if   we    cancel   for
              less than 60 days or if we cancel for                                     nonpayment of premium; or
              nonpayment of premium; or                                             (2) 45 days before the effective date of
         b.   45 days before the effective date of                                      cancellation if we cancel for any of the
              cancellation if this policy has been in effect                            reasons listed in b., c. or d. above.
              60 or more days and we cancel for a                    E.   With respect to a policy that is written to permit an
              reason    other     than    nonpayment      of              audit, the following is added to the Cancellation
              premium; or                                                 Common Policy Condition:
         c.   45 days before the expiration date of this                  If you fail to submit to or allow an audit for the
              policy if we decide to nonrenew, increase                   current or most recently expired term, we may
              the premium or limit or restrict coverage.                  cancel this policy subject to the following:
D. The following provisions apply to insurance                            1.   We will make two documented efforts to send
   covering residential real property only provided                            you and your agent notification of potential
   under the:                                                                  cancellation. After the second notice has been
    Capital Assets Program (Output Policy) Coverage                            sent, we have the right to cancel this policy by
    Part;                                                                      mailing or delivering a written notice of
                                                                               cancellation to the first Named Insured at least
    Commercial Property Coverage Part;                                         10 days before the effective date of
    Farm Coverage Part;                                                        cancellation, but not within 20 days of the first
    if the named insured is a natural person.                                  documented effort.

    With respect to such insurance, the following is                      2.   If we cancel this policy based on your failure to
    added to the Cancellation Common Policy                                    submit to or allow an audit, we will send the
    Condition and supersedes any provisions to the                             written notice of cancellation to the first Named
    contrary except as applicable as described in                              Insured at the last known mailing address by
    Paragraph E.:                                                              certified mail or statutory overnight delivery
                                                                               with return receipt requested.
    1.   When this policy has been in effect for 60 days
         or less and is not a renewal with us, we may
         cancel for any reason by notifying the first
         Named Insured at least 10 days before the
         date cancellation takes effect.




Page 2 of 2                               Copyright, Insurance Services Office, Inc., 2014                           IL 02 62 02 15
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                                COMMERCIAL LINES POLICY

    THIS POLICY IS NOT OBTAINED                         PRIMARILY         FOR     PERSONAL,          FAMILY      OR
    HOUSEHOLD PURPOSES.




    THIS POLICY CONSISTS OF:

    - Declarations;
    - Common Policy Conditions; and
    - One or more Coverage Parts. A Coverage Part consists of:
      - One or more Coverage Forms; and
      - Applicable Forms and Endorsements.




In Witness Whereof, we have caused this policy to be executed and attested, and, if required by state law, this policy
shall not be valid unless countersigned by our authorized representative.




                    Secretary                                                    President and CEO




                                              Administrative Office:
                                 7233 East Butherus Drive, Scottsdale, Arizona 85260
                                                 (480) 951-0905




E001J (04/17)
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                                             SERVICE OF SUIT

Pursuant to any statute of any state, territory or district of the United States which makes provision therefore, the
Company hereby designates the Superintendent, Commissioner or Director of Insurance or other Officer specified
for that purpose in the Statute, or his/her successor or successors in office, as its true and lawful attorney upon
whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of you or any
beneficiary hereunder arising out of this contract of insurance, and hereby designates the below named as the
person to whom the said Officer is authorized to mail such process or a true copy thereof.

It is further agreed that service of process in such suit may be made upon Janet Shemanske, or her nominee of the
Company at 7233 East Butherus Drive, Scottsdale, Arizona 85260, and that in any suit instituted against the
Company upon this policy, it will abide by the final decision of such Court or of any Appellate Court in the event of an
appeal. Nothing herein shall constitute a selection or designation of forum, or a waiver of any of the Company's
rights to select a forum or court, including any of the federal courts of the United States.




E906 (01/16)
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                            U.S. TREASURY DEPARTMENT'S
                     OFFICE OF FOREIGN ASSETS CONTROL (OFAC)
                        ADVISORY NOTICE TO POLICYHOLDERS

                                PLEASE READ THIS NOTICE CAREFULLY.

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of national emergency. OFAC has identified and listed numerous foreign agents, front organizations,
terrorists, terrorist organizations and narcotics traffickers as Specially Designated Nationals. This list can be located
on the United States Treasury's web site: http://www.treasury.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this
insurance are immediately subject to OFAC. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on the
premiums and payments also apply.




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                                             PRIVACY NOTICE


                                       W. R. Berkley Corporation
                                       Notice of Privacy Policies

For additional information about      our Privacy Policies and how we collect, use,            and share personal
information,  and   to  make   a       consumer   request,  please see our   online            Privacy Policy at:
https://www.berkley.com/privacy.

If you would like to receive a paper copy of this Notice and/or our Privacy Policies, please contact us at
either nic_regulatory@nautilus-ins.com or 480-509-6627.




                        Notice of Personal Information Collected
                (Pursuant to the California Consumer Privacy Act (CCPA))

This notice applies only to information received and collected by W. R. Berkley Corporation ("Berkley"),
its affiliates and subsidiaries from residents of the state of California.

In this notice, when we refer to "we", "us" or "our", it means Nautilus Insurance Group or one or more
other operating units of W. R. Berkley Corporation ("Berkley operating units").

When we refer to "you" and "your" in this notice, we mean a resident of the state of California whose
personal information we may collect. More information about W. R. Berkley Corporation and Berkley
operating units can be found on https://www.berkley.com/our-business/operating-units.

Below is a table showing the categories of personal information that one or more of the Berkley operating
units collect in the course of performing insurance services and how it is used,                     Not every Berkley
operating unit collects every category of personal information or uses it in all the ways listed below.

[continued on next page]




E919 (01/20)                                                                                                Page 1 of 2
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                    Personal Information Category                             How it is Used

                               Identifiers
               (such as name, address, social security #,
                        driver's license #, etc.)

          Other Sensitive Information under California
                              Law
            (Examples: physical description, financial
              information, medical information, etc.)

            Characteristics of protected classifications
                 under California or federal law
           (Examples: race, sex, color, religion, national
                    origin, marital status, etc.)
                                                             To perform insurance services for policyholders/
                     Biometric information
                                                             beneficiaries/claimants; maintain and improve
           (Examples: fingerprints, keystroke patterns,
                                                             quality of services; security; prevent fraud and
              gait patterns, sleep/health data, etc.)
                                                             improper use; internal research; identify and
                          Geolocation Data                   repair errors; comply with laws and regulations.
               (Information to identify physical location)

           Audio, electronic, visual, thermal, olfactory,
                      or similar information.
             (Examples: audio and video recordings)

                 Professional or employment-related
                            information.
                        (Example: job history)

                      Education information
           (information not publicly available as defined
                         under federal law)

                      Commercial information                 To perform insurance services for policyholders/
               (Examples: records of personal property,      beneficiaries/claimants; security; prevent fraud
                 products, and services purchased or         and improper use; internal research; collections;
                            obtained, etc.)                  comply with laws and regulations.

            Internet or other electronic network activity    To perform insurance services for policyholders/
                             information                     beneficiaries/claimants; maintain and improve
           (Examples: browsing/search history, visitor's     quality of services; security; prevent fraud and
                   interaction with a website, etc.)         improper use; internal research; identify and
                                                             repair errors; comply with laws and regulations.

             Inferences drawn from any of the other       To perform insurance services for policyholders/
                    categories of information.            beneficiaries/claimants; maintain and improve
          (use of any of the above categories to create a quality of services; security; prevent fraud and
                    profile about a consumer)             improper use; internal research; identify and
                                                          repair errors; comply with laws and regulations.


          This notice was updated on January 8, 2020




E919 (01/20)                                                                                                     Page 2 of 2
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POLICY NUMBER: NN1125585



         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       MINIMUM EARNED PREMIUM ENDORSEMENT

If this policy is cancelled at your request, there will be a minimum earned premium retained by us of
$         or      25 % of the premium for this insurance, whichever is greater.

Non-payment of premium is considered a request by the first Named Insured for cancellation of this policy.

If a policy fee, inspection fee or expense constant is applicable to this policy, they will be fully earned and no refund
will be made.




All other terms and conditions of this policy remain unchanged.




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                 COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS
POLICY NUMBER: NN1125585
   Supplemental Declarations is attached (Applies only if box is checked)       Effective Date: 05/21/2020                12:01 A.M. Standard Time

BUSINESS DESCRIPTION                 OFFICE
DESCRIPTION OF PREMISES
PREM BLDG                                                                                  CLASS                         PROT         YEAR       NO. OF
                                      LOCATION ADDRESS                                                  CONST
 NO.  NO.                                                                                  CODE                          CLASS        BUILT     STORIES
  1       1     776 BACONSFIELD RD                                                         0702         FRAME             1           1989            2
                MACON                    GA 31211
                BLDG DESC/OCCUPANCY: OFFICE



                BLDG DESC/OCCUPANCY:



                BLDG DESC/OCCUPANCY:

COVERAGES PROVIDED              (INSURANCE AT THE DESCRIBED PREMISES APPLIES ONLY FOR COVERAGES FOR WHICH A LIMIT OF INSURANCE IS SHOWN)

PREM BLDG                 COVERAGE                 LIMIT OF          COVERED CAUSES OF LOSS            * COINS %     RATES                 PREMIUM
 NO.  NO.                                        INSURANCE
  1       1    Building                         1,500,000         Special-Excl Theft                      80%       .5000             $




                                                                * IF EXTRA EXPENSE COVERAGE, LIMITS ON LOSS PAYMENT


DEDUCTIBLE           $ 1,000                Exceptions: $
OPTIONAL COVERAGES              (APPLICABLE ONLY WHEN ENTRIES ARE MADE IN THE SCHEDULE BELOW)

                                           AGREED VALUE                             REPLACEMENT COST (APPLIES ONLY IF "X" IS SHOWN BELOW)
PREM BLDG        EXPIRATION                                                                                    PERSONAL                   INCLUDING
                                          COVERAGE                    AMOUNT               BUILDING
 NO.  NO.           DATE                                                                                       PROPERTY                     "STOCK"




PREM BLDG                 INFLATION GUARD PERCENTAGE                  ** MONTHLY LIMIT OF          ** MAXIMUM PERIOD             ** EXTENDED PERIOD
 NO.  NO.            BUILDING        PERSONAL PROPERTY                 INDEMNITY (Fraction)          OF INDEMNITY ***            OF INDEMNITY (Days)




                                                                                                                ** APPLIES TO BUSINESS INCOME ONLY
                                                                                                                *** APPLIES ONLY IF "X" IS SHOWN BELOW

MORTGAGE HOLDER(S)
PREM BLDG
                                                      MORTGAGE HOLDER NAME AND MAILING ADDRESS
 NO.  NO.
               NONE REPORTED
                                                                                                           LOAN NUMBER:


                                                                                                           LOAN NUMBER:



                                                                                                           LOAN NUMBER:


                                                                       PREMIUM FOR THIS COVERAGE PART                             $
FORMS AND ENDORSEMENTS (other than applicable Forms and Endorsements shown elsewhere in the policy)
  Forms and Endorsements applying to this Coverage Part and made part of this policy at time of issue:
  APPLICABLE TO ALL COVERAGES:
                                            Refer to Schedule of Forms and Endorsements

  APPLICABLE TO SPECIFIC PREMISES/COVERAGES:
   PREM NO.      BLDG NO.              COVERAGES                                                  FORM NUMBERS




      THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

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                                                                                                         COMMERCIAL PROPERTY
                                                                                                                 CP 00 10 10 12



                                 BUILDING AND PERSONAL PROPERTY
                                         COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The words
"we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.


A.   Coverage                                                                    b.   Your     Business     Personal      Property
     We will pay for direct physical loss of or damage to                             consists of the following property located
     Covered Property at the premises described in the                                in or on the building or structure described
     Declarations caused by or resulting from any                                     in the Declarations or in the open (or in a
     Covered Cause of Loss.                                                           vehicle) within 100 feet of the building or
                                                                                      structure or within 100 feet of the premises
     1.   Covered Property                                                            described in the Declarations, whichever
          Covered Property, as used in this Coverage                                  distance is greater:
          Part, means the type of property described in                               (1) Furniture and fixtures;
          this section, A.1., and limited in A.2. Property
          Not Covered, if a Limit Of Insurance is shown                               (2) Machinery and equipment;
          in the Declarations for that type of property.                              (3) "Stock";
          a.     Building,  meaning    the  building   or                             (4) All other personal property owned by
                 structure described in the Declarations,                                 you and used in your business;
                 including:                                                           (5) Labor, materials or services furnished
                 (1) Completed additions;                                                 or arranged by you on personal
                 (2) Fixtures, including outdoor fixtures;                                property of others;

                 (3) Permanently installed:                                           (6) Your use interest as tenant in
                                                                                          improvements       and     betterments.
                     (a) Machinery; and                                                   Improvements and betterments are
                     (b) Equipment;                                                       fixtures, alterations, installations or
                 (4) Personal property owned by you that                                  additions:
                     is used to maintain or service the                                        (a) Made a part of the building or
                     building or structure or its premises,                                        structure you occupy but do not
                     including:                                                                    own; and
                     (a) Fire-extinguishing equipment;                                         (b) You acquired or made at your
                     (b) Outdoor furniture;                                                        expense   but  cannot legally
                                                                                                   remove;
                     (c) Floor coverings; and
                                                                                      (7) Leased personal property for which
                     (d) Appliances used for refrigerating,                               you have a contractual responsibility
                         ventilating, cooking, dishwashing                                to insure, unless otherwise provided
                         or laundering;                                                   for under Personal Property Of Others.
                 (5) If not covered by other insurance:                          c.   Personal Property Of Others that is:
                     (a) Additions    under     construction,                         (1) In your care, custody or control; and
                         alterations and repairs to the
                         building or structure;                                       (2) Located in or on the building or
                                                                                          structure described in the Declarations
                     (b) Materials, equipment, supplies                                   or in the open (or in a vehicle) within
                         and temporary structures, on or                                  100 feet of the building or structure or
                         within 100 feet of the described                                 within 100 feet of the premises
                         premises,     used    for   making                               described     in    the   Declarations,
                         additions, alterations or repairs to                             whichever distance is greater.
                         the building or structure.




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               However, our payment for loss of or                               n.   Electronic data, except as provided under
               damage to personal property of others will                             the Additional Coverage, Electronic Data.
               only be for the account of the owner of the                            Electronic data means information, facts
               property.                                                              or computer programs stored as or on,
    2.   Property Not Covered                                                         created or used on, or transmitted to or
                                                                                      from    computer      software    (including
         Covered Property does not include:                                           systems and applications software), on
         a.    Accounts, bills, currency, food stamps or                              hard or floppy disks, CD-ROMs, tapes,
               other evidences of debt, money, notes or                               drives, cells, data processing devices or
               securities. Lottery tickets held for sale are                          any other repositories of computer
               not securities;                                                        software which are used with electronically
         b.    Animals, unless owned by others and                                    controlled equipment. The term computer
               boarded by you, or if owned by you, only                               programs, referred to in the foregoing
               as "stock" while inside of buildings;                                  description of electronic data, means a set
                                                                                      of related electronic instructions which
         c.    Automobiles held for sale;                                             direct the operations and functions of a
         d.    Bridges, roadways, walks, patios or other                              computer or device connected to it, which
               paved surfaces;                                                        enable the computer or device to receive,
         e.    Contraband, or property in the course of                               process, store, retrieve or send data. This
               illegal transportation or trade;                                       paragraph, n., does not apply to your
                                                                                      "stock" of prepackaged software, or to
         f.    The     cost    of     excavations,    grading,                        electronic data which is integrated in and
               backfilling or filling;                                                operates or controls the building's
         g.    Foundations of buildings, structures,                                  elevator, lighting, heating, ventilation, air
               machinery or boilers if their foundations                              conditioning or security system;
               are below:                                                        o.   The cost to replace or restore the
               (1) The lowest basement floor; or                                      information on valuable papers and
               (2) The surface of the ground, if there is                             records, including those which exist as
                   no basement;                                                       electronic data. Valuable papers and
                                                                                      records include but are not limited to
         h.    Land (including land on which the property                             proprietary information, books of account,
               is located), water, growing crops or lawns                             deeds, manuscripts, abstracts, drawings
               (other than lawns which are part of a                                  and card index systems. Refer to the
               vegetated roof);                                                       Coverage Extension for Valuable Papers
         i.    Personal property        while    airborne     or                      And Records (Other Than Electronic Data)
               waterborne;                                                            for limited coverage for valuable papers
         j.    Bulkheads,    pilings,   piers,   wharves      or                      and records other than those which exist
               docks;                                                                 as electronic data;

         k.    Property that is covered under another                            p.   Vehicles    or    self-propelled    machines
               coverage form of this or any other policy in                           (including aircraft or watercraft) that:
               which it is more specifically described,                               (1) Are licensed for use on public roads;
               except for the excess of the amount due                                    or
               (whether you can collect on it or not) from                            (2) Are operated principally away from the
               that other insurance;                                                      described premises.
         l.    Retaining walls that are not part of a                                 This paragraph does not apply to:
               building;
                                                                                               (a) Vehicles     or     self-propelled
         m. Underground pipes, flues or drains;                                                    machines     or     autos     you
                                                                                                   manufacture,      process       or
                                                                                                   warehouse;




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                     (b) Vehicles       or  self-propelled                                     (d) Remove property of others of a
                         machines, other than autos, you                                           type that would not be Covered
                         hold for sale;                                                            Property under this Coverage
                     (c) Rowboats or canoes out of water                                           Form;
                         at the described premises; or                                         (e) Remove deposits of mud or earth
                     (d) Trailers, but only to the extent                                          from the grounds of the described
                         provided for in the Coverage                                              premises;
                         Extension      for    Non-owned                                       (f) Extract "pollutants" from land or
                         Detached Trailers; or                                                     water; or
         q.      The following property while outside of                                       (g) Remove,     restore   or      replace
                 buildings:                                                                        polluted land or water.
                 (1) Grain, hay, straw or other crops;                                (3) Subject    to   the         exceptions    in
                 (2) Fences, radio or television antennas                                 Paragraph     (4),          the   following
                     (including satellite dishes) and their                               provisions apply:
                     lead-in wiring, masts or towers, trees,                                   (a) The most we will pay for the total
                     shrubs or plants (other than trees,                                           of direct physical loss or damage
                     shrubs or plants which are "stock" or                                         plus debris removal expense is the
                     are part of a vegetated roof), all except                                     Limit of Insurance applicable to
                     as    provided     in  the     Coverage                                       the Covered Property that has
                     Extensions.                                                                   sustained loss or damage.
    3.   Covered Causes Of Loss                                                                (b) Subject to (a) above, the amount
         See applicable Causes Of Loss form as shown                                               we will pay for debris removal
         in the Declarations.                                                                      expense is limited to 25% of the
                                                                                                   sum of the deductible plus the
    4.   Additional Coverages                                                                      amount that we pay for direct
         a.      Debris Removal                                                                    physical loss or damage to the
                 (1) Subject to Paragraphs (2), (3) and (4),                                       Covered     Property   that    has
                     we will pay your expense to remove                                            sustained    loss   or   damage.
                     debris of Covered Property and other                                          However, if no Covered Property
                     debris that is on the described                                               has sustained direct physical loss
                     premises, when such debris is caused                                          or damage, the most we will pay
                     by or results from a Covered Cause of                                         for removal of debris of other
                     Loss that occurs during the policy                                            property (if such removal is
                     period. The expenses will be paid only                                        covered under this Additional
                     if they are reported to us in writing                                         Coverage) is $5,000 at each
                     within 180 days of the date of direct                                         location.
                     physical loss or damage.                                         (4) We will pay up to an additional
                 (2) Debris Removal does not apply to                                     $25,000 for debris removal expense,
                     costs to:                                                            for each location, in any one
                                                                                          occurrence of physical loss or
                     (a) Remove debris of property of                                     damage to Covered Property, if one or
                         yours that is not insured under this                             both of the following circumstances
                         policy, or property in         your                              apply:
                         possession that is not Covered
                         Property;                                                             (a) The total of the actual debris
                                                                                                   removal expense plus the amount
                     (b) Remove debris of property owned                                           we pay for direct physical loss or
                         by or leased to the landlord of the                                       damage exceeds the Limit of
                         building where your described                                             Insurance    on    the   Covered
                         premises are located, unless you                                          Property that has sustained loss
                         have a contractual responsibility                                         or damage.
                         to insure such property and it is
                         insured under this policy;                                            (b) The    actual    debris    removal
                                                                                                   expense exceeds 25% of the sum
                     (c) Remove any property that is                                               of the deductible plus the amount
                         Property Not Covered, including                                           that we pay for direct physical loss
                         property addressed under the                                              or damage to the Covered
                         Outdoor    Property   Coverage                                            Property that has sustained loss
                         Extension;                                                                or damage.



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               Therefore, if (4)(a) and/or (4)(b) applies,          The additional amount payable for debris removal
               our total payment for direct physical loss           expense is provided in accordance with the terms of
               or damage and debris removal expense                 Paragraph (4), because the debris removal expense
               may reach but will never exceed the Limit            ($40,000) exceeds 25% of the loss payable plus the
               of Insurance on the Covered Property that            deductible ($40,000 is 50% of $80,000), and because
               has sustained loss or damage, plus                   the sum of the loss payable and debris removal
               $25,000.                                             expense ($79,500 + $40,000 = $119,500) would
         (5) Examples                                               exceed the Limit of Insurance ($90,000). The additional
                                                                    amount of covered debris removal expense is $25,000,
               The following examples assume that there             the maximum payable under Paragraph (4). Thus, the
               is no Coinsurance penalty.                           total payable for debris removal expense in this
Example 1                                                           example is $35,500; $4,500 of the debris removal
Limit of Insurance:                              $ 90,000           expense is not covered.

Amount of Deductible:                            $      500                   b.   Preservation Of Property

Amount of Loss:                                  $ 50,000                          If it is necessary to move Covered
                                                                                   Property from the described premises to
Amount of Loss Payable:                          $ 49,500                          preserve it from loss or damage by a
                                          ($50,000 - $500)                         Covered Cause of Loss, we will pay for any
Debris Removal Expense:                          $ 10,000                          direct physical loss or damage to that
                                                                                   property:
Debris Removal Expense Payable:                  $ 10,000
($10,000 is 20% of $50,000.)                                                       (1) While it is being moved or while
                                                                                       temporarily stored at another location;
The debris removal expense is less than 25% of the                                     and
sum of the loss payable plus the deductible. The sum
of the loss payable and the debris removal expense                                 (2) Only if the loss or damage occurs
($49,500 + $10,000 = $59,500) is less than the Limit of                                within 30 days after the property is first
Insurance. Therefore, the full amount of debris removal                                moved.
expense is payable in accordance with the terms of                            c.   Fire Department Service Charge
Paragraph (3).                                                                     When the fire department is called to save
Example 2                                                                          or protect Covered Property from a
Limit of Insurance:                              $ 90,000                          Covered Cause of Loss, we will pay up to
                                                                                   $1,000 for service at each premises
Amount of Deductible:                            $      500                        described in the Declarations, unless a
Amount of Loss:                                  $ 80,000                          higher limit is shown in the Declarations.
Amount of Loss Payable:                          $ 79,500                          Such limit is the most we will pay
                                                                                   regardless of the number of responding
                                          ($80,000 - $500)                         fire departments or fire units, and
Debris Removal Expense:                          $ 40,000                          regardless of the number or type of
Debris Removal Expense Payable                                                     services performed.

                        Basic Amount:            $ 10,500                          This Additional Coverage applies to your
                                                                                   liability for  fire department    service
                        Additional Amount:       $ 25,000                          charges:
The basic amount payable for debris removal expense                                (1) Assumed by contract or agreement
under the terms of Paragraph (3) is calculated as                                      prior to loss; or
follows: $80,000 ($79,500 + $500) x .25 = $20,000,
capped at $10,500. The cap applies because the sum                                 (2) Required by local ordinance.
of the loss payable ($79,500) and the basic amount                                 No Deductible applies to this Additional
payable for debris removal expense ($10,500) cannot                                Coverage.
exceed the Limit of Insurance ($90,000).




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         d.      Pollutant Clean-up And Removal                                      (5) Under this Additional Coverage, we
                 We will pay your expense to extract                                     will not pay for:
                 "pollutants" from land or water at the                                       (a) The enforcement of or compliance
                 described premises if the discharge,                                             with any ordinance or law which
                 dispersal, seepage, migration, release or                                        requires     demolition,       repair,
                 escape of the "pollutants" is caused by or                                       replacement,        reconstruction,
                 results from a Covered Cause of Loss that                                        remodeling or remediation of
                 occurs during the policy period. The                                             property due to contamination by
                 expenses will be paid only if they are                                           "pollutants"   or   due     to    the
                 reported to us in writing within 180 days of                                     presence, growth, proliferation,
                 the date on which the Covered Cause of                                           spread or any activity of "fungus",
                 Loss occurs.                                                                     wet or dry rot or bacteria; or
                 This Additional Coverage does not apply                                      (b) Any costs associated with the
                 to costs to test for, monitor or assess the                                      enforcement of or compliance
                 existence, concentration or effects of                                           with an ordinance or law which
                 "pollutants". But we will pay for testing                                        requires any insured or others to
                 which is performed in the course of                                              test for, monitor, clean up,
                 extracting the "pollutants" from the land or                                     remove, contain, treat, detoxify or
                 water.                                                                           neutralize, or in any way respond
                 The most we will pay under this Additional                                       to, or assess the effects of
                 Coverage for each described premises is                                          "pollutants", "fungus", wet or dry
                 $10,000 for the sum of all covered                                               rot or bacteria.
                 expenses arising out of Covered Causes of                           (6) The most we will pay under this
                 Loss occurring during each separate                                     Additional    Coverage,     for    each
                 12-month period of this policy.                                         described building insured under this
         e.      Increased Cost Of Construction                                          Coverage Form, is $10,000 or 5% of
                                                                                         the Limit of Insurance applicable to
                 (1) This Additional Coverage applies only                               that building, whichever is less. If a
                     to buildings to which the Replacement                               damaged building is covered under a
                     Cost Optional Coverage applies.                                     blanket Limit of Insurance which
                 (2) In the event of damage by a Covered                                 applies to more than one building or
                     Cause of Loss to a building that is                                 item of property, then the most we will
                     Covered Property, we will pay the                                   pay under this Additional Coverage,
                     increased costs incurred to comply                                  for that damaged building, is the lesser
                     with the minimum standards of an                                    of $10,000 or 5% times the value of the
                     ordinance or law in the course of                                   damaged building as of the time of
                     repair, rebuilding or replacement of                                loss times the applicable Coinsurance
                     damaged parts of that property,                                     percentage.
                     subject to the limitations stated in                                     The amount payable under this
                     e.(3) through e.(9) of this Additional                                   Additional Coverage is additional
                     Coverage.                                                                insurance.
                 (3) The ordinance or law referred to in                             (7) With  respect           to   this   Additional
                     e.(2) of this Additional Coverage is an                             Coverage:
                     ordinance or law that regulates the
                     construction or repair of buildings or                                   (a) We will not pay for the Increased
                     establishes zoning or land          use                                      Cost of Construction:
                     requirements     at    the   described                                       (i) Until the property is actually
                     premises and is in force at the time of                                          repaired or replaced at the
                     loss.                                                                            same or another premises;
                 (4) Under this Additional Coverage, we                                               and
                     will not pay any costs due to an                                             (ii) Unless     the    repair   or
                     ordinance or law that:                                                            replacement is made as soon
                     (a) You were required to comply with                                              as reasonably possible after
                         before the loss, even when the                                                the loss or damage, not to
                         building was undamaged; and                                                   exceed two years. We may
                                                                                                       extend this period in writing
                     (b) You failed to comply with.                                                    during the two years.




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                   (b) If the building is repaired or                                (3) The     Covered  Causes    of   Loss
                       replaced at the same premises, or                                 applicable to Your Business Personal
                       if you elect to rebuild at another                                Property apply to this Additional
                       premises, the most we will pay for                                Coverage, Electronic Data, subject to
                       the     Increased      Cost      of                               the following:
                       Construction, subject      to   the                                    (a) If the Causes Of Loss - Special
                       provisions    of  e.(6)   of   this                                        Form applies, coverage under this
                       Additional   Coverage,     is   the                                        Additional Coverage, Electronic
                       increased cost of construction at                                          Data, is limited to the "specified
                       the same premises.                                                         causes of loss" as defined in that
                   (c) If the ordinance or law requires                                           form and Collapse as set forth in
                       relocation to another premises,                                            that form.
                       the most we will pay for the                                           (b) If the Causes Of Loss - Broad
                       Increased Cost of Construction,                                            Form applies, coverage under this
                       subject to the provisions of e.(6)                                         Additional Coverage, Electronic
                       of this Additional Coverage, is the                                        Data, includes Collapse as set
                       increased cost of construction at                                          forth in that form.
                       the new premises.
                                                                                              (c) If the Causes Of Loss form is
               (8) This Additional Coverage is not                                                endorsed to add a Covered Cause
                   subject to the terms of the Ordinance                                          of Loss, the additional Covered
                   Or Law Exclusion to the extent that                                            Cause of Loss does not apply to
                   such Exclusion would conflict with the                                         the coverage provided under this
                   provisions of this Additional Coverage.                                        Additional Coverage, Electronic
               (9) The costs addressed in the Loss                                                Data.
                   Payment and Valuation Conditions                                           (d) The Covered Causes of Loss
                   and the Replacement Cost Optional                                              include a virus, harmful code or
                   Coverage, in this Coverage Form, do                                            similar instruction introduced into
                   not include     the increased cost                                             or enacted on a computer system
                   attributable to enforcement of or                                              (including electronic data) or a
                   compliance with an ordinance or law.                                           network to which it is connected,
                   The amount payable under this                                                  designed to damage or destroy
                   Additional Coverage, as stated in e.(6)                                        any part of the system or disrupt
                   of this Additional Coverage, is not                                            its normal operation. But there is
                   subject to such limitation.                                                    no coverage for loss or damage
         f.    Electronic Data                                                                    caused by or resulting from
               (1) Under     this   Additional    Coverage,                                       manipulation     of   a   computer
                   electronic data has the meaning                                                system (including electronic data)
                   described      under     Property     Not                                      by any employee, including a
                   Covered,      Electronic    Data.    This                                      temporary or leased employee, or
                   Additional Coverage does not apply to                                          by an entity retained by you or for
                   your "stock" of prepackaged software,                                          you to inspect, design, install,
                   or to electronic data which is                                                 modify, maintain, repair or replace
                   integrated in and operates or controls                                         that system.
                   the   building's     elevator,   lighting,
                   heating, ventilation, air conditioning or
                   security system.
               (2) Subject to the provisions of this
                   Additional Coverage, we will pay for
                   the cost to replace or restore
                   electronic data which has been
                   destroyed or corrupted by a Covered
                   Cause of Loss. To the extent that
                   electronic data is not replaced or
                   restored, the loss will be valued at the
                   cost of replacement of the media on
                   which the electronic data was stored,
                   with blank media of substantially
                   identical type.



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                 (4) The most we will pay under this                                   (2) Your Business Personal Property
                     Additional Coverage, Electronic Data,                                      (a) If this policy covers Your Business
                     is $2,500 (unless a higher limit is                                            Personal Property,       you   may
                     shown in the Declarations) for all loss                                        extend that insurance to apply to:
                     or damage sustained in any one policy
                     year, regardless of the number of                                              (i) Business personal property,
                     occurrences of loss or damage or the                                               including such property that
                     number of premises, locations or                                                   you newly acquire, at any
                     computer systems involved. If loss                                                 location you acquire other
                     payment on the first occurrence does                                               than at fairs, trade shows or
                     not exhaust this amount, then the                                                  exhibitions; or
                     balance is available for subsequent                                            (ii) Business personal property,
                     loss or damage sustained in but not                                                 including such property that
                     after that policy year. With respect to                                             you newly acquire, located at
                     an occurrence which begins in one                                                   your newly constructed or
                     policy year and continues or results in                                             acquired buildings at the
                     additional loss or damage in a                                                      location described in the
                     subsequent policy year(s), all loss or                                              Declarations.
                     damage is deemed to be sustained in                                            The most we will pay for loss or
                     the    policy   year   in  which    the                                        damage under this Extension is
                     occurrence began.                                                              $100,000 at each building.
    5.   Coverage Extensions                                                                    (b) This Extension does not apply to:
         Except as otherwise provided, the following                                                (i) Personal property of others
         Extensions apply to property located in or on                                                  that is temporarily in your
         the building described in the Declarations or in                                               possession in the course of
         the open (or in a vehicle) within 100 feet of the                                              installing or performing work
         described premises.                                                                            on such property; or
         If a Coinsurance percentage of 80% or more,                                                (ii) Personal property of others
         or a Value Reporting period symbol, is shown                                                    that is temporarily in your
         in the Declarations, you may extend the                                                         possession in the course of
         insurance provided by this Coverage Part as                                                     your     manufacturing   or
         follows:                                                                                        wholesaling activities.
         a.      Newly    Acquired      Or       Constructed                           (3) Period Of Coverage
                 Property
                                                                                                With respect to insurance provided
                 (1) Buildings                                                                  under this Coverage Extension for
                     If this policy covers Building, you may                                    Newly     Acquired      Or  Constructed
                     extend that insurance to apply to:                                         Property, coverage will end when any
                     (a) Your new buildings while being                                         of the following first occurs:
                         built on the described premises;                                       (a) This policy expires;
                         and                                                                    (b) 30 days expire after you acquire
                     (b) Buildings you acquire at locations,                                        the property or begin construction
                         other    than    the    described                                          of that part of the building that
                         premises, intended for:                                                    would     qualify   as    covered
                         (i) Similar use as the building                                            property; or
                             described in the Declarations;                                     (c) You report values to us.
                             or                                                                 We     will  charge   you    additional
                         (ii) Use as a warehouse.                                               premium for values reported from the
                     The most we will pay for loss or                                           date you acquire the property or begin
                     damage under this Extension is                                             construction of that part of the
                     $250,000 at each building.                                                 building that would qualify as covered
                                                                                                property.




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         b.    Personal Effects And Property Of Others                         d.   Property Off-premises
               You may extend the insurance that applies                            (1) You may extend the insurance
               to Your Business Personal Property to                                    provided by this Coverage Form to
               apply to:                                                                apply to your Covered Property while
               (1) Personal effects owned by you, your                                  it is away from the described
                   officers, your partners or members,                                  premises, if it is:
                   your managers or your employees.                                          (a) Temporarily at a location you do
                   This Extension does not apply to loss                                         not own, lease or operate;
                   or damage by theft.                                                       (b) In storage at a location you lease,
               (2) Personal property of others in your                                           provided the lease was executed
                   care, custody or control.                                                     after the beginning of the current
               The most we will pay for loss or damage                                           policy term; or
               under this Extension is $2,500 at each                                        (c) At any fair,      trade     show     or
               described premises. Our payment for loss                                          exhibition.
               of or damage to personal property of                                 (2) This Extension does not apply to
               others will only be for the account of the                               property:
               owner of the property.
                                                                                             (a) In or on a vehicle; or
         c.    Valuable Papers And Records (Other
               Than Electronic Data)                                                         (b) In the care, custody or control of
                                                                                                 your salespersons, unless the
               (1) You may extend the insurance that                                             property is in such care, custody
                   applies to Your Business Personal                                             or control at a fair, trade show or
                   Property to apply to the cost to                                              exhibition.
                   replace or restore the lost information
                   on valuable papers and records for                               (3) The most we will pay for loss or
                   which duplicates do not exist. But this                              damage under this Extension is
                   Extension does not apply to valuable                                 $10,000.
                   papers and records which exist as                           e.   Outdoor Property
                   electronic data. Electronic data has                             You may extend the insurance provided
                   the meaning described under Property                             by this Coverage Form to apply to your
                   Not Covered, Electronic Data.                                    outdoor fences, radio and television
               (2) If the Causes Of Loss - Special Form                             antennas (including satellite dishes), trees,
                   applies,    coverage      under      this                        shrubs and plants (other than trees,
                   Extension is limited to the "specified                           shrubs or plants which are "stock" or are
                   causes of loss" as defined in that form                          part of a vegetated roof), including debris
                   and Collapse as set forth in that form.                          removal expense, caused by or resulting
               (3) If the Causes Of Loss - Broad Form                               from any of the following causes of loss if
                   applies,      coverage under   this                              they are Covered Causes of Loss:
                   Extension includes Collapse as set                               (1) Fire;
                   forth in that form.                                              (2) Lightning;
               (4) Under this Extension, the most we will                           (3) Explosion;
                   pay to replace or restore the lost
                   information    is  $2,500     at   each                          (4) Riot or Civil Commotion; or
                   described premises, unless a higher                              (5) Aircraft.
                   limit is shown in the Declarations.                              The most we will pay for loss or damage
                   Such amount is additional insurance.                             under this Extension is $1,000, but not
                   We will also pay for the cost of blank                           more than $250 for any one tree, shrub or
                   material for reproducing the records                             plant. These limits apply to any one
                   (whether or not duplicates exist) and                            occurrence, regardless of the types or
                   (when there is a duplicate) for the cost                         number of items lost or damaged in that
                   of labor to transcribe or copy the                               occurrence.
                   records. The costs of blank material
                   and labor are subject to the applicable
                   Limit of Insurance on Your Business
                   Personal Property and, therefore,
                   coverage of such costs is not
                   additional insurance.




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                 Subject to all aforementioned terms and                               (2) If the applicable Covered Causes of
                 limitations of coverage, this Coverage                                    Loss form or endorsement contains a
                 Extension includes the expense          of                                limitation or exclusion concerning loss
                 removing from the described premises the                                  or damage from sand, dust, sleet,
                 debris of trees, shrubs and plants which                                  snow, ice or rain to property in a
                 are the property of others, except in the                                 structure, such limitation or exclusion
                 situation in which you are a tenant and                                   also applies to property in a portable
                 such property is owned by the landlord of                                 storage unit.
                 the described premises.                                               (3) Coverage under this Extension:
         f.      Non-owned Detached Trailers                                                    (a) Will end 90 days after the business
                 (1) You may extend the insurance that                                              personal    property    has   been
                     applies to Your Business Personal                                              placed in the storage unit;
                     Property to apply to loss or damage to                                     (b) Does not apply if the storage unit
                     trailers that you do not own, provided                                         itself has been in use at the
                     that:                                                                          described premises for more than
                     (a) The trailer    is   used     in   your                                     90 consecutive days, even if the
                         business;                                                                  business personal property has
                     (b) The trailer is in your care, custody                                       been stored there for 90 or fewer
                         or control at the          premises                                        days as of the time of loss or
                         described in the Declarations; and                                         damage.

                     (c) You     have      a    contractual                            (4) Under this Extension, the most we will
                         responsibility to pay for loss or                                 pay for the total of all loss or damage
                         damage to the trailer.                                            to business personal property is
                                                                                           $10,000 (unless a higher limit is
                 (2) We will not pay for any loss or damage                                indicated in the Declarations for such
                     that occurs:                                                          Extension) regardless of the number
                     (a) While the trailer is attached to any                              of storage units. Such limit is part of,
                         motor    vehicle     or    motorized                              not in addition to, the applicable Limit
                         conveyance, whether or not the                                    of Insurance on Your Business
                         motor    vehicle     or    motorized                              Personal      Property.        Therefore,
                         conveyance is in motion;                                          payment under this Extension will not
                     (b) During hitching or unhitching                                     increase the applicable Limit of
                         operations, or when a trailer                                     Insurance on Your Business Personal
                         becomes accidentally unhitched                                    Property.
                         from a motor vehicle or motorized                             (5) This Extension does not apply to loss
                         conveyance.                                                       or damage otherwise covered under
                 (3) The most we will pay for loss or                                      this   Coverage     Form     or      any
                     damage under this Extension is                                        endorsement to this Coverage Form
                     $5,000, unless a higher limit is shown                                or policy, and does not apply to loss
                     in the Declarations.                                                  or damage to the storage unit itself.

                 (4) This insurance is excess over the                            Each of these Extensions is additional
                     amount due (whether you can collect                          insurance unless otherwise indicated. The
                     on it or not) from any other insurance                       Additional Condition, Coinsurance, does not
                     covering such property.                                      apply to these Extensions.

         g.      Business Personal Property Temporarily                 B.   Exclusions And Limitations
                 In Portable Storage Units                                   See applicable Causes Of Loss form as shown in
                 (1) You may extend the insurance that                       the Declarations.
                     applies to Your Business Personal
                     Property to apply to such property                 C. Limits Of Insurance
                     while temporarily stored in a portable                  The most we will pay for loss or damage in any one
                     storage unit (including a detached                      occurrence is the applicable Limit Of Insurance
                     trailer) located within 100 feet of the                 shown in the Declarations.
                     building or structure described in the                  The most we will pay for loss or damage to outdoor
                     Declarations or within 100 feet of the                  signs, whether or not the sign is attached to a
                     premises       described     in     the                 building, is $2,500 per sign in any one occurrence.
                     Declarations, whichever distance is
                     greater.



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    The amounts of insurance stated in the following                Total amount of loss payable:
    Additional Coverages apply in accordance with the               $59,850 + $80,000 = $139,850
    terms of such coverages and are separate from the
    Limit(s) Of Insurance shown in the Declarations for             Example 2
    any other coverage:                                             (This example, too, assumes there is no Coinsurance
    1.   Fire Department Service Charge;                            penalty.)

    2.   Pollutant Clean-up And Removal;                            The Deductible and Limits of Insurance are the same
                                                                    as those in Example 1.
    3.   Increased Cost Of Construction; and
    4.   Electronic Data.                                           Loss to Building 1:                           $         70,000

    Payments under the Preservation Of Property                          (Exceeds Limit of Insurance plus Deductible)
    Additional Coverage will not increase the                       Loss to Building 2:                           $         90,000
    applicable Limit of Insurance.                                       (Exceeds Limit of Insurance plus Deductible)
D. Deductible                                                       Loss Payable - Building 1:                    $         60,000
    In any one occurrence of loss or damage                              (Limit of Insurance)
    (hereinafter referred to as loss), we will first reduce         Loss Payable - Building 2:                    $         80,000
    the amount of loss if required by the Coinsurance
    Condition or the Agreed Value Optional Coverage.                     (Limit of Insurance)
    If the adjusted amount of loss is less than or equal            Total amount of loss payable:                 $       140,000
    to the Deductible, we will not pay for that loss. If
    the adjusted amount of loss exceeds the                         E.    Loss Conditions
    Deductible, we will then subtract the Deductible                      The following conditions apply in addition to the
    from the adjusted amount of loss and will pay the                     Common Policy Conditions and the Commercial
    resulting amount or the Limit of Insurance,                           Property Conditions:
    whichever is less.                                                    1.   Abandonment
    When the occurrence involves loss to more than                             There can be no abandonment of any property
    one item of Covered Property and separate Limits                           to us.
    of Insurance apply, the losses will not be combined
    in determining application of the Deductible. But                     2.   Appraisal
    the Deductible will be applied only once per                               If we and you disagree on the value of the
    occurrence.                                                                property or the amount of loss, either may
Example 1                                                                      make written demand for an appraisal of the
                                                                               loss. In this event, each party will select a
(This example assumes there is no Coinsurance                                  competent and impartial appraiser. The two
penalty.)                                                                      appraisers will select an umpire. If they cannot
Deductible:                                      $      250                    agree, either may request that selection be
                                                                               made by a judge of a court having jurisdiction.
Limit of Insurance - Building 1:                 $ 60,000                      The appraisers will state separately the value of
Limit of Insurance - Building 2:                 $ 80,000                      the property and amount of loss. If they fail to
Loss to Building 1:                              $ 60,100                      agree, they will submit their differences to the
                                                                               umpire. A decision agreed to by any two will
Loss to Building 2:                              $ 90,000                      be binding. Each party will:
The amount of loss to Building 1 ($60,100) is less than                        a.   Pay its chosen appraiser; and
the sum ($60,250) of the Limit of Insurance applicable
to Building 1 plus the Deductible.                                             b.   Bear the other expenses of the appraisal
                                                                                    and umpire equally.
The Deductible will be subtracted from the amount of
loss in calculating the loss payable for Building 1:                           If there is an appraisal, we will still retain our
                                                                               right to deny the claim.
    $    60,100
                                                                          3.   Duties In The Event Of Loss Or Damage
    -           250
                                                                               a.   You must see that the following are done
    $    59,850 Loss Payable - Building 1                                           in the event of loss or damage to Covered
The Deductible applies once per occurrence and                                      Property:
therefore is not subtracted in determining the amount                               (1) Notify the police if a law may have
of loss payable for Building 2. Loss payable for Building                               been broken.
2 is the Limit of Insurance of $80,000.




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                 (2) Give us prompt notice of the loss or                 4.   Loss Payment
                     damage. Include a description of the                      a.   In the event of loss or damage covered by
                     property involved.                                             this Coverage Form, at our option, we will
                 (3) As soon as possible, give us a                                 either:
                     description of how, when and where                             (1) Pay the value of lost or damaged
                     the loss or damage occurred.                                       property;
                 (4) Take all reasonable steps to protect                           (2) Pay the cost of repairing or replacing
                     the Covered Property from further                                  the lost or damaged property, subject
                     damage, and keep a record of your                                  to b. below;
                     expenses necessary to protect the
                     Covered Property, for consideration in                         (3) Take all or any part of the property at
                     the settlement of the claim. This will                             an agreed or appraised value; or
                     not increase the Limit of Insurance.                           (4) Repair, rebuild or replace the property
                     However, we will not pay for any                                   with other property of like kind and
                     subsequent loss or damage resulting                                quality, subject to b. below.
                     from a cause of loss that is not a                             We will determine the value of lost or
                     Covered Cause of Loss. Also, if                                damaged property, or the cost of its repair
                     feasible, set the damaged property                             or replacement, in accordance with the
                     aside and in the best possible order                           applicable   terms   of   the   Valuation
                     for examination.                                               Condition in this Coverage Form or any
                 (5) At our request, give us complete                               applicable provision which amends or
                     inventories of the damaged and                                 supersedes the Valuation Condition.
                     undamaged        property.    Include                     b.   The cost to repair, rebuild or replace does
                     quantities, costs, values and amount                           not include the increased cost attributable
                     of loss claimed.                                               to enforcement of or compliance with any
                 (6) As often as may be reasonably                                  ordinance     or    law    regulating   the
                     required, permit us to inspect the                             construction, use or repair of any property.
                     property proving the loss or damage                       c.   We will give notice of our intentions within
                     and examine your books and records.                            30 days after we receive the sworn proof of
                     Also, permit us to take samples of                             loss.
                     damaged and undamaged property                            d.   We will not pay you more than your
                     for inspection, testing and analysis,                          financial interest in the Covered Property.
                     and permit us to make copies from
                     your books and records.                                   e.   We may adjust losses with the owners of
                                                                                    lost or damaged property if other than you.
                 (7) Send us a signed, sworn proof of loss                          If we pay the owners, such payments will
                     containing the information we request                          satisfy your claims against us for the
                     to investigate the claim. You must do                          owners' property. We will not pay the
                     this within 60 days after our request.                         owners more than their financial interest in
                     We will supply you with the necessary                          the Covered Property.
                     forms.
                                                                               f.   We may elect to defend you against suits
                 (8) Cooperate with us in the investigation                         arising from claims of owners of property.
                     or settlement of the claim.                                    We will do this at our expense.
         b.      We may examine any insured under oath,                        g.   We will pay for covered loss or damage
                 while not in the presence of any other                             within 30 days after we receive the sworn
                 insured and at such times as may be                                proof of loss, if you have complied with all
                 reasonably required, about any matter                              of the terms of this Coverage Part, and:
                 relating to this insurance or the claim,
                 including an insured's books and records.                          (1) We have reached agreement with you
                 In the event of an examination, an                                     on the amount of loss; or
                 insured's answers must be signed.                                  (2) An appraisal award has been made.




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         h.     A party wall is a wall that separates and is                                  (b) When this policy is issued to the
                common to adjoining buildings that are                                            owner or general lessee of a
                owned by different parties. In settling                                           building, building means the entire
                covered losses involving a party wall, we                                         building. Such building is vacant
                will pay a proportion of the loss to the                                          unless at least 31% of its total
                party wall based on your interest in the                                          square footage is:
                wall in proportion to the interest of the                                         (i) Rented   to    a   lessee  or
                owner of the adjoining building. However,                                             sublessee and used by the
                if you elect to repair or replace your                                                lessee   or    sublessee   to
                building and the owner of the adjoining                                               conduct     its     customary
                building elects not to repair or replace that                                         operations; and/or
                building, we will pay you the full value of
                the loss to the party wall, subject to all                                        (ii) Used by the building owner to
                applicable policy provisions including                                                 conduct            customary
                Limits of Insurance, the Valuation and                                                 operations.
                Coinsurance Conditions and all other                                 (2) Buildings   under    construction  or
                provisions of this Loss Payment Condition.                               renovation are not considered vacant.
                Our payment under the provisions of this                        b.   Vacancy Provisions
                paragraph does not alter any right of
                subrogation we may have against any                                  If the building where loss or damage
                entity, including the owner or insurer of the                        occurs has been vacant for more than 60
                adjoining building, and does not alter the                           consecutive days before that loss or
                terms of the Transfer Of Rights Of                                   damage occurs:
                Recovery Against Others To Us Condition                              (1) We will not pay for any loss or damage
                in this policy.                                                          caused by any of the following, even if
    5.   Recovered Property                                                              they are Covered Causes of Loss:

         If either you or we recover any property after                                       (a) Vandalism;
         loss settlement, that party must give the other                                      (b) Sprinkler leakage, unless you
         prompt notice. At your option, the property will                                         have protected the system against
         be returned to you. You must then return to us                                           freezing;
         the amount we paid to you for the property.                                          (c) Building glass breakage;
         We will pay recovery expenses and the
         expenses to repair the recovered property,                                           (d) Water damage;
         subject to the Limit of Insurance.                                                   (e) Theft; or
    6.   Vacancy                                                                              (f ) Attempted theft.
         a.     Description Of Terms                                                 (2) With respect to Covered Causes of
                (1) As used in this Vacancy Condition, the                               Loss other than those listed in b.(1)(a)
                    term building and the term vacant                                    through b.(1)(f) above, we will reduce
                    have the meanings set forth in (1)(a)                                the amount we would otherwise pay
                    and (1)(b) below:                                                    for the loss or damage by 15%.

                    (a) When this policy is issued to a                    7.   Valuation
                        tenant, and with respect to that                        We will determine the value of Covered
                        tenant's   interest in  Covered                         Property in the event of loss or damage as
                        Property, building means the unit                       follows:
                        or suite rented or leased to the                        a.   At actual cash value as of the time of loss
                        tenant. Such building is vacant                              or damage, except as provided in b., c., d.
                        when it does not contain enough                              and e. below.
                        business personal property to
                        conduct customary operations.                           b.   If the Limit of Insurance for Building
                                                                                     satisfies   the     Additional   Condition,
                                                                                     Coinsurance, and the cost to repair or
                                                                                     replace the damaged building property is
                                                                                     $2,500 or less, we will pay the cost of
                                                                                     building repairs or replacement.




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                 The    cost    of   building    repairs  or                    a.     We will not pay the full amount of any loss
                 replacement     does    not   include   the                           if the value of Covered Property at the time
                 increased cost attributable to enforcement                            of loss times the Coinsurance percentage
                 of or compliance with any ordinance or                                shown for it in the Declarations is greater
                 law regulating the construction, use or                               than the Limit of Insurance for the
                 repair of any property.                                               property.
                 However, the following property will be                               Instead, we will determine the most we will
                 valued at the actual cash value, even when                            pay using the following steps:
                 attached to the building:                                             (1) Multiply the value of Covered Property
                 (1) Awnings or floor coverings;                                           at the time of loss by the Coinsurance
                 (2) Appliances       for     refrigerating,                               percentage;
                     ventilating, cooking, dishwashing or                              (2) Divide the Limit of Insurance of the
                     laundering; or                                                        property by the figure determined in
                 (3) Outdoor equipment or furniture.                                       Step (1);

          c.     "Stock" you have sold but not delivered at                            (3) Multiply the total amount of loss,
                 the selling price less discounts and                                      before    the   application    of  any
                 expenses you otherwise would have had.                                    deductible, by the figure determined in
                                                                                           Step (2); and
          d.     Glass at the cost of replacement with
                 safety-glazing material if required by law.                           (4) Subtract the deductible from the figure
                                                                                           determined in Step (3).
          e.     Tenants' Improvements and Betterments
                 at:                                                                   We will pay the amount determined in Step
                                                                                       (4) or the Limit of Insurance, whichever is
                 (1) Actual cash value of the lost or                                  less. For the remainder, you will either
                     damaged property if you make repairs                              have to rely on other insurance or absorb
                     promptly.                                                         the loss yourself.
                 (2) A proportion of your original cost if            Example 1 (Underinsurance)
                     you do not make repairs promptly. We
                     will determine the proportionate value           When:      The value of the property is:           $          250,000
                     as follows:                                                   The Coinsurance percentage
                     (a) Multiply the original cost by the                         for it is:                                            80%
                         number of days from the loss or                           The Limit of Insurance for it is:     $          100,000
                         damage to the expiration of the                          The Deductible is:                     $               250
                         lease; and
                                                                                   The amount of loss is:                $            40,000
                     (b) Divide the amount determined in
                         (a) above by the number of days              Step (1): $250,000 x 80% = $200,000
                         from     the    installation   of                           (the minimum amount of insurance to
                         improvements to the expiration of                           meet your Coinsurance requirements)
                         the lease.                                   Step (2): $100,000 ÷         $200,000 = .50
                     If your lease contains a renewal                 Step (3): $40,000 x .50 = $20,000
                     option, the expiration of the renewal
                     option    period  will  replace   the            Step (4): $20,000 - $250 = $19,750
                     expiration of the lease in this                  We will pay no more than $19,750. The remaining
                     procedure.                                       $20,250 is not covered.
                 (3) Nothing if others pay for repairs or             Example 2 (Adequate Insurance)
                     replacement.                                     When:          The value of the property is:       $          250,000
F.   Additional Conditions                                                            The Coinsurance percentage
     The following conditions apply in addition to the                               for it is:                                          80%
     Common Policy Conditions and the Commercial                                     The Limit of Insurance for it is:   $          200,000
     Property Conditions:                                                            The Deductible is:                      $           250
     1.   Coinsurance                                                                The amount of loss is:                  $        40,000
          If a Coinsurance percentage is shown in the                 The minimum amount of insurance to meet your
          Declarations, the following condition applies:              Coinsurance requirement is $200,000 ($250,000 x
                                                                      80%). Therefore, the Limit of Insurance in this example
                                                                      is adequate, and no penalty applies. We will pay no
                                                                      more than $39,750 ($40,000 amount of loss minus the
                                                                      deductible of $250).

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         b.     If one Limit of Insurance applies to two or                          (2) Submits a signed, sworn proof of loss
                more separate items, this condition will                                 within 60 days after receiving notice
                apply to the total of all property to which                              from us of your failure to do so; and
                the limit applies.                                                   (3) Has notified us of any change in
Example 3                                                                                ownership, occupancy or substantial
When:           The value of the property is:                                            change in    risk known   to the
                                                                                         mortgageholder.
                Building at Location 1:            $ 75,000
                                                                                     All of the terms of this Coverage Part will
                Building at Location 2:            $ 100,000                         then apply directly to the mortgageholder.
                Personal Property                                               e.   If we pay the mortgageholder for any loss
                at Location 2:                     $ 75,000                          or damage and deny payment to you
                                                   $ 250,000                         because of your acts or because you have
                 The Coinsurance percentage                                          failed to comply with the terms of this
                for it is:                                90%                        Coverage Part:

                The Limit of Insurance for                                           (1) The mortgageholder's rights under the
                Buildings and Personal Property                                          mortgage will be transferred to us to
                at Locations 1 and 2 is:        $ 180,000                                the extent of the amount we pay; and

                The Deductible is:                 $    1,000                        (2) The mortgageholder's right to recover
                                                                                         the    full   amount       of     the
                The amount of loss is:                                                   mortgageholder's claim will not be
                Building at Location 2:            $ 30,000                              impaired.
                Personal Property                                                    At our option, we may pay to the
                at Location 2:                     $ 20,000                          mortgageholder the whole principal on the
                                                   $ 50,000                          mortgage plus any accrued interest. In this
                                                                                     event, your mortgage and note will be
Step (1):       $250,000 x 90% = $225,000                                            transferred to us and you will pay your
                (the minimum amount of insurance to                                  remaining mortgage debt to us.
                meet your Coinsurance requirements                              f.   If we cancel this policy, we will give written
                and to avoid the penalty shown below)                                notice to the mortgageholder at least:
Step (2):       $180,000 ÷    $225,000 = .80                                         (1) 10 days before the effective date of
Step (3):       $50,000 x .80 = $40,000                                                  cancellation if we cancel for your
Step (4):       $40,000 - $1,000 = $39,000                                               nonpayment of premium; or

We will pay no more than $39,000. The remaining                                      (2) 30 days before the effective date of
$11,000 is not covered.                                                                  cancellation if we cancel for any other
                                                                                         reason.
    2.   Mortgageholders
                                                                                g.   If we elect not to renew this policy, we will
         a.     The term mortgageholder includes trustee.                            give written notice to the mortgageholder
         b.     We will pay for covered loss of or damage                            at least 10 days before the expiration date
                to buildings or structures to each                                   of this policy.
                mortgageholder shown in the Declarations
                in their order of precedence, as interests            G. Optional Coverages
                may appear.                                                If shown as applicable in the Declarations, the
         c.     The mortgageholder has the right to                        following Optional Coverages apply separately to
                receive loss payment          even if the                  each item:
                mortgageholder has started foreclosure or                  1.   Agreed Value
                similar action on the building or structure.                    a.   The Additional Condition, Coinsurance,
         d.     If we deny your claim because of your acts                           does not apply to Covered Property to
                or because you have failed to comply with                            which this Optional Coverage applies. We
                the terms of this Coverage Part, the                                 will pay no more for loss of or damage to
                mortgageholder will still have the right to                          that property than the proportion that the
                receive     loss     payment      if    the                          Limit of Insurance under this Coverage
                mortgageholder:                                                      Part for the property bears to the Agreed
                (1) Pays any premium due under this                                  Value shown for it in the Declarations.
                    Coverage Part at our request if you
                    have failed to do so;



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           b.    If the expiration date for this Optional                            (4) "Stock", unless the Including "Stock"
                 Coverage shown in the Declarations is not                               option is shown in the Declarations.
                 extended,   the   Additional   Condition,                           Under the terms of this Replacement Cost
                 Coinsurance, is reinstated and this                                 Optional       Coverage,         tenants'
                 Optional Coverage expires.                                          improvements and betterments are not
           c.    The terms of this Optional Coverage apply                           considered to be the personal property of
                 only to loss or damage that occurs:                                 others.
                 (1) On or after the effective date of this                     c.   You may make a claim for loss or damage
                     Optional Coverage; and                                          covered by this insurance on an actual
                 (2) Before the Agreed Value expiration                              cash value basis instead of on a
                     date shown in the Declarations or the                           replacement cost basis. In the event you
                     policy expiration date, whichever                               elect to have loss or damage settled on an
                     occurs first.                                                   actual cash value basis, you may still make
                                                                                     a claim for the additional coverage this
      2.   Inflation Guard                                                           Optional Coverage provides if you notify
           a.    The Limit of Insurance for property to                              us of your intent to do so within 180 days
                 which this Optional Coverage applies will                           after the loss or damage.
                 automatically increase by the annual                           d.   We will not pay on a replacement cost
                 percentage shown in the Declarations.                               basis for any loss or damage:
           b.    The amount of increase will be:                                     (1) Until the lost or damaged property is
                 (1) The Limit of Insurance that applied on                              actually repaired or replaced; and
                     the most recent of the policy inception                         (2) Unless the repair or replacement is
                     date, the policy anniversary date, or                               made as soon as reasonably possible
                     any other policy change amending the                                after the loss or damage.
                     Limit of Insurance, times
                                                                                     With respect to tenants' improvements
                 (2) The percentage of annual increase                               and betterments, the following also apply:
                     shown in the Declarations, expressed
                     as a decimal (example: 8% is .08),                              (3) If the conditions in d.(1) and d.(2)
                     times                                                               above are not met, the value of
                                                                                         tenants'       improvements         and
                 (3) The number of days since the                                        betterments will be determined as a
                     beginning of the current policy year or                             proportion of your original cost, as set
                     the effective date of the most recent                               forth in the Valuation Loss Condition of
                     policy change amending the Limit of                                 this Coverage Form; and
                     Insurance, divided by 365.
                                                                                     (4) We will not pay for loss or damage to
Example                                                                                  tenants'       improvements         and
If:    The applicable Limit of Insurance is:        $ 100,000                            betterments if others pay for repairs or
       The annual percentage increase is:                  8%                            replacement.

       The number of days since the                                             e.   We will not pay more for loss or damage
        beginning of the policy year                                                 on a replacement cost basis than the least
       (or last policy change) is:                        146                        of (1), (2) or (3), subject to f. below:

       The amount of increase is:                                                    (1) The Limit of Insurance applicable to
       $100,000 x .08 x 146 ÷  365 =            $ 3,200                                  the lost or damaged property;

      3.   Replacement Cost                                                          (2) The cost        to replace    the lost or
                                                                                         damaged          property     with   other
           a.    Replacement Cost (without deduction for                                 property:
                 depreciation) replaces Actual Cash Value
                 in the Valuation Loss Condition of this                                      (a) Of comparable       material    and
                 Coverage Form.                                                                   quality; and

           b.    This Optional Coverage does not apply to:                                    (b) Used for the same purpose; or

                 (1) Personal property of others;                                    (3) The amount actually spent that is
                                                                                         necessary to repair or replace the lost
                 (2) Contents of a residence;                                            or damaged property.
                 (3) Works of art, antiques or rare articles,                        If a building is rebuilt at a new premises,
                     including etchings, pictures, statuary,                         the cost described in e.(2) above is limited
                     marbles, bronzes, porcelains and                                to the cost which would have been
                     bric-a-brac; or                                                 incurred if the building had been rebuilt at
                                                                                     the original premises.

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         f.     The cost of repair or replacement does not           H. Definitions
                include the increased cost attributable to                1.   "Fungus" means any type or form of fungus,
                enforcement of or compliance with any                          including  mold    or    mildew, and   any
                ordinance     or    law    regulating   the                    mycotoxins, spores, scents or by-products
                construction, use or repair of any property.                   produced or released by fungi.
    4.   Extension Of Replacement Cost To Personal                        2.   "Pollutants" means any solid, liquid, gaseous
         Property Of Others                                                    or thermal irritant or contaminant, including
         a.     If  the   Replacement      Cost   Optional                     smoke, vapor, soot, fumes, acids, alkalis,
                Coverage is shown as applicable in the                         chemicals and waste. Waste includes materials
                Declarations, then this Extension may also                     to be recycled, reconditioned or reclaimed.
                be shown as applicable. If the Declarations               3.   "Stock" means merchandise held in storage or
                show this Extension as applicable, then                        for sale, raw materials and in-process or
                Paragraph 3.b.(1) of the Replacement                           finished goods, including supplies used in their
                Cost Optional Coverage is deleted and all                      packing or shipping.
                other provisions of the Replacement Cost
                Optional Coverage apply to replacement
                cost on personal property of others.
         b.     With respect to replacement cost on the
                personal property of others, the following
                limitation applies:
                If an item(s) of personal property of others
                is subject to a written contract which
                governs your liability for loss or damage to
                that item(s), then valuation of that item(s)
                will be based on the amount for which you
                are liable under such contract, but not to
                exceed the lesser of the replacement cost
                of the property or the applicable Limit of
                Insurance.




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                                                              CP 00 90 07 88

                                 COMMERCIAL PROPERTY CONDITIONS

This Coverage Part is subject to the following conditions,                         1.   You may have other insurance subject to the
the Common Policy Conditions and applicable Loss                                        same plan, terms, conditions and provisions as
Conditions and Additional Conditions in Commercial                                      the insurance under this Coverage Part. If you do,
Property Coverage Forms.                                                                we will pay our share of the covered loss or
A. CONCEALMENT,            MISREPRESENTATION               OR                           damage. Our share is the proportion that the
   FRAUD                                                                                applicable Limit of Insurance under this Coverage
   This Coverage Part is void in any case of fraud by you                               Part bears to the Limits Of Insurance of all
   as it relates to this Coverage Part at any time. It is also                          insurance covering on the same basis.
   void if you or any other insured, at any time,                                  2.   If there is other insurance covering the same loss
   intentionally conceal or misrepresent a material fact                                or damage, other than that described in         1.
   concerning:                                                                          above, we will pay only for the amount of covered
                                                                                        loss or damage in excess of the amount due from
    1.   This Coverage Part;
                                                                                        that other insurance, whether you can collect on
    2.   The Covered Property;                                                          it or not. But we will not pay more than the
    3.   Your interest in the Covered Property; or                                      applicable Limit of Insurance.
    4.   A claim under this Coverage Part.
                                                                             H. POLICY PERIOD, COVERAGE TERRITORY
B. CONTROL OF PROPERTY                                                             Under this Coverage Part:
   Any act or neglect of any person other than you
                                                                                   1.   We cover loss or damage commencing:
   beyond your direction or control will not affect this
   insurance.                                                                           a.   During the policy period shown          in   the
   The breach of any condition of this Coverage Part at                                      Declarations; and
   any one or more locations will not affect coverage at                                b.   Within the coverage territory.
   any location where, at the time of loss or damage, the                          2.   The coverage territory is:
   breach of condition does not exist.                                                  a.   The United States of America (including its
C. INSURANCE UNDER TWO OR MORE COVER-                                                        territories and possessions);
   AGES
                                                                                        b.   Puerto Rico; and
   If two or more of this policy's coverages apply to the                               c.   Canada.
   same loss or damage, we will not pay more than the
   actual amount of the loss or damage.                                      I.    TRANSFER OF RIGHTS OF RECOVERY AGAINST
D. LEGAL ACTION AGAINST US                                                         OTHERS TO US
   No one may bring a legal action against us under this                           If any person or organization to or for whom we make
   Coverage Part unless:                                                           payment under this Coverage Part has rights to
                                                                                   recover damages from another, those rights are
    1.   There has been full compliance with all of the
                                                                                   transferred to us to the extent of our payment. That
         terms of this Coverage Part; and
                                                                                   person or organization must do everything necessary
    2.   The action is brought within 2 years after the date
                                                                                   to secure our rights and must do nothing after loss to
         on which the direct physical loss or damage
                                                                                   impair them. But you may waive your rights against
         occurred.
                                                                                   another party in writing:
E. LIBERALIZATION
                                                                                   1.   Prior to a loss to your Covered Property or
   If we adopt any revision that would broaden the
                                                                                        Covered Income.
   coverage under this Coverage Part without additional
                                                                                   2.   After a loss to your Covered Property or Covered
   premium within 45 days prior to or during the policy
                                                                                        Income only if, at time of loss, that party is one of
   period, the broadened coverage will immediately
                                                                                        the following:
   apply to this Coverage Part.
F. NO BENEFIT TO BAILEE                                                                 a.   Someone insured by this insurance;
   No person or organization, other than you, having                                    b.   A business firm:
   custody of Covered Property will benefit from this                                        (1) Owned or controlled by you; or
   insurance.                                                                                (2) That owns or controls you; or
G. OTHER INSURANCE
                                                                                       c. Your tenant.
                                                                                   This will not restrict your insurance.




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                                                                                                          COMMERCIAL PROPERTY
                                                                                                                  CP 10 30 10 12



                                    CAUSES OF LOSS - SPECIAL FORM

Words and phrases that appear in quotation marks have special meaning. Refer to Section G. Definitions.


A.   Covered Causes Of Loss                                                                   collapse), rising or shifting including
     When Special is shown in the Declarations,                                               soil conditions which cause settling,
     Covered Causes of Loss means direct physical                                             cracking or other disarrangement of
     loss unless the loss is excluded or limited in this                                      foundations or other parts of realty.
     policy.                                                                                  Soil conditions include contraction,
                                                                                              expansion, freezing, thawing, erosion,
B. Exclusions                                                                                 improperly compacted soil and the
     1.   We will not pay for loss or damage caused                                           action of water under the ground
          directly or indirectly by any of the following.                                     surface.
          Such loss or damage is excluded regardless of                                  But if Earth Movement, as described in
          any other cause or event that contributes                                      b.(1) through (4) above, results in fire or
          concurrently or in any sequence to the loss.                                   explosion, we will pay for the loss or
          a.     Ordinance Or Law                                                        damage caused by that fire or explosion.

                 The enforcement of or compliance with                                   (5) Volcanic   eruption,   explosion    or
                 any ordinance or law:                                                       effusion. But if volcanic eruption,
                                                                                             explosion or effusion results in fire,
                 (1) Regulating the construction, use or                                     building glass breakage or Volcanic
                     repair of any property; or                                              Action, we will pay for the loss or
                 (2) Requiring the tearing down of any                                       damage caused by that fire, building
                     property, including the cost   of                                       glass breakage or Volcanic Action.
                     removing its debris.                                                     Volcanic Action means direct loss or
                 This exclusion, Ordinance Or Law, applies                                    damage resulting from the eruption of
                 whether the loss results from:                                               a volcano when the loss or damage is
                     (a) An ordinance or law that is                                          caused by:
                         enforced even if the property has                                    (a) Airborne volcanic blast or airborne
                         not been damaged; or                                                     shock waves;
                     (b) The increased costs incurred to                                      (b) Ash, dust or particulate matter; or
                         comply with an ordinance or law                                      (c) Lava flow.
                         in the course of construction,
                         repair, renovation, remodeling or                                    With respect to coverage for Volcanic
                         demolition of property, or removal                                   Action as set forth in (5)(a), (5)(b) and
                         of its debris, following a physical                                  (5)(c), all volcanic eruptions that
                         loss to that property.                                               occur within any 168-hour period will
                                                                                              constitute a single occurrence.
          b.     Earth Movement
                                                                                              Volcanic Action does not include the
                 (1) Earthquake, including tremors and                                        cost to remove ash, dust or particulate
                     aftershocks and any earth sinking,                                       matter that does not cause direct
                     rising or shifting related to such event;                                physical loss or damage to the
                 (2) Landslide, including any earth sinking,                                  described property.
                     rising or shifting related to such event;                           This exclusion applies regardless of
                 (3) Mine      subsidence,     meaning                                   whether any of the above, in Paragraphs
                     subsidence of a man-made mine,                                      (1) through (5), is caused by an act of
                     whether or not mining activity has                                  nature or is otherwise caused.
                     ceased;

                 (4) Earth sinking    (other    than sinkhole




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         c.    Governmental Action                                                    (3) Insurrection,  rebellion,   revolution,
               Seizure or destruction of property by order                                usurped power, or action taken by
               of governmental authority.                                                 governmental authority in hindering or
                                                                                          defending against any of these.
               But we will pay for loss or damage caused
               by or resulting from acts of destruction                         g.   Water
               ordered by governmental authority and                                 (1) Flood, surface water, waves (including
               taken at the time of a fire to prevent its                                tidal wave and tsunami), tides, tidal
               spread, if the fire would be covered under                                water, overflow of any body of water,
               this Coverage Part.                                                       or spray from any of these, all whether
         d.    Nuclear Hazard                                                            or not driven by wind (including storm
                                                                                         surge);
               Nuclear     reaction  or    radiation,  or
               radioactive     contamination,     however                            (2) Mudslide or mudflow;
               caused.                                                               (3) Water that backs up or overflows or is
               But if nuclear reaction or radiation, or                                  otherwise discharged from a sewer,
               radioactive contamination, results in fire,                               drain, sump, sump pump or related
               we will pay for the loss or damage caused                                 equipment;
               by that fire.                                                         (4) Water under the ground surface
         e.    Utility Services                                                          pressing on, or flowing or seeping
                                                                                         through:
               The failure of power, communication,
               water or other utility service supplied to the                             (a) Foundations, walls,      floors   or
               described premises, however caused, if                                         paved surfaces;
               the failure:                                                               (b) Basements, whether paved or not;
               (1) Originates away from the described                                         or
                   premises; or                                                           (c) Doors,    windows       or     other
               (2) Originates at the described premises,                                      openings; or
                   but only if such failure involves                                 (5) Waterborne      material    carried    or
                   equipment used to supply the utility                                  otherwise moved by any of the water
                   service to the described premises                                     referred to in Paragraph (1), (3) or (4),
                   from a source away from the                                           or material carried or otherwise moved
                   described premises.                                                   by mudslide or mudflow.
               Failure of any utility service includes lack                          This exclusion applies regardless of
               of sufficient capacity and reduction in                               whether any of the above, in Paragraphs
               supply.                                                               (1) through (5), is caused by an act of
               Loss or damage caused by a surge of                                   nature or is otherwise caused. An example
               power is also excluded, if the surge would                            of a situation to which this exclusion
               not have occurred but for an event                                    applies is the situation where a dam, levee,
               causing a failure of power.                                           seawall or other boundary or containment
                                                                                     system fails in whole or in part, for any
               But if the failure or surge of power, or the                          reason, to contain the water.
               failure of communication, water or other
               utility service, results in a Covered Cause                           But if any of the above, in Paragraphs (1)
               of Loss, we will pay for the loss or damage                           through (5), results in fire, explosion or
               caused by that Covered Cause of Loss.                                 sprinkler leakage, we will pay for the loss
                                                                                     or damage caused by that fire, explosion
               Communication services include but are                                or sprinkler leakage (if sprinkler leakage is
               not limited to service relating to Internet                           a Covered Cause of Loss).
               access or access to any electronic,
               cellular or satellite network.                                   h.   "Fungus", Wet Rot, Dry Rot And Bacteria

         f.    War And Military Action                                               Presence, growth, proliferation, spread or
                                                                                     any activity of "fungus", wet or dry rot or
               (1) War, including undeclared or civil war;                           bacteria.
               (2) Warlike action by a military force,                               But if "fungus", wet or dry rot or bacteria
                   including action in hindering or                                  result in a "specified cause of loss", we will
                   defending against an actual or                                    pay for the loss or damage caused by that
                   expected attack, by any government,                               "specified cause of loss".
                   sovereign or other authority using
                   military personnel or other agents; or



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                 This exclusion does not apply:                                          (5) Nesting or infestation, or discharge or
                 (1) When "fungus", wet or dry rot or                                        release    of  waste     products    or
                     bacteria result from fire or lightning; or                              secretions, by insects, birds, rodents
                                                                                             or other animals.
                 (2) To the extent that coverage is
                     provided in the Additional Coverage,                               (6) Mechanical     breakdown,    including
                     Limited Coverage For "Fungus", Wet                                     rupture    or bursting    caused by
                     Rot, Dry Rot And Bacteria, with                                        centrifugal force. But if mechanical
                     respect to loss or damage by a cause                                   breakdown      results   in   elevator
                     of loss other than fire or lightning.                                  collision, we will pay for the loss or
                                                                                            damage caused by that elevator
         Exclusions B.1.a. through B.1.h. apply                                             collision.
         whether or not the loss event results in
         widespread damage or affects a substantial                                     (7) The following causes              of   loss   to
         area.                                                                              personal property:

    2.   We will not pay for loss or damage caused by                                            (a) Dampness      or    dryness          of
         or resulting from any of the following:                                                     atmosphere;

         a.      Artificially generated electrical, magnetic                                     (b) Changes in or       extremes         of
                 or electromagnetic energy that damages,                                             temperature; or
                 disturbs, disrupts or otherwise interferes                                      (c) Marring or scratching.
                 with any:                                                              But if an excluded cause of loss that is
                 (1) Electrical or electronic wire, device,                             listed in 2.d.(1) through (7) results in a
                     appliance, system or network; or                                   "specified cause of loss" or building glass
                 (2) Device, appliance, system or network                               breakage, we will pay for the loss or
                     utilizing cellular or satellite technology.                        damage caused by that "specified cause
                                                                                        of loss" or building glass breakage.
                 For the purpose of this exclusion,
                 electrical, magnetic or electromagnetic                           e.   Explosion of steam boilers, steam pipes,
                 energy includes but is not limited to:                                 steam engines or steam turbines owned or
                                                                                        leased by you, or operated under your
                     (a) Electrical      current,      including                        control. But if explosion of steam boilers,
                         arcing;                                                        steam pipes, steam engines or steam
                     (b) Electrical charge produced             or                      turbines results in fire or combustion
                         conducted by a magnetic                or                      explosion, we will pay for the loss or
                         electromagnetic field;                                         damage caused by that fire or combustion
                     (c) Pulse of electromagnetic energy;                               explosion. We will also pay for loss or
                         or                                                             damage caused by or resulting from the
                                                                                        explosion of gases or fuel within the
                     (d) Electromagnetic            waves       or                      furnace of any fired vessel or within the
                         microwaves.                                                    flues or passages through which the gases
                 But if fire results, we will pay for the loss or                       of combustion pass.
                 damage caused by that fire.                                       f.   Continuous or repeated seepage or
         b.      Delay, loss of use or loss of market.                                  leakage of water, or the presence or
         c.      Smoke, vapor or gas from agricultural                                  condensation of humidity, moisture or
                 smudging or industrial operations.                                     vapor, that occurs over a period of 14 days
                                                                                        or more.
         d.      (1) Wear and tear;
                                                                                   g.   Water, other liquids, powder or molten
                 (2) Rust or other corrosion, decay,                                    material that leaks or flows from plumbing,
                     deterioration, hidden or latent defect                             heating,    air   conditioning   or   other
                     or any quality in property that causes it                          equipment (except fire protective systems)
                     to damage or destroy itself;                                       caused by or resulting from freezing,
                 (3) Smog;                                                              unless:
                 (4) Settling,  cracking,       shrinking       or                      (1) You do your best to maintain heat in
                     expansion;                                                             the building or structure; or




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               (2) You drain the equipment and shut off                                     (b) To collapse caused by one or
                   the supply if the heat is not                                                more of the following:
                   maintained.                                                                 (i) The "specified causes of loss";
         h.    Dishonest or criminal act (including theft)                                     (ii) Breakage of building glass;
               by you, any of your partners, members,
               officers, managers, employees (including                                        (iii) Weight of rain that collects on
               temporary       employees    and     leased                                           a roof; or
               workers), directors, trustees or authorized                                     (iv) Weight of people or personal
               representatives, whether acting alone or in                                          property.
               collusion with each other or with any other                    l.    Discharge, dispersal, seepage, migration,
               party; or theft by any person to whom you                            release or escape of "pollutants" unless
               entrust the property for any purpose,                                the    discharge,      dispersal,   seepage,
               whether acting alone or in collusion with                            migration, release or escape is itself
               any other party.                                                     caused by any of the "specified causes of
               This exclusion:                                                      loss". But if the discharge, dispersal,
               (1) Applies whether or not an act occurs                             seepage, migration, release or escape of
                   during   your   normal    hours   of                             "pollutants" results in a "specified cause of
                   operation;                                                       loss", we will pay for the loss or damage
                                                                                    caused by that "specified cause of loss".
               (2) Does not apply to acts of destruction
                   by    your    employees     (including                           This exclusion, I., does not apply to
                   temporary employees and leased                                   damage to glass caused by chemicals
                   workers)         or        authorized                            applied to the glass.
                   representatives; but theft by your                         m. Neglect of an insured to use all reasonable
                   employees     (including   temporary                          means to save and preserve property from
                   employees and leased workers) or                              further damage at and after the time of
                   authorized representatives is not                             loss.
                   covered.                                              3.   We will not pay for loss or damage caused by
         i.    Voluntary parting with any property by you                     or resulting from any of the following, 3.a.
               or anyone else to whom you have                                through 3.c. But if an excluded cause of loss
               entrusted the property if induced to do so                     that is listed in 3.a. through 3.c. results in a
               by any fraudulent scheme, trick, device or                     Covered Cause of Loss, we will pay for the loss
               false pretense.                                                or damage caused by that Covered Cause of
         j.    Rain, snow, ice or      sleet   to personal                    Loss.
               property in the open.                                          a.    Weather conditions. But this exclusion
         k.    Collapse, including any of the following                             only   applies   if  weather conditions
               conditions of property or any part of the                            contribute in any way with a cause or
               property:                                                            event excluded in Paragraph 1. above to
                                                                                    produce the loss or damage.
               (1) An abrupt falling down or caving in;
                                                                              b.    Acts or decisions, including the failure to
               (2) Loss of structural integrity, including                          act or decide, of any person, group,
                   separation of parts of the property or                           organization or governmental body.
                   property in danger of falling down or
                   caving in; or                                              c.    Faulty, inadequate or defective:

               (3) Any     cracking,   bulging, sagging,                            (1) Planning,     zoning,        development,
                   bending, leaning, settling, shrinkage                                surveying, siting;
                   or expansion as such condition relates                           (2) Design, specifications, workmanship,
                   to (1) or (2) above.                                                 repair,  construction,    renovation,
               But if collapse results in a Covered Cause                               remodeling, grading, compaction;
               of Loss at the described premises, we will                           (3) Materials used in repair, construction,
               pay for the loss or damage caused by that                                renovation or remodeling; or
               Covered Cause of Loss.                                               (4) Maintenance;
               This exclusion, k., does not apply:                                  of part or all of any property on or off the
                   (a) To the extent that coverage is                               described premises.
                       provided under the Additional
                       Coverage, Collapse; or




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    4.   Special Exclusions                                                           (5) Any other consequential loss.
         The following provisions apply only to the                             b.    Leasehold Interest Coverage Form
         specified Coverage Forms:                                                    (1) Paragraph B.1.a., Ordinance Or Law,
         a.      Business Income (And Extra Expense)                                      does not apply to insurance under this
                 Coverage    Form,   Business  Income                                     Coverage Form.
                 (Without  Extra   Expense) Coverage                                  (2) We will not pay for any loss caused by:
                 Form, Or Extra Expense Coverage Form
                                                                                              (a) Your cancelling the lease;
                 We will not pay for:
                                                                                              (b) The    suspension,      lapse      or
                 (1) Any loss caused by or resulting from:                                        cancellation of any license; or
                     (a) Damage or destruction of "finished                                   (c) Any other consequential loss.
                         stock"; or
                                                                                c.    Legal Liability Coverage Form
                     (b) The time required to reproduce
                         "finished stock".                                            (1) The following exclusions do not apply
                                                                                          to insurance under this Coverage
                     This exclusion does not apply to Extra                               Form:
                     Expense.
                                                                                              (a) Paragraph B.1.a. Ordinance Or
                 (2) Any loss caused by or resulting from                                         Law;
                     direct physical loss or damage to
                     radio or television antennas (including                                  (b) Paragraph    B.1.c. Governmental
                     satellite dishes) and their lead-in                                          Action;
                     wiring, masts or towers.                                                 (c) Paragraph B.1.d. Nuclear Hazard;
                 (3) Any increase of loss caused by or                                        (d) Paragraph B.1.e. Utility Services;
                     resulting from:                                                              and
                     (a) Delay in rebuilding, repairing or                                    (e) Paragraph B.1.f. War And Military
                         replacing     the     property   or                                      Action.
                         resuming "operations", due to                                (2) The following additional exclusions
                         interference at the location of the                              apply   to  insurance   under   this
                         rebuilding, repair or replacement                                Coverage Form:
                         by strikers or other persons; or
                                                                                              (a) Contractual Liability
                     (b) Suspension, lapse or cancellation
                         of any license, lease or contract.                                       We will not defend any claim or
                         But if the suspension, lapse or                                          "suit", or pay damages that you
                         cancellation is directly caused by                                       are legally liable to pay, solely by
                         the "suspension" of "operations",                                        reason of your assumption of
                         we will cover such loss that affects                                     liability in a contract or agreement.
                         your Business Income during the                                          But this exclusion does not apply
                         "period of restoration" and any                                          to a written lease agreement in
                         extension of the "period of                                              which you have assumed liability
                         restoration" in accordance with                                          for building damage resulting from
                         the   terms of the        Extended                                       an actual or attempted burglary or
                         Business     Income       Additional                                     robbery, provided that:
                         Coverage and        the Extended                                         (i) Your assumption of liability
                         Period Of Indemnity Optional                                                 was executed prior to the
                         Coverage or any variation of                                                 accident; and
                         these.                                                                   (ii) The building    is   Covered
                 (4) Any Extra Expense caused by             or                                        Property under this Coverage
                     resulting from suspension, lapse        or                                        Form.
                     cancellation of any license, lease      or                               (b) Nuclear Hazard
                     contract beyond the "period             of
                     restoration".                                                                We will not defend any claim or
                                                                                                  "suit", or pay any damages, loss,
                                                                                                  expense or obligation, resulting
                                                                                                  from nuclear reaction or radiation,
                                                                                                  or    radioactive   contamination,
                                                                                                  however caused.




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     5.   Additional Exclusion
          The following provisions apply only to the                            d.   Building materials and supplies not
          specified property:                                                        attached as part of the building or
          Loss Or Damage To Products                                                 structure, caused by or resulting from
                                                                                     theft.
          We will not pay for loss or damage to any
          merchandise, goods or other product caused                                 However, this limitation does not apply to:
          by or resulting from error or omission by any                              (1) Building materials and supplies held
          person or entity (including those having                                       for sale by you, unless they are
          possession under an arrangement where work                                     insured under the Builders Risk
          or a portion of the work is outsourced) in any                                 Coverage Form; or
          stage of the development, production or use of                             (2) Business Income Coverage or Extra
          the product, including planning, testing,                                      Expense Coverage.
          processing,        packaging,       installation,
          maintenance or repair. This exclusion applies                         e.   Property that is missing, where the only
          to any effect that compromises the form,                                   evidence of the loss or damage is a
          substance or quality of the product. But if such                           shortage disclosed on taking inventory, or
          error or omission results in a Covered Cause                               other instances where there is no physical
          of Loss, we will pay for the loss or damage                                evidence to show what happened to the
          caused by that Covered Cause of Loss.                                      property.
                                                                                f.   Property that has been transferred to a
C. Limitations                                                                       person or to a place outside the described
     The following limitations apply to all policy forms                             premises on the basis of unauthorized
     and endorsements, unless otherwise stated:                                      instructions.
     1.   We will not pay for loss of or damage to                              g.   Lawns, trees, shrubs or plants which are
          property, as described and limited in this                                 part of a vegetated roof, caused by or
          section. In addition, we will not pay for any loss                         resulting from:
          that is a consequence of loss or damage as                                 (1) Dampness or dryness of atmosphere
          described and limited in this section.                                         or of soil supporting the vegetation;
          a.   Steam boilers, steam pipes, steam                                     (2) Changes     in      or      extremes     of
               engines or steam turbines caused by or                                    temperature;
               resulting from any condition or event
               inside such equipment. But we will pay for                            (3) Disease;
               loss of or damage to such equipment                                   (4) Frost or hail; or
               caused by or resulting from an explosion                              (5) Rain, snow, ice or sleet.
               of gases or fuel within the furnace of any
               fired vessel or within the flues or passages               2.    We will not pay for loss of or damage to the
               through which the gases of combustion                            following types of property unless caused by
               pass.                                                            the "specified causes of loss" or building glass
                                                                                breakage:
          b.   Hot water boilers or other water heating
               equipment caused by or resulting from                            a.   Animals, and then only if they are killed or
               any condition or event inside such boilers                            their destruction is made necessary.
               or equipment, other than an explosion.                           b.   Fragile articles such as statuary, marbles,
          c.   The interior of any building or structure, or                         chinaware and porcelains, if broken. This
               to personal property in the building or                               restriction does not apply to:
               structure, caused by or resulting from rain,                          (1) Glass; or
               snow, sleet, ice, sand or dust, whether                               (2) Containers of property held for sale.
               driven by wind or not, unless:
                                                                                c.   Builders' machinery, tools and equipment
               (1) The building or structure first sustains                          owned by you or entrusted to you,
                   damage by a Covered Cause of Loss                                 provided such property is Covered
                   to its roof or walls through which the                            Property.
                   rain, snow, sleet, ice, sand or dust
                   enters; or                                                        However, this limitation does not apply:

               (2) The loss or damage is caused by or                                (1) If the property is located on or within
                   results from thawing of snow, sleet or                                100 feet of the described premises,
                   ice on the building or structure.                                     unless the premises is insured under
                                                                                         the Builders Risk Coverage Form; or
                                                                                     (2) To Business Income Coverage or to
                                                                                         Extra Expense Coverage.

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     3.   The special limit shown for each category, a.                     2.   We will pay for direct physical loss or damage
          through d., is the total limit for loss of or                          to Covered Property, caused by abrupt
          damage to all property in that category. The                           collapse of a building or any part of a building
          special limit applies to any one occurrence of                         that is insured under this Coverage Form or
          theft, regardless of the types or number of                            that contains Covered Property insured under
          articles that are lost or damaged in that                              this Coverage Form, if such collapse is caused
          occurrence. The special limits are (unless a                           by one or more of the following:
          higher limit is shown in the Declarations):                            a.    Building decay that is hidden from view,
          a.     $2,500 for furs, fur garments and garments                            unless the presence of such decay is
                 trimmed with fur.                                                     known to an insured prior to collapse;
          b.     $2,500 for jewelry, watches, watch                              b.    Insect or vermin damage that is hidden
                 movements, jewels, pearls, precious and                               from view, unless the presence of such
                 semiprecious stones, bullion, gold, silver,                           damage is known to an insured prior to
                 platinum and other precious alloys or                                 collapse;
                 metals. This limit does not apply to jewelry                    c.    Use of defective material or methods in
                 and watches worth $100 or less per item.                              construction, remodeling or renovation if
          c.     $2,500 for patterns, dies, molds and forms.                           the abrupt collapse occurs during the
          d.     $250 for stamps, tickets, including lottery                           course of the construction, remodeling or
                 tickets held for sale, and letters of credit.                         renovation.

          These special limits are part of, not in addition                      d.    Use of defective material or methods in
          to, the Limit of Insurance applicable to the                                 construction, remodeling or renovation if
          Covered Property.                                                            the abrupt collapse occurs after the
                                                                                       construction, remodeling or renovation is
          This limitation, C.3., does not           apply to                           complete, but only if the collapse is
          Business Income Coverage or               to Extra                           caused in part by:
          Expense Coverage.
                                                                                       (1) A cause of loss listed in 2.a. or 2.b.;
     4.   We will not pay the cost to repair any defect to
          a system or appliance from which water, other                                (2) One or more of the "specified causes
          liquid, powder or molten material escapes. But                                   of loss";
          we will pay the cost to repair or replace                                    (3) Breakage of building glass;
          damaged parts of fire-extinguishing equipment                                (4) Weight    of    people     or   personal
          if the damage:                                                                   property; or
          a.     Results in discharge of any substance                                 (5) Weight of rain that collects on a roof.
                 from an automatic fire protection system;
                 or                                                         3.   This Additional Coverage - Collapse does not
                                                                                 apply to:
          b.     Is directly caused by freezing.
                                                                                 a.    A building or any part of a building that is
          However, this limitation does not apply to                                   in danger of falling down or caving in;
          Business Income Coverage or to Extra
          Expense Coverage.                                                      b.    A part of a building that is standing, even if
                                                                                       it has separated from another part of the
D. Additional Coverage - Collapse                                                      building; or
     The coverage provided under this Additional                                 c.    A building that is standing or any part of a
     Coverage, Collapse, applies only to an abrupt                                     building that is standing, even if it shows
     collapse as described and limited in D.1. through                                 evidence of cracking, bulging, sagging,
     D.7.                                                                              bending, leaning, settling, shrinkage or
     1.   For the purpose of this Additional Coverage,                                 expansion.
          Collapse, abrupt collapse means an abrupt                         4.   With respect to the following property:
          falling down or caving in of a building or any                         a.    Outdoor radio or television antennas
          part of a building with the result that the                                  (including satellite dishes) and their lead-in
          building or part of the building cannot be                                   wiring, masts or towers;
          occupied for its intended purpose.




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         b.    Awnings, gutters and downspouts;                        E.   Additional Coverage - Limited Coverage For
         c.    Yard fixtures;                                               "Fungus", Wet Rot, Dry Rot And Bacteria

         d.    Outdoor swimming pools;                                      1.   The coverage described in E.2. and E.6. only
                                                                                 applies when the "fungus", wet or dry rot or
         e.    Fences;                                                           bacteria are the result of one or more of the
         f.    Piers, wharves and docks;                                         following causes that occur during the policy
         g.    Beach    or    diving        platforms        or                  period and only if all reasonable means were
               appurtenances;                                                    used to save and preserve the property from
                                                                                 further damage at the time of and after that
         h.    Retaining walls; and                                              occurrence:
         i.    Walks, roadways        and     other     paved                    a.   A "specified cause of loss" other than fire
               surfaces;                                                              or lightning; or
         if an abrupt collapse is caused by a cause of                           b.   Flood, if the Flood Coverage Endorsement
         loss listed in 2.a. through 2.d., we will pay for                            applies to the affected premises.
         loss or damage to that property only if:
                                                                                 This Additional Coverage does not apply to
               (1) Such loss or damage is a direct result                        lawns, trees, shrubs or plants which are part of
                   of the abrupt collapse of a building                          a vegetated roof.
                   insured under this Coverage Form;
                   and                                                      2.   We will pay for loss or damage by "fungus",
                                                                                 wet or dry rot or bacteria. As used in this
               (2) The property is Covered            Property                   Limited Coverage, the term loss or damage
                   under this Coverage Form.                                     means:
    5.   If personal property abruptly falls down or                             a.   Direct physical loss or damage to Covered
         caves in and such collapse is not the result of                              Property caused by "fungus", wet or dry
         abrupt collapse of a building, we will pay for                               rot or bacteria, including the cost of
         loss or damage to Covered Property caused                                    removal of the "fungus", wet or dry rot or
         by such collapse of personal property only if:                               bacteria;
         a.    The collapse of personal property was                             b.   The cost to tear out and replace any part
               caused by a cause of loss listed in 2.a.                               of the building or other property as needed
               through 2.d.;                                                          to gain access to the "fungus", wet or dry
         b.    The personal property which collapses is                               rot or bacteria; and
               inside a building; and                                            c.   The cost of testing performed after
         c.    The property which collapses is not of a                               removal, repair, replacement or restoration
               kind listed in 4., regardless of whether that                          of the damaged property is completed,
               kind of property is considered to be                                   provided there is a reason to believe that
               personal property or real property.                                    "fungus", wet or dry rot or bacteria are
         The coverage stated in this Paragraph 5. does                                present.
         not apply to personal property if marring                          3.   The coverage described under E.2. of this
         and/or scratching is the only damage to that                            Limited Coverage is limited to $15,000.
         personal property caused by the collapse.                               Regardless of the number of claims, this limit is
    6.   This Additional Coverage, Collapse, does not                            the most we will pay for the total of all loss or
         apply to personal property that has not                                 damage arising out of all occurrences of
         abruptly fallen down or caved in, even if the                           "specified causes of loss" (other than fire or
         personal property shows evidence of cracking,                           lightning) and Flood which take place in a
         bulging, sagging, bending, leaning, settling,                           12-month period (starting with the beginning of
         shrinkage or expansion.                                                 the present annual policy period). With respect
                                                                                 to a particular occurrence of loss which results
    7.   This Additional Coverage, Collapse, will not                            in "fungus", wet or dry rot or bacteria, we will
         increase the Limits of Insurance provided in                            not pay more than a total of $15,000 even if the
         this Coverage Part.                                                     "fungus", wet or dry rot or bacteria continue to
    8.   The term Covered Cause of Loss includes the                             be present or active, or recur, in a later policy
         Additional Coverage, Collapse, as described                             period.
         and limited in D.1. through D.7.




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    4.   The coverage provided under this Limited                      F. Additional Coverage Extensions
         Coverage does not increase the applicable                         1.   Property In Transit
         Limit of Insurance on any Covered Property. If
         a particular occurrence results in loss or                             This Extension applies only to your personal
         damage by "fungus", wet or dry rot or bacteria,                        property to which this form applies.
         and other loss or damage, we will not pay                              a.   You may extend the insurance provided
         more, for the total of all loss or damage, than                             by this Coverage Part to apply to your
         the applicable Limit of Insurance on the                                    personal property (other than property in
         affected Covered Property.                                                  the care, custody or control of your
         If there is covered loss or damage to Covered                               salespersons) in transit more than 100 feet
         Property, not caused by "fungus", wet or dry                                from the described premises. Property
         rot or bacteria, loss payment will not be limited                           must be in or on a motor vehicle you own,
         by the terms of this Limited Coverage, except                               lease or operate while between points in
         to the extent that "fungus", wet or dry rot or                              the coverage territory.
         bacteria cause an increase in the loss. Any                            b.   Loss or damage must be caused by or
         such increase in the loss will be subject to the                            result from one of the following causes of
         terms of this Limited Coverage.                                             loss:
    5.   The terms of this Limited Coverage do not                                   (1) Fire, lightning, explosion, windstorm
         increase or reduce the coverage provided                                        or hail, riot or civil commotion, or
         under Paragraph F.2. (Water Damage, Other                                       vandalism.
         Liquids, Powder Or Molten Material Damage)                                  (2) Vehicle collision, upset or overturn.
         of this Causes Of Loss form or under the                                        Collision means accidental contact of
         Additional Coverage, Collapse.                                                  your vehicle with another vehicle or
    6.   The following, 6.a. or 6.b., applies only if                                    object. It does not mean your vehicle's
         Business Income and/or Extra Expense                                            contact with the roadbed.
         Coverage applies to the described premises                                  (3) Theft of an entire bale, case or
         and only if the "suspension" of "operations"                                    package by forced entry into a
         satisfies all terms and conditions of the                                       securely locked body or compartment
         applicable Business Income and/or Extra                                         of the vehicle. There must be visible
         Expense Coverage Form:                                                          marks of the forced entry.
         a.      If the loss which resulted in "fungus", wet                    c.   The most we will pay for loss or damage
                 or dry rot or bacteria does not in itself                           under this Extension is $5,000.
                 necessitate a "suspension" of "operations",
                 but such "suspension" is necessary due to                      This   Coverage   Extension     is   additional
                 loss or damage to property caused by                           insurance.   The     Additional     Condition,
                 "fungus", wet or dry rot or bacteria, then                     Coinsurance, does not apply to this Extension.
                 our payment under Business Income                         2.   Water Damage, Other Liquids, Powder Or
                 and/or Extra Expense is limited to the                         Molten Material Damage
                 amount of loss and/or expense sustained                        If loss or damage caused by or resulting from
                 in a period of not more than 30 days. The                      covered water or other liquid, powder or
                 days need not be consecutive.                                  molten material damage loss occurs, we will
         b.      If a covered "suspension" of "operations"                      also pay the cost to tear out and replace any
                 was caused by loss or damage other than                        part of the building or structure to repair
                 "fungus", wet or dry rot or bacteria but                       damage to the system or appliance from which
                 remediation of "fungus", wet or dry rot or                     the water or other substance escapes. This
                 bacteria    prolongs    the   "period   of                     Coverage Extension does not increase the
                 restoration", we will pay for loss and/or                      Limit of Insurance.
                 expense sustained during the delay                        3.   Glass
                 (regardless of when such a delay occurs
                 during the "period of restoration"), but                       a.   We will pay for expenses incurred to put
                 such coverage is limited to 30 days. The                            up temporary plates or board up openings
                 days need not be consecutive.                                       if repair or replacement of damaged glass
                                                                                     is delayed.




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          b.    We will pay for expenses incurred to                             c.    Water damage means:
                remove or replace obstructions when                                    (1) Accidental discharge or leakage of
                repairing or replacing glass that is part of a                             water or steam as the direct result of
                building. This does not include removing                                   the breaking apart or cracking of a
                or replacing window displays.                                              plumbing, heating, air conditioning or
          This Coverage Extension F.3.             does     not                            other system or appliance (other than
          increase the Limit of Insurance.                                                 a sump system including its related
                                                                                           equipment and parts), that is located
G. Definitions                                                                             on the described premises and
     1.   "Fungus" means any type or form of fungus,                                       contains water or steam; and
          including  mold    or    mildew, and   any                                   (2) Accidental discharge or leakage of
          mycotoxins, spores, scents or by-products                                        water or waterborne material as the
          produced or released by fungi.                                                   direct result of the breaking apart or
     2.   "Specified causes of loss" means the following:                                  cracking of a water or sewer pipe that
          fire; lightning; explosion; windstorm or hail;                                   is located off the described premises
          smoke; aircraft or vehicles; riot or civil                                       and is part of a municipal potable
          commotion;       vandalism;     leakage     from                                 water supply system or municipal
          fire-extinguishing     equipment;       sinkhole                                 sanitary sewer system, if the breakage
          collapse; volcanic action; falling objects;                                      or cracking is caused by wear and
          weight of snow, ice or sleet; water damage.                                      tear.
          a.    Sinkhole collapse means the sudden                                     But water damage does not include loss or
                sinking   or    collapse  of    land into                              damage otherwise excluded under the
                underground empty spaces created by the                                terms of the Water Exclusion. Therefore,
                action of water on limestone or dolomite.                              for example, there is no coverage under
                This cause of loss does not include:                                   this policy in the situation in which
                (1) The cost of filling sinkholes; or                                  discharge or leakage of water results from
                                                                                       the breaking apart or cracking of a pipe
                (2) Sinking or collapse of land into                                   which was caused by or related to
                    man-made underground cavities.                                     weather-induced flooding, even if wear
          b.    Falling objects does not include loss or                               and tear contributed to the breakage or
                damage to:                                                             cracking. As another example, and also in
                (1) Personal property in the open; or                                  accordance with the terms of the Water
                                                                                       Exclusion, there is no coverage for loss or
                (2) The interior of a building or structure,                           damage caused by or related to
                    or property inside a building or                                   weather-induced flooding which follows or
                    structure, unless the roof or an outside                           is exacerbated by pipe breakage or
                    wall of the building or structure is first                         cracking attributable to wear and tear.
                    damaged by a falling object.
                                                                                       To the extent that accidental discharge or
                                                                                       leakage of water falls within the criteria set
                                                                                       forth in c.(1) or c.(2) of this definition of
                                                                                       "specified causes of loss," such water is
                                                                                       not subject to the provisions of the Water
                                                                                       Exclusion which preclude coverage for
                                                                                       surface water or water under the surface of
                                                                                       the ground.




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POLICY NUMBER: NN1125585                                                                         COMMERCIAL PROPERTY
                                                                                                         CP 10 33 10 12


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                            THEFT EXCLUSION
This endorsement modifies insurance provided under the following:

    CAUSES OF LOSS - SPECIAL FORM

                                                       SCHEDULE

                  Premises Number                                                         Building Number
                    1                                                                      1



Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


With respect to the location(s) indicated in the                       2.   Building damage caused by the breaking in or
Schedule, the following is added to the Exclusions                          exiting of burglars.
section:                                                          And if theft results in a Covered Cause of Loss, we will
We will not pay for loss or damage caused by or                   pay for the loss or damage caused by that Covered
resulting from theft.                                             Cause of Loss.
But we will pay for:
    1.   Loss or damage that occurs due to looting at
         the time and place of a riot or civil commotion;
         or




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                                                                                                                 IL 09 35 07 02


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
This endorsement modifies insurance provided under the following:

     COMMERCIAL INLAND MARINE COVERAGE PART
     COMMERCIAL PROPERTY COVERAGE PART
     CRIME AND FIDELITY COVERAGE PART
     STANDARD PROPERTY POLICY


A.   We will not pay for loss ("loss") or damage caused                    2.   Any advice, consultation, design, evaluation,
     directly or indirectly by the following. Such loss                         inspection, installation, maintenance, repair,
     ("loss") or damage is excluded regardless of any                           replacement or supervision provided or done
     other cause or event that contributes concurrently                         by you or for you to determine, rectify or test
     or in any sequence to the loss ("loss") or damage.                         for, any potential or actual problems described
     1.   The failure, malfunction or inadequacy of:                            in Paragraph A.1. of this endorsement.

          a.     Any of the following, whether belonging to           B.   If an excluded Cause of Loss as described in
                 any insured or to others:                                 Paragraph A. of this endorsement results:
                 (1) Computer     hardware,         including              1.   In a Covered Cause of Loss under the Crime
                     microprocessors;                                           and Fidelity Coverage Part, the Commercial
                 (2) Computer application software;                             Inland Marine Coverage Part or the Standard
                                                                                Property Policy; or
                 (3) Computer operating       systems     and
                     related software;                                     2.   Under the Commercial Property Coverage
                                                                                Part:
                 (4) Computer networks;
                                                                                a.   In a "Specified Cause of Loss", or in
                 (5) Microprocessors (computer chips) not                            elevator    collision    resulting from
                     part of any computer system; or                                 mechanical breakdown, under the Causes
                 (6) Any other computerized or electronic                            of Loss - Special Form; or
                     equipment or components; or                                b.   In a Covered Cause of Loss under the
          b.     Any other products, and any services,                               Causes Of Loss - Basic Form or the
                 data or functions that directly or indirectly                       Causes Of Loss - Broad Form;
                 use or rely upon, in any manner, any of the               we will pay only for the loss ("loss") or damage
                 items listed in Paragraph A.1.a. of this                  caused by such "Specified Cause of Loss",
                 endorsement;                                              elevator collision, or Covered Cause of Loss.
          due to the inability to correctly recognize,
          process, distinguish, interpret or accept one or            C. We will not pay for repair, replacement or
          more dates or times. An example is the                         modification of any items in Paragraphs A.1.a. and
          inability of computer software to recognize the                A.1.b. of this endorsement to correct any
          year 2000.                                                     deficiencies or change any features.




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POLICY NUMBER: NN1125585                                                                                       IL 09 53 01 15

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

     BOILER AND MACHINERY COVERAGE PART
     COMMERCIAL INLAND MARINE COVERAGE PART
     COMMERCIAL PROPERTY COVERAGE PART
     CRIME AND FIDELITY COVERAGE PART
     EQUIPMENT BREAKDOWN COVERAGE PART
     FARM COVERAGE PART
     STANDARD PROPERTY POLICY


                                                        SCHEDULE

The Exception Covering Certain Fire Losses (Paragraph C) applies to property located in the following state(s), if
covered under the indicated Coverage Form, Coverage Part or Policy:


                   State(s)                                      Coverage Form, Coverage Part Or Policy

          GA                                      PROPERTY COVERAGE




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A.   The following definition is added with respect to                  2.   The act is a violent act or an act that is
     the provisions of this endorsement:                                     dangerous to human life, property or
     "Certified act of terrorism" means an act that is                       infrastructure and is committed by an
     certified by the Secretary of the Treasury, in                          individual or individuals as part of an effort to
     accordance with the provisions of the federal                           coerce the civilian population of the United
     Terrorism Risk Insurance Act, to be an act of                           States or to influence the policy or affect the
     terrorism pursuant to such Act. The criteria                            conduct of the United States Government by
     contained in the Terrorism Risk Insurance Act for a                     coercion.
     "certified act of terrorism" include the following:
     1.    The act resulted in insured losses in excess of
           $5 million in the aggregate, attributable to all
           types of insurance subject to the Terrorism
           Risk Insurance Act; and




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B.   The following exclusion is added:                                D. Application Of Other Exclusions
     CERTIFIED ACT OF TERRORISM EXCLUSION                                  The terms and limitations of any terrorism
     We will not pay for loss or damage caused directly                    exclusion, or the inapplicability or omission of a
     or indirectly by a "certified act of terrorism". Such                 terrorism exclusion, do not serve to create
     loss or damage is excluded regardless of any other                    coverage for any loss which would otherwise be
     cause or event that contributes concurrently or in                    excluded under this Coverage Part or Policy, such
     any sequence to the loss.                                             as losses excluded by the Nuclear Hazard
                                                                           Exclusion or the War And Military Action Exclusion.
C. Exception Covering Certain Fire Losses
     The following exception to the exclusion in
     Paragraph B. applies only if indicated and as
     indicated in the Schedule of this endorsement.
     If a "certified act of terrorism" results in fire, we will
     pay for the loss or damage caused by that fire.
     Such coverage for fire applies only to direct loss or
     damage by fire to Covered Property. Therefore, for
     example, the coverage does not apply to
     insurance provided under Business Income and/or
     Extra Expense coverage forms or endorsements
     which apply to those forms, or to the Legal Liability
     Coverage Form or the Leasehold Interest
     Coverage Form.
     If aggregate insured losses attributable to terrorist
     acts certified under the Terrorism Risk Insurance
     Act exceed $100 billion in a calendar year and we
     have met our insurer deductible under the
     Terrorism Risk Insurance Act, we shall not be liable
     for the payment of any portion of the amount of
     such losses that exceeds $100 billion, and in such
     case insured losses up to that amount are subject
     to pro rata allocation in accordance with
     procedures established by the Secretary of the
     Treasury.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                             ACTUAL CASH VALUE
This endorsement modifies insurance provided under the following:

    BUILDING AND PERSONAL PROPERTY COVERAGE FORM
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL CRIME COVERAGE PART
    CRIME AND FIDELITY COVERAGE PART
    FARM COVERAGE PART


The following is added to any provision, which uses the term Actual Cash Value:
Actual cash value is calculated as the amount it would cost to repair or replace Covered Property, at the time of loss
or damage, with material of like kind and quality, subject to a deduction for deterioration, depreciation and
obsolescence. Actual Cash Value applies to valuation of Covered Property regardless of whether that property has
sustained partial or total loss or damage.
The Actual Cash Value of the lost or damaged property may be significantly less than its replacement cost.




All other terms and conditions remain unchanged.




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POLICYHOLDER DISCLOSURE FOR STANDARD FIRE POLICY STATES AND
       DECLINATION OF TERRORISM INSURANCE COVERAGE

THIS ACKNOWLEDGES THAT YOU HAVE CHOSEN TO DECLINE COVERAGE FOR ACTS OF TERRORISM, AS
DEFINED IN THE TERRORISM RISK INSURANCE ACT, AS AMENDED (THE "ACT"),

YOU SHOULD NOTE HOWEVER, IF YOUR POLICY PROVIDES COVERAGE FOR COMMERCIAL PROPERTY
AND/OR COMMERCIAL INLAND MARINE, THERE ARE STATE STATUTORY EXCEPTIONS COVERING CERTAIN
FIRE LOSSES AS IT RELATES TO COVERED PROPERTY LOCATED IN THE STATES LISTED IN THE SCHEDULE
BELOW. IF AN "ACT OF TERRORISM" CERTIFIED UNDER THE ACT RESULTS IN FIRE, WE WILL PAY FOR THE
LOSS OR DAMAGE CAUSED BY THAT FIRE. SUCH COVERAGE FOR FIRE APPLIES ONLY TO DIRECT LOSS OR
DAMAGE BY FIRE TO COVERED PROPERTY AND IS SUBJECT TO ANY LIMITATIONS OF ANY TERRORISM
EXCLUSION, OR INAPPLICABILITY OR OMISSION OF A TERRORISM EXCLUSION. THIS NOTICE DOES NOT
SERVE TO CREATE COVERAGE FOR ANY LOSS WHICH WOULD OTHERWISE BE EXCLUDED UNDER YOUR
POLICY.


         State(s):

          Georgia




As defined in Section 102(1) of the Act: The term "act of terrorism" means any act that is certified by the Secretary of
the Treasury - in consultation with the Secretary of Homeland Security, and the Attorney General of the United
States - to be an act of terrorism; to be a violent act or an act that is dangerous to human life, property, or
infrastructure; to have resulted in damage within the United States, or outside the United States in the case of
certain air carriers or vessels or the premises of a United States mission; and to have been committed by an
individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
policy or affect the conduct of the United States Government by coercion. Under your coverage, any losses
resulting from certified acts of terrorism may be partially reimbursed by the United States Government under a
formula established by the Act. However, your policy may contain other exclusions which might affect your
coverage, such as an exclusion for nuclear events. Under the formula, the United States Government generally
reimburses 80% beginning on January 1, 2020 of covered terrorism losses exceeding the statutorily established
deductible paid by the insurance company providing the coverage.

The Act contains a $100 billion cap that limits U.S. Government reimbursement as well as insurers' liability for
losses resulting from certified acts of terrorism when the amount of such losses exceeds $100 billion in any one
calendar year. If the aggregate insured losses for all insurers exceed $100 billion, your coverage may be reduced.

THE PORTION OF YOUR PREMIUM THAT IS ATTRIBUTABLE TO COVERAGE FOR DIRECT LOSS OR
DAMAGE THAT IS CAUSED BY AN "ACT OF TERRORISM" CERTIFIED UNDER THE ACT AND WHERE FIRE
ENSUES IS $25.00, and does not include any charges for the portion of losses covered by the United States
government under the Act.



Name of Insurer:        NAUTILUS INSURANCE COMPANY

Policy Number:       NN1125585




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                                                                                                          COMMERCIAL PROPERTY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                               EXCLUSION - PROPERTY POLLUTION
This endorsement modifies insurance provided under the following:

     BUILDERS RISK COVERAGE FORM
     BUILDING AND PERSONAL PROPERTY COVERAGE FORM
     CONDOMINIUM ASSOCIATION COVERAGE FORM
     CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
     CAUSES OF LOSS - BASIC FORM
     CAUSES OF LOSS - BROAD FORM
     CAUSES OF LOSS - SPECIAL FORM
     STANDARD PROPERTY POLICY


A.   When referenced in the coverage form, Pollutant Clean Up and Removal under Additional Coverages is
     deleted.

B.   The following is added to the Exclusions section:
     PROPERTY POLLUTION
     We will not pay for loss, damage or expense caused directly or indirectly, in whole or in part, by the actual,
     alleged or threatened discharge, dispersal, seepage, migration, release or escape of "pollutants". Nor will we
     cover any loss, damage or expense arising out of any:
     1.   Request, demand or order that any insured or others test for, monitor, clean up, remove, contain, treat,
          detoxify or neutralize, or in any way respond to, or assess the effects of "pollutants"; or
     2.   Claim or suit by or on behalf of a government authority for damages because of testing for, monitoring,
          cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
          assessing the effects of "pollutants".
     Such loss, damage or expense is excluded regardless of any other cause or event that contributes concurrently
     or in any sequence to the loss.
     This exclusion also applies to personal property contained in any man-made structure.

C. "Pollutants" means any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot,
   fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
   reclaimed.




All other terms and conditions of this policy remain unchanged.




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                                                                                                          COMMERCIAL PROPERTY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           EXCLUSION - MICROORGANISMS, BIOLOGICAL ORGANISMS,
           BIOAEROSOLS OR ORGANIC CONTAMINANTS, IRRITANTS OR
                              POLLUTANTS
This endorsement modifies insurance provided under the following:

     CAUSES OF LOSS - BASIC FORM
     CAUSES OF LOSS - BROAD FORM
     CAUSES OF LOSS - SPECIAL FORM
     STANDARD PROPERTY POLICY


A.   Paragraph h. "Fungus", Wet Rot, Dry Rot and Bacteria of section B. Exclusions is replaced by the following:
     We will not pay for loss or damage caused directly or indirectly by any of the following. Such loss or damage is
     excluded regardless of any other cause or event that contributes concurrently or in any sequence to the loss.
     1.   Any microorganisms, biological organisms, bioaerosols or organic contaminants, irritants or "pollutants",
          including but not limited to mold, mildew, "fungus", spores, yeast or other toxins, mycotoxins, allergens,
          infectious agents, wet or dry rot or rust, or any materials containing them at any time, regardless of the
          cause of growth, proliferation or secretion; or
     2.   Rust, corrosion, decay, deterioration, hidden or latent defect or any quality in property that causes it to
          damage or destroy itself.

B.   In the Causes of Loss - Basic, Broad and Special Forms, Additional Coverage - Limited Coverage for
     "Fungus", Wet Rot, Dry Rot and Bacteria is deleted in its entirety.

C. In the Standard Property Policy, Additional Coverages, f. - Limited Coverage for "Fungus", Wet Rot, Dry Rot
   and Bacteria is deleted in its entirety.




All other terms and conditions of this policy remain unchanged.




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                                                                                                          COMMERCIAL PROPERTY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           AMENDMENT OF COVERAGE - COLLAPSE
This endorsement modifies insurance provided under the following:

    CAUSES OF LOSS - BROAD FORM
    CAUSES OF LOSS - SPECIAL FORM

The following replaces paragraph 3.a. of Additional Coverage - Collapse:
    a.   A building or any part of a building that is in danger of falling down or caving in, even if such danger of falling
         down or caving in is imminent;




All other terms and conditions remain unchanged.




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                                                                                                         COMMERCIAL PROPERTY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
This endorsement modifies insurance provided under the following:

     COMMERCIAL PROPERTY COVERAGE PART
     STANDARD PROPERTY POLICY



A.   The exclusion set forth in Paragraph B. applies to                    However, this exclusion does not apply to loss or
     all coverage under all forms and endorsements                         damage caused by or resulting from "fungus", wet
     that comprise this Coverage Part or Policy,                           rot or dry rot. Such loss or damage is addressed in
     including but not limited to forms or endorsements                    a separate exclusion in this Coverage Part or
     that cover property damage to buildings or                            Policy.
     personal property and forms or endorsements that
     cover business income, extra expense or action of                C. With respect to any loss or damage subject to the
     civil authority.                                                    exclusion in Paragraph B., such exclusion
                                                                         supersedes any exclusion relating to "pollutants".
B.   We will not pay for loss or damage caused by or
     resulting from any virus, bacterium or other                     D. The terms of the exclusion in Paragraph B., or the
     microorganism that induces or is capable of                         inapplicability of this exclusion to a particular loss,
     inducing physical distress, illness or disease.                     do not serve to create coverage for any loss that
                                                                         would otherwise be excluded under this Coverage
                                                                         Part or Policy.




All other terms and conditions remain unchanged.




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                                                                                                          COMMERCIAL PROPERTY


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                      TOTAL LOSS ENDORSEMENT
This endorsement modifies insurance provided under the following:

     COMMERCIAL PROPERTY COVERAGE PART

A.   In the event of a total loss or a "constructive total loss" of the Covered Property, the premium for that Covered
     Property will be fully earned and no refund will be made.

B.   For the purpose of this endorsement the following is added to the Definitions section:
     "Constructive total loss" means Covered Property that is damaged and is treated as a total loss because the
     cost of repairing the damaged Covered Property exceeds the value of the Covered Property.




All other terms and conditions of the policy remain unchanged.




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        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS
 POLICY NUMBER: NN1125585
   Extension of Declarations is attached.                              Effective Date: 05/21/2020             12:01 A.M. Standard Time
LIMITS OF INSURANCE                      If box is checked, refer to form S132 Amendment of Limits of Insurance.
   General Aggregate Limit (Other Than Products/Completed Operations) $                     2,000,000
   Products/Completed Operations Aggregate Limit                                        $   INCLUDED
   Personal and Advertising Injury Limit                                                $   1,000,000        Any One Person Or Organization
   Each Occurrence Limit                                                                $   1,000,000
   Damage To Premises Rented To You Limit                                               $    100,000         Any One Premises
   Medical Expense Limit                                                                $     5,000          Any One Person

RETROACTIVE DATE (CG 00 02 ONLY)
   This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" which occurs
   before the Retroactive Date, if any, shown here: NONE             (Enter Date or "NONE" if no Retroactive Date applies)

 BUSINESS DESCRIPTION AND LOCATION OF PREMISES
 BUSINESS DESCRIPTION: OFFICE
 LOCATION OF ALL PREMISES YOU OWN, RENT, OR OCCUPY:                                   Location address is same as mailing address.
   1. 776 BACONSFIELD RD
      MACON                GA 31211
   2.

   Additional locations (if any) will be shown on form S170, Commercial General Liability Coverage Part Declarations
   Extension.
 LOCATION OF JOB SITE (If Designated Projects are to be Scheduled):


                                                                         PREMIUM                        RATE                  ADVANCE
CODE # -                  CLASSIFICATION                         *        BASIS              Prem/Ops      Prod/Comp          PREMIUM
                                                                                                              Ops

68606   - Vacant Buildings - not factories - OTNFP -           a          18,922              11.224
          Products/Completed operations are
          subject to the general aggregate limit                                                          INCLUDED




61217   - Buildings or Premises - bank or office -             a          9,320               47.151
          mercantile or mfg (lessor's risk only) -                                                        INCLUDED
          maintained by the insured - OTNFP -
          Products/Completed operations are
          subject to the general aggregate limit

        -




        -




* PREMIUM BASIS SYMBOLS                  + = Products/Completed Operations are subject to the General Aggregate Limit
  a = Area (per 1,000 sq. ft. of area)        o = Total Operating Expenditures                   s = Gross Sales (per $1,000 of Gross Sales)
  c = Total Cost (per $1,000 of Total Cost)       (per $1,000 Total Operating Expenditures)      t = See Classification
  m = Admissions (per 1,000 Admissions)       p = Payroll   (per $1,000 of Payroll)              u = Units (per unit)

                                                                     PREMIUM FOR THIS COVERAGE PART                    $
 FORMS AND ENDORSEMENTS (other than applicable Forms and Endorsements shown elsewhere in the policy)
  Forms and Endorsements applying to this Coverage Part and made part of this policy at time of issue:
                              Refer to Schedule of Forms and Endorsements

    THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.
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                                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                                          CG 00 01 04 13



                   COMMERCIAL GENERAL LIABILITY COVERAGE FORM

Various provisions in this policy restrict coverage. Read                     (2) The "bodily injury" or "property damage"
the entire policy carefully to determine rights, duties                           occurs during the policy period; and
and what is and is not covered.                                               (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your" refer                           under Paragraph 1. of Section II - Who Is
to the Named Insured shown in the Declarations, and                               An Insured and no "employee" authorized
any other person or organization qualifying as a                                  by you to give or receive notice of an
Named Insured under this policy. The words "we", "us"                             "occurrence" or claim, knew that the
and "our" refer to the company providing this                                     "bodily injury" or "property damage" had
insurance.                                                                        occurred, in whole or in part. If such a
The word "insured" means any person or organization                               listed insured or authorized "employee"
qualifying as such under Section II - Who Is An Insured.                          knew, prior to the policy period, that the
                                                                                  "bodily injury" or "property damage"
Other words and phrases that appear in quotation                                  occurred, then any continuation, change
marks have special meaning. Refer to Section V -                                  or resumption of such "bodily injury" or
Definitions.                                                                      "property damage" during or after the
SECTION I - COVERAGES                                                             policy period will be deemed to have been
COVERAGE A - BODILY INJURY AND PROPERTY                                           known prior to the policy period.
DAMAGE LIABILITY                                                        c.    "Bodily injury" or "property damage" which
1.   Insuring Agreement                                                       occurs during the policy period and was not,
                                                                              prior to the policy period, known to have
     a.   We will pay those sums that the insured                             occurred by any insured listed under
          becomes legally obligated to pay as damages                         Paragraph 1. of Section II - Who Is An Insured
          because of "bodily injury" or "property                             or any "employee" authorized by you to give or
          damage" to which this insurance applies. We                         receive notice of an "occurrence" or claim,
          will have the right and duty to defend the                          includes    any   continuation,    change    or
          insured against any "suit" seeking those                            resumption of that "bodily injury" or "property
          damages. However, we will have no duty to                           damage" after the end of the policy period.
          defend the insured against any "suit" seeking
          damages for "bodily injury" or "property                      d.    "Bodily injury" or "property damage" will be
          damage" to which this insurance does not                            deemed to have been known to have occurred
          apply. We may, at our discretion, investigate                       at the earliest time when any insured listed
          any "occurrence" and settle any claim or "suit"                     under Paragraph 1. of Section II - Who Is An
          that may result. But:                                               Insured or any "employee" authorized by you
                                                                              to give or receive notice of an "occurrence" or
          (1) The amount we will pay for damages is                           claim:
              limited as described in Section III - Limits
              Of Insurance; and                                               (1) Reports all, or any part, of the "bodily
                                                                                  injury" or "property damage" to us or any
          (2) Our right and duty to defend ends when                              other insurer;
              we have used up the applicable limit of
              insurance in the payment of judgments or                        (2) Receives a written or verbal demand or
              settlements under Coverages A or B or                               claim for damages because of the "bodily
              medical expenses under Coverage C.                                  injury" or "property damage"; or

          No other obligation or liability to pay sums or                     (3) Becomes aware by any other means that
          perform acts or services is covered unless                              "bodily injury" or "property damage" has
          explicitly provided for under Supplementary                             occurred or has begun to occur.
          Payments - Coverages A and B.                                 e.    Damages because of "bodily injury" include
     b.   This insurance applies to "bodily injury" and                       damages      claimed     by  any     person     or
          "property damage" only if:                                          organization for care, loss of services or death
                                                                              resulting at any time from the "bodily injury".
          (1) The "bodily injury" or "property damage" is
              caused by an "occurrence" that takes
              place in the "coverage territory";




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2.   Exclusions                                                                 This exclusion applies even if the claims
     This insurance does not apply to:                                          against any insured allege negligence or other
                                                                                wrongdoing in:
     a.   Expected Or Intended Injury
                                                                                     (a) The supervision, hiring, employment,
          "Bodily injury" or "property damage" expected                                  training or monitoring of others by that
          or intended from the standpoint of the insured.                                insured; or
          This exclusion does not apply to "bodily injury"
          resulting from the use of reasonable force to                              (b) Providing    or   failing to provide
          protect persons or property.                                                   transportation with respect to any
                                                                                         person that may be under the
     b.   Contractual Liability                                                          influence of alcohol;
          "Bodily injury" or "property damage" for which                        if the "occurrence" which caused the "bodily
          the insured is obligated to pay damages by                            injury" or "property damage", involved that
          reason of the assumption of liability in a                            which is described in Paragraph (1), (2) or (3)
          contract or agreement. This exclusion does                            above.
          not apply to liability for damages:
                                                                                However, this exclusion applies only if you are
          (1) That the insured would have in the                                in the business of manufacturing, distributing,
              absence of the contract or agreement; or                          selling,    serving    or    furnishing   alcoholic
          (2) Assumed in a contract or agreement that                           beverages. For the purposes of this exclusion,
              is an "insured contract", provided the                            permitting a person to bring alcoholic
              "bodily injury" or "property damage"                              beverages on your premises, for consumption
              occurs subsequent to the execution of the                         on your premises, whether or not a fee is
              contract or agreement. Solely for the                             charged or a license is required for such
              purposes of liability assumed in an                               activity, is not by itself considered the business
              "insured contract", reasonable attorneys'                         of selling, serving or furnishing alcoholic
              fees and necessary litigation expenses                            beverages.
              incurred by or for a party other than an                    d.    Workers' Compensation And Similar Laws
              insured are deemed to be damages
              because of "bodily injury" or "property                           Any obligation of the insured under a workers'
              damage", provided:                                                compensation,       disability  benefits   or
                                                                                unemployment compensation law or any
               (a) Liability to such party for, or for the                      similar law.
                   cost of, that party's defense has also
                   been assumed in the same "insured                      e.    Employer's Liability
                   contract"; and                                               "Bodily injury" to:
               (b) Such attorneys' fees and litigation                          (1) An "employee" of the insured arising out of
                   expenses are for defense of that party                           and in the course of:
                   against a civil or alternative dispute                            (a) Employment by the insured; or
                   resolution    proceeding    in  which
                   damages to which this insurance                                   (b) Performing duties related to the
                   applies are alleged.                                                  conduct of the insured's business; or

     c.   Liquor Liability                                                      (2) The spouse, child, parent, brother or sister
                                                                                    of that "employee" as a consequence of
          "Bodily injury" or "property damage" for which                            Paragraph (1) above.
          any insured may be held liable by reason of:
                                                                                This exclusion applies whether the insured
          (1) Causing or contributing to the intoxication                       may be liable as an employer or in any other
              of any person;                                                    capacity and to any obligation to share
          (2) The furnishing of alcoholic beverages to a                        damages with or repay someone else who
              person under the legal drinking age or                            must pay damages because of the injury.
              under the influence of alcohol; or                                This exclusion does not apply to liability
          (3) Any statute, ordinance or regulation                              assumed by the insured under an "insured
              relating to the sale, gift, distribution or use                   contract".
              of alcoholic beverages.




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    f.   Pollution                                                                  (d) At or from any premises, site or
         (1) "Bodily injury" or "property damage"                                       location on which any insured or any
             arising out of the actual, alleged or                                      contractors or subcontractors working
             threatened discharge, dispersal, seepage,                                  directly or indirectly on any insured's
             migration,    release  or    escape    of                                  behalf are performing operations if the
             "pollutants":                                                              "pollutants" are brought on or to the
                                                                                        premises,     site    or  location    in
             (a) At or from any premises, site or                                       connection with such operations by
                 location which is or was at any time                                   such      insured,     contractor    or
                 owned or occupied by, or rented or                                     subcontractor.        However,     this
                 loaned to, any insured. However, this                                  subparagraph does not apply to:
                 subparagraph does not apply to:
                                                                                            (i) "Bodily     injury"   or   "property
                   (i) "Bodily injury" if sustained within a                                    damage" arising out of the escape
                       building and caused by smoke,                                            of fuels, lubricants or other
                       fumes, vapor or soot produced by                                         operating fluids which are needed
                       or originating from equipment that                                       to perform the normal electrical,
                       is used to heat, cool or dehumidify                                      hydraulic or mechanical functions
                       the building, or equipment that is                                       necessary for the operation of
                       used to heat water for personal                                          "mobile equipment" or its parts, if
                       use, by the building's occupants                                         such fuels, lubricants or other
                       or their guests;                                                         operating fluids escape from a
                   (ii) "Bodily    injury"    or   "property                                    vehicle part designed to hold,
                        damage" for which you may be                                            store or receive them. This
                        held liable, if you are a contractor                                    exception does not apply if the
                        and the owner or lessee of such                                         "bodily     injury"   or   "property
                        premises, site or location has                                          damage" arises         out  of   the
                        been added to your policy as an                                         intentional discharge, dispersal or
                        additional insured with respect to                                      release of the fuels, lubricants or
                        your       ongoing        operations                                    other operating fluids, or if such
                        performed for that additional                                           fuels, lubricants or other operating
                        insured at that premises, site or                                       fluids are brought on or to the
                        location and such premises, site                                        premises, site or location with the
                        or location is not and never was                                        intent that they be discharged,
                        owned or occupied by, or rented                                         dispersed or released as part of
                        or loaned to, any insured, other                                        the operations being performed
                        than that additional insured; or                                        by such insured, contractor or
                   (iii) "Bodily injury"  or "property                                          subcontractor;
                         damage" arising out of heat,                                       (ii) "Bodily   injury"   or  "property
                         smoke or fumes from a "hostile                                          damage"     sustained   within    a
                         fire";                                                                  building and caused by the
             (b) At or from any premises, site or                                                release of gases, fumes or vapors
                 location which is or was at any time                                            from materials brought into that
                 used by or for any insured or others                                            building   in   connection     with
                 for the handling, storage, disposal,                                            operations being performed by
                 processing or treatment of waste;                                               you or on your behalf by a
                                                                                                 contractor or subcontractor; or
             (c) Which are or were at any time
                 transported, handled, stored, treated,                                     (iii) "Bodily injury" or  "property
                 disposed of, or processed as waste by                                            damage" arising out of heat,
                 or for:                                                                          smoke or fumes from a "hostile
                                                                                                  fire".
                   (i) Any insured; or
                                                                                    (e) At or from any premises, site or
                   (ii) Any person or organization for                                  location on which any insured or any
                        whom    you     may be  legally                                 contractors or subcontractors working
                        responsible; or                                                 directly or indirectly on any insured's
                                                                                        behalf are performing operations if the
                                                                                        operations are to test for, monitor,
                                                                                        clean up, remove, contain, treat,
                                                                                        detoxify or neutralize, or in any way
                                                                                        respond to, or assess the effects of,
                                                                                        "pollutants".

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         (2) Any loss, cost or expense arising out of                          (5) "Bodily injury"   or   "property   damage"
             any:                                                                  arising out of:
               (a) Request, demand, order or statutory                              (a) The operation of machinery or
                   or regulatory requirement that any                                   equipment that is attached to, or part
                   insured or others test for, monitor,                                 of, a land vehicle that would qualify
                   clean up, remove, contain, treat,                                    under    the  definition of "mobile
                   detoxify or neutralize, or in any way                                equipment" if it were not subject to a
                   respond to, or assess the effects of,                                compulsory or financial responsibility
                   "pollutants"; or                                                     law or other motor vehicle insurance
               (b) Claim or suit by or on behalf of a                                   law where it is licensed or principally
                   governmental authority for damages                                   garaged; or
                   because of testing for, monitoring,                              (b) The operation of any of the machinery
                   cleaning up, removing, containing,                                   or equipment listed in Paragraph f.(2)
                   treating, detoxifying or neutralizing, or                            or f.(3) of the definition of "mobile
                   in any way responding to, or                                         equipment".
                   assessing the effects of, "pollutants".               h.    Mobile Equipment
               However, this paragraph does not apply to                       "Bodily injury" or "property damage" arising out
               liability for damages because of "property                      of:
               damage" that the insured would have in
               the absence of such request, demand,                            (1) The transportation of "mobile equipment"
               order       or  statutory  or   regulatory                          by an "auto" owned or operated by or
               requirement, or such claim or "suit" by or                          rented or loaned to any insured; or
               on behalf of a governmental authority.                          (2) The use of "mobile equipment" in, or while
    g.   Aircraft, Auto Or Watercraft                                              in practice for, or while being prepared for,
                                                                                   any      prearranged       racing,    speed,
         "Bodily injury" or "property damage" arising out                          demolition, or stunting activity.
         of the ownership, maintenance, use or
         entrustment to others of any aircraft, "auto" or                i.    War
         watercraft owned or operated by or rented or                          "Bodily injury" or "property damage", however
         loaned to any insured. Use includes operation                         caused, arising, directly or indirectly, out of:
         and "loading or unloading".                                           (1) War, including undeclared or civil war;
         This exclusion applies even if the claims                             (2) Warlike action by a military force, including
         against any insured allege negligence or other                            action in hindering or defending against an
         wrongdoing      in   the   supervision,    hiring,                        actual or expected attack, by any
         employment, training or monitoring of others                              government, sovereign or other authority
         by that insured, if the "occurrence" which                                using military personnel or other agents;
         caused the "bodily injury" or "property                                   or
         damage"        involved      the      ownership,
         maintenance, use or entrustment to others of                          (3) Insurrection, rebellion, revolution, usurped
         any aircraft, "auto" or watercraft that is owned                          power, or action taken by governmental
         or operated by or rented or loaned to any                                 authority in hindering or defending against
         insured.                                                                  any of these.

         This exclusion does not apply to:                               j.    Damage To Property

         (1) A watercraft while ashore on premises you                         "Property damage" to:
             own or rent;                                                      (1) Property you own, rent, or occupy,
         (2) A watercraft you do not own that is:                                  including any costs or expenses incurred
                                                                                   by you, or any other person, organization
               (a) Less than 26 feet long; and                                     or   entity,   for   repair,   replacement,
               (b) Not being used to carry persons or                              enhancement, restoration or maintenance
                   property for a charge;                                          of such property for any reason, including
         (3) Parking an "auto" on, or on the ways next                             prevention of injury to a person or damage
             to, premises you own or rent, provided the                            to another's property;
             "auto" is not owned by or rented or loaned                        (2) Premises you sell, give away or abandon,
             to you or the insured;                                                if the "property damage" arises out of any
         (4) Liability assumed under any "insured                                  part of those premises;
             contract" for the ownership, maintenance                          (3) Property loaned to you;
             or use of aircraft or watercraft; or



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         (4) Personal property in the care, custody or                      This exclusion does not apply to the loss of
             control of the insured;                                        use of other property arising out of sudden and
         (5) That particular part of real property on                       accidental physical injury to "your product" or
             which you or any contractors             or                    "your work" after it has been put to its intended
             subcontractors      working    directly  or                    use.
             indirectly on your behalf are performing                 n.    Recall Of    Products,     Work   Or   Impaired
             operations, if the "property damage" arises                    Property
             out of those operations; or                                    Damages claimed for any loss, cost or
         (6) That particular part of any property that                      expense incurred by you or others for the loss
             must be restored, repaired or replaced                         of use, withdrawal, recall, inspection, repair,
             because "your work" was incorrectly                            replacement, adjustment, removal or disposal
             performed on it.                                               of:
         Paragraphs (1), (3) and (4) of this exclusion                      (1) "Your product";
         do not apply to "property damage" (other than                      (2) "Your work"; or
         damage by fire) to premises, including the
         contents of such premises, rented to you for a                     (3) "Impaired property";
         period of seven or fewer consecutive days. A                       if such product, work, or property is withdrawn
         separate limit of insurance applies to Damage                      or recalled from the market or from use by any
         To Premises Rented To You as described in                          person or organization because of a known or
         Section III - Limits Of Insurance.                                 suspected defect, deficiency, inadequacy or
         Paragraph (2) of this exclusion does not apply                     dangerous condition in it.
         if the premises are "your work" and were never               o.    Personal And Advertising Injury
         occupied, rented or held for rental by you.                        "Bodily injury" arising out of "personal and
         Paragraphs (3), (4), (5) and (6) of this                           advertising injury".
         exclusion do not apply to liability assumed                  p.    Electronic Data
         under a sidetrack agreement.
                                                                            Damages arising out of the loss of, loss of use
         Paragraph (6) of this exclusion does not apply                     of, damage to, corruption of, inability to
         to "property damage" included in the                               access, or inability to manipulate electronic
         "products-completed operations hazard".                            data.
    k.   Damage To Your Product                                             However, this exclusion does not apply to
         "Property damage" to "your product" arising                        liability for damages because of "bodily injury".
         out of it or any part of it.                                       As used in this exclusion, electronic data
    l.   Damage To Your Work                                                means information, facts or programs stored
         "Property damage" to "your work" arising out of                    as or on, created or used on, or transmitted to
         it or any part of it and included in the                           or from computer software, including systems
         "products-completed operations hazard".                            and applications software, hard or floppy
                                                                            disks, CD-ROMs, tapes, drives, cells, data
         This exclusion does not apply if the damaged                       processing devices or any other media which
         work or the work out of which the damage                           are   used    with   electronically  controlled
         arises was performed on your behalf by a                           equipment.
         subcontractor.
                                                                      q.    Recording And Distribution Of Material Or
    m. Damage To Impaired Property Or Property                              Information In Violation Of Law
       Not Physically Injured
                                                                            "Bodily injury" or "property damage" arising
         "Property damage" to "impaired property" or                        directly or indirectly out of any action or
         property that has not been physically injured,                     omission that violates or is alleged to violate:
         arising out of:
                                                                            (1) The Telephone Consumer Protection Act
         (1) A defect, deficiency, inadequacy or                                (TCPA), including any amendment of or
             dangerous condition in "your product" or                           addition to such law;
             "your work"; or
                                                                            (2) The CAN-SPAM Act of 2003, including any
         (2) A delay or failure by you or anyone acting                         amendment of or addition to such law;
             on your behalf to perform a contract or
             agreement in accordance with its terms.                        (3) The Fair Credit Reporting Act (FCRA), and
                                                                                any amendment of or addition to such law,
                                                                                including the Fair and Accurate Credit
                                                                                Transactions Act (FACTA); or




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          (4) Any federal, state or local statute,                  2.   Exclusions
              ordinance or regulation, other than the                    This insurance does not apply to:
              TCPA, CAN-SPAM Act of 2003 or FCRA
              and their amendments and additions, that                   a.    Knowing Violation Of Rights Of Another
              addresses, prohibits, or limits the printing,                    "Personal and advertising injury" caused by or
              dissemination,     disposal,       collecting,                   at the direction of the insured with the
              recording,      sending,        transmitting,                    knowledge that the act would violate the rights
              communicating or distribution of material                        of another and would inflict "personal and
              or information.                                                  advertising injury".
     Exclusions c. through n. do not apply to damage                     b.    Material     Published   With   Knowledge     Of
     by fire to premises while rented to you or                                Falsity
     temporarily occupied by you with permission of the                        "Personal and advertising injury" arising out of
     owner. A separate limit of insurance applies to this                      oral or written publication, in any manner, of
     coverage as described in Section III - Limits Of                          material, if done by or at the direction of the
     Insurance.                                                                insured with knowledge of its falsity.
COVERAGE B - PERSONAL AND ADVERTISING                                    c.    Material Published Prior To Policy Period
INJURY LIABILITY
                                                                               "Personal and advertising injury" arising out of
1.   Insuring Agreement                                                        oral or written publication, in any manner, of
     a.   We will pay those sums that the insured                              material whose first publication took place
          becomes legally obligated to pay as damages                          before the beginning of the policy period.
          because of "personal and advertising injury" to                d.    Criminal Acts
          which this insurance applies. We will have the
          right and duty to defend the insured against                         "Personal and advertising injury" arising out of
          any "suit" seeking those damages. However,                           a criminal act committed by or at the direction
          we will have no duty to defend the insured                           of the insured.
          against any "suit" seeking damages for                         e.    Contractual Liability
          "personal and advertising injury" to which this                      "Personal and advertising injury" for which the
          insurance does not apply. We may, at our                             insured has assumed liability in a contract or
          discretion, investigate any offense and settle                       agreement. This exclusion does not apply to
          any claim or "suit" that may result. But:                            liability for damages that the insured would
          (1) The amount we will pay for damages is                            have in the absence of the contract or
              limited as described in Section III - Limits                     agreement.
              Of Insurance; and                                          f.    Breach Of Contract
          (2) Our right and duty to defend end when we                         "Personal and advertising injury" arising out of
              have used up the applicable limit of                             a breach of contract, except an implied
              insurance in the payment of judgments or                         contract to use another's advertising idea in
              settlements under Coverages A or B or                            your "advertisement".
              medical expenses under Coverage C.
                                                                         g.    Quality Or Performance Of Goods - Failure
          No other obligation or liability to pay sums or                      To Conform To Statements
          perform acts or services is covered unless
          explicitly provided for under Supplementary                          "Personal and advertising injury" arising out of
          Payments - Coverages A and B.                                        the failure of goods, products or services to
                                                                               conform with any statement of quality or
     b.   This insurance applies to "personal and                              performance made in your "advertisement".
          advertising injury" caused by an offense arising
          out of your business but only if the offense was               h.    Wrong Description Of Prices
          committed in the "coverage territory" during                         "Personal and advertising injury" arising out of
          the policy period.                                                   the wrong description of the price of goods,
                                                                               products   or    services   stated     in  your
                                                                               "advertisement".




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    i.   Infringement   Of    Copyright,             Patent,            n.    Pollution-related
         Trademark Or Trade Secret                                            Any loss, cost or expense arising out of any:
         "Personal and advertising injury" arising out of                     (1) Request, demand, order or statutory or
         the    infringement    of    copyright,    patent,                       regulatory requirement that any insured or
         trademark, trade secret or other intellectual                            others test for, monitor, clean up, remove,
         property rights. Under this exclusion, such                              contain, treat, detoxify or neutralize, or in
         other intellectual property rights do not include                        any way respond to, or assess the effects
         the use of another's advertising idea in your                            of, "pollutants"; or
         "advertisement".
                                                                              (2) Claim or suit by or on behalf of a
         However, this exclusion does not apply to                                governmental authority for damages
         infringement, in your "advertisement", of                                because of testing for, monitoring,
         copyright, trade dress or slogan.                                        cleaning     up,    removing,   containing,
    j.   Insureds In     Media     And    Internet     Type                       treating, detoxifying or neutralizing, or in
         Businesses                                                               any way responding to, or assessing the
         "Personal and advertising injury" committed by                           effects of, "pollutants".
         an insured whose business is:                                  o.    War
         (1) Advertising, broadcasting, publishing or                         "Personal and advertising injury", however
             telecasting;                                                     caused, arising, directly or indirectly, out of:
         (2) Designing or determining content of web                          (1) War, including undeclared or civil war;
             sites for others; or                                             (2) Warlike action by a military force, including
         (3) An Internet search, access, content or                               action in hindering or defending against an
             service provider.                                                    actual or expected attack, by any
         However, this exclusion does not apply to                                government, sovereign or other authority
         Paragraphs 14.a., b. and c. of "personal and                             using military personnel or other agents;
         advertising injury" under the Definitions                                or
         section.                                                             (3) Insurrection, rebellion, revolution, usurped
         For the purposes of this exclusion, the placing                          power, or action taken by governmental
         of frames, borders or links, or advertising, for                         authority in hindering or defending against
         you or others anywhere on the Internet, is not                           any of these.
         by itself, considered      the   business of                   p.    Recording And Distribution Of Material Or
         advertising,  broadcasting,     publishing    or                     Information In Violation Of Law
         telecasting.                                                         "Personal and advertising injury" arising
    k.   Electronic Chatrooms Or Bulletin Boards                              directly or indirectly out of any action or
         "Personal and advertising injury" arising out of                     omission that violates or is alleged to violate:
         an electronic chatroom or bulletin board the                         (1) The Telephone Consumer Protection Act
         insured hosts, owns, or over which the insured                           (TCPA), including any amendment of or
         exercises control.                                                       addition to such law;
    l.   Unauthorized Use Of Another's Name Or                                (2) The CAN-SPAM Act of 2003, including any
         Product                                                                  amendment of or addition to such law;
         "Personal and advertising injury" arising out of                     (3) The Fair Credit Reporting Act (FCRA), and
         the unauthorized use of another's name or                                any amendment of or addition to such law,
         product in your e-mail address, domain name                              including the Fair and Accurate Credit
         or metatag, or any other similar tactics to                              Transactions Act (FACTA); or
         mislead another's potential customers.                               (4) Any federal, state or local statute,
    m. Pollution                                                                  ordinance or regulation, other than the
         "Personal and advertising injury" arising out of                         TCPA, CAN-SPAM Act of 2003 or FCRA
         the actual, alleged or threatened discharge,                             and their amendments and additions, that
         dispersal, seepage, migration, release or                                addresses, prohibits, or limits the printing,
         escape of "pollutants" at any time.                                      dissemination,     disposal,       collecting,
                                                                                  recording,      sending,        transmitting,
                                                                                  communicating or distribution of material
                                                                                  or information.




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COVERAGE C - MEDICAL PAYMENTS                                           d.    Workers' Compensation And Similar Laws
1.   Insuring Agreement                                                       To a person, whether or not an "employee" of
     a.   We will pay medical expenses as described                           any insured, if benefits for the "bodily injury"
          below for "bodily injury" caused by an                              are payable or must be provided under a
          accident:                                                           workers' compensation or disability benefits
                                                                              law or a similar law.
          (1) On premises you own or rent;
                                                                        e.    Athletics Activities
          (2) On ways next to premises you own or rent;
              or                                                              To a person injured while practicing,
                                                                              instructing or participating in any physical
          (3) Because of your operations;                                     exercises or games, sports, or athletic
          provided that:                                                      contests.
               (a) The accident takes place in the                      f.    Products-Completed Operations Hazard
                   "coverage territory" and during the                        Included within the       "products-completed
                   policy period;                                             operations hazard".
               (b) The expenses are incurred and                        g.    Coverage A Exclusions
                   reported to us within one year of the
                   date of the accident; and                                  Excluded under Coverage A.

               (c) The injured person submits to                   SUPPLEMENTARY PAYMENTS - COVERAGES A
                   examination, at our expense, by                 AND B
                   physicians of our choice as often as            1.   We will pay, with respect to any claim we
                   we reasonably require.                               investigate or settle, or any "suit" against an
     b.   We will make these payments regardless of                     insured we defend:
          fault. These payments will not exceed the                     a.    All expenses we incur.
          applicable limit of insurance. We will pay                    b.    Up to $250 for cost of bail bonds required
          reasonable expenses for:                                            because of accidents or traffic law violations
          (1) First aid administered at the time of an                        arising out of the use of any vehicle to which
              accident;                                                       the Bodily Injury Liability Coverage applies. We
          (2) Necessary medical, surgical, X-ray and                          do not have to furnish these bonds.
              dental   services, including prosthetic                   c.    The cost of bonds to release attachments, but
              devices; and                                                    only for bond amounts within the applicable
          (3) Necessary        ambulance,       hospital,                     limit of insurance. We do not have to furnish
              professional nursing and funeral services.                      these bonds.

2.   Exclusions                                                         d.    All reasonable expenses incurred by the
                                                                              insured at our request to assist us in the
     We will not pay expenses for "bodily injury":                            investigation or defense of the claim or "suit",
     a.   Any Insured                                                         including actual loss of earnings up to $250 a
          To any insured, except "volunteer workers".                         day because of time off from work.

     b.   Hired Person                                                  e.    All court costs taxed against the insured in the
                                                                              "suit". However, these payments do not
          To a person hired to do work for or on behalf                       include attorneys' fees or attorneys' expenses
          of any insured or a tenant of any insured.                          taxed against the insured.
     c.   Injury On Normally Occupied Premises                          f.    Prejudgment interest awarded against the
          To a person injured on that part of premises                        insured on that part of the judgment we pay. If
          you own or rent that the person normally                            we make an offer to pay the applicable limit of
          occupies.                                                           insurance, we will not pay any prejudgment
                                                                              interest based on that period of time after the
                                                                              offer.




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     g.   All interest on the full amount of any judgment                  So long as the above conditions are met,
          that accrues after entry of the judgment and                     attorneys' fees incurred by us in the defense of that
          before we have paid, offered to pay, or                          indemnitee, necessary litigation expenses incurred
          deposited in court the part of the judgment                      by us and necessary litigation expenses incurred
          that is within the applicable limit of insurance.                by the indemnitee at our request will be paid as
     These payments will not reduce the limits of                          Supplementary Payments. Notwithstanding the
     insurance.                                                            provisions of Paragraph 2.b.(2) of Section I -
                                                                           Coverage A - Bodily Injury And Property Damage
2.   If we defend an insured against a "suit" and an                       Liability, such payments will not be deemed to be
     indemnitee of the insured is also named as a party                    damages for "bodily injury" and "property damage"
     to the "suit", we will defend that indemnitee if all of               and will not reduce the limits of insurance.
     the following conditions are met:
                                                                           Our obligation to defend an insured's indemnitee
     a.   The "suit" against the indemnitee seeks                          and to pay for attorneys' fees and necessary
          damages for which the insured has assumed                        litigation expenses as Supplementary Payments
          the liability of the indemnitee in a contract or                 ends when we have used up the applicable limit of
          agreement that is an "insured contract";                         insurance in the payment of judgments or
     b.   This insurance applies       to     such     liability           settlements or the conditions set forth above, or
          assumed by the insured;                                          the terms of the agreement described in Paragraph
     c.   The obligation to defend, or the cost of the                     f. above, are no longer met.
          defense of, that indemnitee, has also been                  SECTION II - WHO IS AN INSURED
          assumed by the insured in the same "insured                 1.   If you are designated in the Declarations as:
          contract";
                                                                           a.    An individual, you and your spouse are
     d.   The allegations in the "suit" and the information                      insureds, but only with respect to the conduct
          we know about the "occurrence" are such that                           of a business of which you are the sole owner.
          no conflict appears to exist between the
          interests of the insured and the interests of the                b.    A partnership or joint venture, you are an
          indemnitee;                                                            insured. Your members, your partners, and
                                                                                 their spouses are also insureds, but only with
     e.   The indemnitee and the insured ask us to                               respect to the conduct of your business.
          conduct and control the defense of that
          indemnitee against such "suit" and agree that                    c.    A limited liability company, you are an insured.
          we can assign the same counsel to defend the                           Your members are also insureds, but only with
          insured and the indemnitee; and                                        respect to the conduct of your business. Your
                                                                                 managers are insureds, but only with respect
     f.   The indemnitee:                                                        to their duties as your managers.
          (1) Agrees in writing to:                                        d.    An organization other than a partnership, joint
              (a) Cooperate with us in the investigation,                        venture or limited liability company, you are an
                  settlement or defense of the "suit";                           insured. Your "executive officers" and directors
              (b) Immediately send us copies of any                              are insureds, but only with respect to their
                  demands, notices, summonses or                                 duties as your officers or directors. Your
                  legal papers received in connection                            stockholders are also insureds, but only with
                  with the "suit";                                               respect to their liability as stockholders.

              (c) Notify any other insurer whose                           e.    A trust, you are an insured. Your trustees are
                  coverage    is  available to the                               also insureds, but only with respect to their
                  indemnitee; and                                                duties as trustees.

              (d) Cooperate with us with respect to
                  coordinating     other       applicable
                  insurance available to the indemnitee;
                  and
          (2) Provides us with written authorization to:
              (a) Obtain records and other information
                  related to the "suit"; and
              (b) Conduct and control the defense of
                  the indemnitee in such "suit".




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2.   Each of the following is also an insured:                           c.    Any person or organization having proper
     a.   Your "volunteer workers" only while performing                       temporary custody of your property if you die,
          duties related to the conduct of your business,                      but only:
          or your "employees", other than either your                          (1) With respect to liability arising out of the
          "executive officers" (if you are an organization                         maintenance or use of that property; and
          other than a partnership, joint venture or                           (2) Until your legal representative has been
          limited liability company) or your managers (if                          appointed.
          you are a limited liability company), but only
          for acts within the scope of their employment                  d.    Your legal representative if you die, but only
          by you or while performing duties related to                         with respect to duties as such. That
          the conduct of your business. However, none                          representative will have all your rights and
          of these "employees" or "volunteer workers"                          duties under this Coverage Part.
          are insureds for:                                         3.   Any organization you newly acquire or form, other
          (1) "Bodily injury" or "personal and advertising               than a partnership, joint venture or limited liability
              injury":                                                   company, and over which you maintain ownership
                                                                         or majority interest, will qualify as a Named Insured
                (a) To you, to your partners or members                  if there is no other similar insurance available to
                    (if you are a partnership or joint                   that organization. However:
                    venture), to your members (if you are
                    a limited liability company), to a                   a.    Coverage under this provision is afforded only
                    co-"employee" while in the course of                       until the 90th day after you acquire or form the
                    his or her employment or performing                        organization or the end of the policy period,
                    duties related to the conduct of your                      whichever is earlier;
                    business, or to your other "volunteer                b.    Coverage A does not apply to "bodily injury" or
                    workers" while performing duties                           "property damage" that occurred before you
                    related to the conduct of your                             acquired or formed the organization; and
                    business;                                            c.    Coverage B does not apply to "personal and
                (b) To the spouse, child, parent, brother                      advertising injury" arising out of an offense
                    or sister of that co-"employee" or                         committed before you acquired or formed the
                    "volunteer worker" as a consequence                        organization.
                    of Paragraph (1)(a) above;                      No person or organization is an insured with respect to
                (c) For which there is any obligation to            the conduct of any current or past partnership, joint
                    share  damages       with  or    repay          venture or limited liability company that is not shown as
                    someone else who must pay damages               a Named Insured in the Declarations.
                    because of the injury described in              SECTION III - LIMITS OF INSURANCE
                    Paragraph (1)(a) or (b) above; or
                                                                    1.   The Limits of Insurance shown in the Declarations
                (d) Arising out of his or her providing or               and the rules below fix the most we will pay
                    failing to provide professional health               regardless of the number of:
                    care services.
                                                                         a.    Insureds;
          (2) "Property damage" to property:
                                                                         b.    Claims made or "suits" brought; or
                (a) Owned, occupied or used by;
                                                                         c.    Persons or organizations making claims or
                (b) Rented to, in the care, custody or                         bringing "suits".
                    control of, or over which physical
                    control is being exercised for any              2.   The General Aggregate Limit is the most we will
                    purpose by;                                          pay for the sum of:

                you, any of your "employees", "volunteer                 a.    Medical expenses under Coverage C;
                workers", any partner or member (if you                  b.    Damages under Coverage A, except damages
                are a partnership or joint venture), or any                    because of "bodily injury" or "property
                member (if you are a limited liability                         damage" included in the "products-completed
                company).                                                      operations hazard"; and
     b.   Any person (other than your "employee" or                      c.    Damages under Coverage B.
          "volunteer worker"), or any organization while
          acting as your real estate manager.




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3.   The Products-Completed Operations Aggregate                             (3) The nature and location of any injury or
     Limit is the most we will pay under Coverage A for                          damage arising out of the "occurrence" or
     damages because of "bodily injury" and "property                            offense.
     damage" included in the "products-completed                       b.    If a claim is made or "suit" is brought against
     operations hazard".                                                     any insured, you must:
4.   Subject to Paragraph 2. above, the Personal And                         (1) Immediately record the specifics of the
     Advertising Injury Limit is the most we will pay                            claim or "suit" and the date received; and
     under Coverage B for the sum of all damages
     because of all "personal and advertising injury"                        (2) Notify us as soon as practicable.
     sustained by any one person or organization.                            You must see to it that we receive written
5.   Subject to Paragraph 2. or 3. above, whichever                          notice of the claim or "suit" as soon as
     applies, the Each Occurrence Limit is the most we                       practicable.
     will pay for the sum of:                                          c.    You and any other involved insured must:
     a.   Damages under Coverage A; and                                      (1) Immediately send us copies of any
     b.   Medical expenses under Coverage C                                      demands, notices, summonses or legal
                                                                                 papers received in connection with the
          because of all "bodily injury" and "property                           claim or "suit";
          damage" arising out of any one "occurrence".
                                                                             (2) Authorize us to obtain records and other
6.   Subject to Paragraph 5. above, the Damage To                                information;
     Premises Rented To You Limit is the most we will
     pay under Coverage A for damages because of                             (3) Cooperate with us in the investigation or
     "property damage" to any one premises, while                                settlement of the claim or defense against
     rented to you, or in the case of damage by fire,                            the "suit"; and
     while rented to you or temporarily occupied by you                      (4) Assist us, upon our request, in the
     with permission of the owner.                                               enforcement of any right against any
7.   Subject to Paragraph 5. above, the Medical                                  person or organization which may be
     Expense Limit is the most we will pay under                                 liable to the insured because of injury or
     Coverage C for all medical expenses because of                              damage to which this insurance may also
     "bodily injury" sustained by any one person.                                apply.

The Limits of Insurance of this Coverage Part apply                    d.    No insured will, except at that insured's own
separately to each consecutive annual period and to                          cost, voluntarily make a payment, assume any
any remaining period of less than 12 months, starting                        obligation, or incur any expense, other than for
with the beginning of the policy period shown in the                         first aid, without our consent.
Declarations, unless the policy period is extended after          3.   Legal Action Against Us
issuance for an additional period of less than 12                      No person or organization has a right under this
months. In that case, the additional period will be                    Coverage Part:
deemed part of the last preceding period for purposes
of determining the Limits of Insurance.                                a.    To join us as a party or otherwise bring us into
                                                                             a "suit" asking for damages from an insured; or
SECTION IV - COMMERCIAL GENERAL LIABILITY
CONDITIONS                                                             b.    To sue us on this Coverage Part unless all of its
                                                                             terms have been fully complied with.
1.   Bankruptcy
                                                                       A person or organization may sue us to recover on
     Bankruptcy or insolvency of the insured or of the                 an agreed settlement or on a final judgment
     insured's estate will not relieve us of our                       against an insured; but we will not be liable for
     obligations under this Coverage Part.                             damages that are not payable under the terms of
2.   Duties In The Event Of Occurrence, Offense,                       this Coverage Part or that are in excess of the
     Claim Or Suit                                                     applicable limit of insurance. An agreed settlement
     a.   You must see to it that we are notified as soon              means a settlement and release of liability signed
          as practicable of an "occurrence" or an offense              by us, the insured and the claimant or the
          which may result in a claim. To the extent                   claimant's legal representative.
          possible, notice should include:
          (1) How, when and where the "occurrence" or
              offense took place;
          (2) The names and addresses of any injured
              persons and witnesses; and




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4.   Other Insurance                                                           (3) When this insurance is excess over other
     If other valid and collectible insurance is available                         insurance, we will pay only our share of
     to the insured for a loss we cover under Coverages                            the amount of the loss, if any, that exceeds
     A or B of this Coverage Part, our obligations are                             the sum of:
     limited as follows:                                                            (a) The total amount that all such other
     a.   Primary Insurance                                                             insurance would pay for the loss in the
                                                                                        absence of this insurance; and
          This insurance is primary except when
          Paragraph b. below applies. If this insurance is                          (b) The total of all deductible and
          primary, our obligations are not affected                                     self-insured amounts under all that
          unless any of the other insurance is also                                     other insurance.
          primary. Then, we will share with all that other                     (4) We will share the remaining loss, if any,
          insurance by the method described in                                     with any other insurance that is not
          Paragraph c. below.                                                      described in this Excess Insurance
     b.   Excess Insurance                                                         provision and was not bought specifically
                                                                                   to apply in excess of the Limits of
          (1) This insurance is excess over:                                       Insurance shown in the Declarations of
                (a) Any of the other insurance, whether                            this Coverage Part.
                    primary, excess, contingent or on any                c.    Method Of Sharing
                    other basis:
                                                                               If all of the other insurance permits
                   (i) That is Fire, Extended Coverage,                        contribution by equal shares, we will follow this
                       Builder's Risk, Installation Risk or                    method also. Under this approach each
                       similar coverage for "your work";                       insurer contributes equal amounts until it has
                   (ii) That is Fire insurance for premises                    paid its applicable limit of insurance or none of
                        rented to you or temporarily                           the loss remains, whichever comes first.
                        occupied by you with permission                        If any of the other insurance does not permit
                        of the owner;                                          contribution by equal shares, we will contribute
                   (iii) That is insurance purchased by                        by limits. Under this method, each insurer's
                         you to cover your liability as a                      share is based on the ratio of its applicable
                         tenant for "property damage" to                       limit of insurance to the total applicable limits
                         premises    rented to you     or                      of insurance of all insurers.
                         temporarily occupied by you with           5.   Premium Audit
                         permission of the owner; or
                                                                         a.    We will compute all premiums for this
                   (iv) If the loss arises out of the                          Coverage Part in accordance with our rules
                        maintenance or use of aircraft,                        and rates.
                        "autos" or watercraft to the extent
                        not subject to Exclusion g. of                   b.    Premium shown in this Coverage Part as
                        Section I - Coverage A - Bodily                        advance premium is a deposit premium only.
                        Injury And Property Damage                             At the close of each audit period we will
                        Liability.                                             compute the earned premium for that period
                                                                               and send notice to the first Named Insured.
                (b) Any other primary insurance available                      The due date for audit and retrospective
                    to you covering liability for damages                      premiums is the date shown as the due date
                    arising out of the premises or                             on the bill. If the sum of the advance and audit
                    operations, or the products and                            premiums paid for the policy period is greater
                    completed operations, for which you                        than the earned premium, we will return the
                    have been added as an additional                           excess to the first Named Insured.
                    insured.
                                                                         c.    The first Named Insured must keep records of
          (2) When this insurance is excess, we will                           the information we need for premium
              have no duty under Coverages A or B to                           computation, and send us copies at such
              defend the insured against any "suit" if any                     times as we may request.
              other insurer has a duty to defend the
              insured against that "suit". If no other              6.   Representations
              insurer defends, we will undertake to do                   By accepting this policy, you agree:
              so, but we will be entitled to the insured's               a.    The statements in the         Declarations    are
              rights against all those other insurers.                         accurate and complete;




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     b.   Those    statements    are    based           upon              However, "auto"        does    not   include    "mobile
          representations you made to us; and                             equipment".
     c.   We have issued this policy in reliance upon                3.   "Bodily injury" means bodily injury, sickness or
          your representations.                                           disease sustained by a person, including death
7.   Separation Of Insureds                                               resulting from any of these at any time.

     Except with respect to the Limits of Insurance, and             4.   "Coverage territory" means:
     any rights or duties specifically assigned in this                   a.    The United States of America (including its
     Coverage Part to the first Named Insured, this                             territories and possessions), Puerto Rico and
     insurance applies:                                                         Canada;
     a.   As if each Named Insured were the only                          b.    International waters or airspace, but only if the
          Named Insured; and                                                    injury or damage occurs in the course of travel
     b.   Separately to each insured against whom                               or transportation between any places included
          claim is made or "suit" is brought.                                   in Paragraph a. above; or

8.   Transfer Of Rights Of Recovery Against Others                        c.    All other parts of the world if the injury or
     To Us                                                                      damage arises out of:

     If the insured has rights to recover all or part of any                    (1) Goods or products made or sold by you in
     payment we have made under this Coverage Part,                                 the territory described in Paragraph a.
     those rights are transferred to us. The insured must                           above;
     do nothing after loss to impair them. At our                               (2) The activities of a person whose home is in
     request, the insured will bring "suit" or transfer                             the territory described in Paragraph a.
     those rights to us and help us enforce them.                                   above, but is away for a short time on your
9.   When We Do Not Renew                                                           business; or

     If we decide not to renew this Coverage Part, we                           (3) "Personal and advertising injury" offenses
     will mail or deliver to the first Named Insured                                that take place through the Internet or
     shown in the Declarations written notice of the                                similar     electronic     means        of
     nonrenewal not less than 30 days before the                                    communication;
     expiration date.                                                     provided the insured's responsibility to pay
     If notice is mailed, proof of mailing will be sufficient             damages is determined in a "suit" on the merits, in
     proof of notice.                                                     the territory described in Paragraph a. above or in
                                                                          a settlement we agree to.
SECTION V - DEFINITIONS
                                                                     5.   "Employee" includes a "leased worker". "Employee"
1.   "Advertisement" means a notice that is broadcast                     does not include a "temporary worker".
     or published to the general public or specific
     market segments about your goods, products or                   6.   "Executive officer" means a person holding any of
     services for the purpose of attracting customers or                  the officer positions created by your charter,
     supporters. For the purposes of this definition:                     constitution, bylaws or any other similar governing
                                                                          document.
     a.   Notices that are published include material
          placed on the Internet or on similar electronic            7.   "Hostile fire"  means one      which becomes
          means of communication; and                                     uncontrollable or breaks out from where it was
                                                                          intended to be.
     b.   Regarding web sites, only that part of a web
          site that is about your goods, products or                 8.   "Impaired property" means tangible property, other
          services for the purposes of attracting                         than "your product" or "your work", that cannot be
          customers or supporters is considered an                        used or is less useful because:
          advertisement.                                                  a.    It incorporates "your product" or "your work"
2.   "Auto" means:                                                              that is known or thought to be defective,
                                                                                deficient, inadequate or dangerous; or
     a.   A land motor vehicle, trailer or semitrailer
          designed for travel on public roads, including                  b.    You have failed to fulfill the terms of a contract
          any attached machinery or equipment; or                               or agreement;

     b.   Any other land vehicle that is subject to a                     if such property can be restored to use by the
          compulsory or financial responsibility law or                   repair, replacement, adjustment or removal of
          other motor vehicle insurance law where it is                   "your product" or "your work" or your fulfilling the
          licensed or principally garaged.                                terms of the contract or agreement.




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9.   "Insured contract" means:                                     10. "Leased worker" means a person leased to you by
     a.   A contract for a lease of premises. However,                 a labor leasing firm under an agreement between
          that portion of the contract for a lease of                  you and the labor leasing firm, to perform duties
          premises that indemnifies any person or                      related to the conduct of your business. "Leased
          organization for damage by fire to premises                  worker" does not include a "temporary worker".
          while rented to you or temporarily occupied by           11. "Loading or unloading" means the handling of
          you with permission of the owner is not an                   property:
          "insured contract";                                           a.    After it is moved from the place where it is
     b.   A sidetrack agreement;                                              accepted for movement into or onto an
     c.   Any easement or license agreement, except in                        aircraft, watercraft or "auto";
          connection with construction or demolition                    b.    While it is in or on an aircraft, watercraft or
          operations on or within 50 feet of a railroad;                      "auto"; or
     d.   An obligation, as required by ordinance, to                   c.    While it is being moved from an aircraft,
          indemnify a municipality, except in connection                      watercraft or "auto" to the place where it is
          with work for a municipality;                                       finally delivered;
     e.   An elevator maintenance agreement;                            but "loading or unloading" does not include the
     f.   That part of any other contract or agreement                  movement of property by means of a mechanical
          pertaining to your business (including an                     device, other than a hand truck, that is not
          indemnification of a municipality in connection               attached to the aircraft, watercraft or "auto".
          with work performed for a municipality) under            12. "Mobile equipment" means any of the following
          which you assume the tort liability of another               types of land vehicles, including any attached
          party to pay for "bodily injury" or "property                machinery or equipment:
          damage" to a third person or organization. Tort               a.    Bulldozers, farm machinery, forklifts and other
          liability means a liability that would be imposed                   vehicles designed for use principally off public
          by law in the absence of any contract or                            roads;
          agreement.
                                                                        b.    Vehicles maintained for use solely on or next
          Paragraph f. does not include that part of any                      to premises you own or rent;
          contract or agreement:
                                                                        c.    Vehicles that travel on crawler treads;
          (1) That indemnifies a railroad for "bodily
              injury" or "property damage" arising out of               d.    Vehicles, whether self-propelled or not,
              construction or demolition operations,                          maintained primarily to provide mobility to
              within 50 feet of any railroad property and                     permanently mounted:
              affecting any railroad bridge or trestle,                       (1) Power cranes, shovels, loaders, diggers or
              tracks, road-beds, tunnel, underpass or                             drills; or
              crossing;                                                       (2) Road     construction or    resurfacing
          (2) That indemnifies an architect, engineer or                          equipment such as graders, scrapers or
              surveyor for injury or damage arising out                           rollers;
              of:                                                       e.    Vehicles not described in Paragraph a., b., c.
                (a) Preparing, approving, or failing to                       or d. above that are not self-propelled and are
                    prepare or approve, maps, shop                            maintained primarily to provide mobility to
                    drawings, opinions, reports, surveys,                     permanently attached equipment of the
                    field orders,   change     orders  or                     following types:
                    drawings and specifications; or                           (1) Air compressors, pumps and generators,
                (b) Giving directions or instructions, or                         including spraying, welding, building
                    failing to give them, if that is the                          cleaning, geophysical exploration, lighting
                    primary cause of the injury or damage;                        and well servicing equipment; or
                    or                                                        (2) Cherry pickers and similar devices used to
          (3) Under which the insured, if an architect,                           raise or lower workers;
              engineer or surveyor, assumes liability for               f.    Vehicles not described in Paragraph a., b., c.
              an injury or damage arising out of the                          or d. above maintained primarily for purposes
              insured's rendering or failure to render                        other than the transportation of persons or
              professional services, including those                          cargo.
              listed in (2) above and supervisory,
              inspection, architectural or engineering
              activities.




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         However, self-propelled vehicles with the               16. "Products-completed operations hazard":
         following types of permanently attached                      a.    Includes all "bodily injury" and "property
         equipment are not "mobile equipment" but will                      damage" occurring away from premises you
         be considered "autos":                                             own or rent and arising out of "your product" or
         (1) Equipment designed primarily for:                              "your work" except:
             (a) Snow removal;                                              (1) Products that are still in your physical
             (b) Road      maintenance,      but       not                      possession; or
                 construction or resurfacing; or                            (2) Work that has not yet been completed or
             (c) Street cleaning;                                               abandoned. However, "your work" will be
                                                                                deemed completed at the earliest of the
         (2) Cherry pickers and similar devices                                 following times:
             mounted on automobile or truck chassis
             and used to raise or lower workers; and                             (a) When all of the work called for in your
                                                                                     contract has been completed.
         (3) Air compressors, pumps and generators,
             including spraying, welding, building                               (b) When all of the work to be done at the
             cleaning, geophysical exploration, lighting                             job site has been completed if your
             and well servicing equipment.                                           contract calls for work at more than
                                                                                     one job site.
    However, "mobile equipment" does not include any
    land vehicles that are subject to a compulsory or                            (c) When that part of the work done at a
    financial responsibility law or other motor vehicle                              job site has been put to its intended
    insurance law where it is licensed or principally                                use by any person or organization
    garaged. Land vehicles subject to a compulsory or                                other than another contractor or
    financial responsibility law or other motor vehicle                              subcontractor working on the same
    insurance law are considered "autos".                                            project.

13. "Occurrence" means an accident, including                                    Work that may need service, maintenance,
    continuous or repeated exposure to substantially                             correction, repair or replacement, but
    the same general harmful conditions.                                         which is otherwise complete, will be
                                                                                 treated as completed.
14. "Personal and advertising injury" means injury,
    including consequential "bodily injury", arising out              b.    Does not include "bodily injury" or "property
    of one or more of the following offenses:                               damage" arising out of:

    a.   False arrest, detention or imprisonment;                           (1) The transportation of property, unless the
                                                                                injury or damage arises out of a condition
    b.   Malicious prosecution;                                                 in or on a vehicle not owned or operated
    c.   The wrongful eviction from, wrongful entry                             by you, and that condition was created by
         into, or invasion of the right of private                              the "loading or unloading" of that vehicle
         occupancy of a room, dwelling or premises                              by any insured;
         that a person occupies, committed by or on                         (2) The existence of tools, uninstalled
         behalf of its owner, landlord or lessor;                               equipment or abandoned or unused
    d.   Oral or written publication, in any manner, of                         materials; or
         material that slanders or libels a person or                       (3) Products or operations for which the
         organization or disparages a person's or                               classification, listed in the Declarations or
         organization's goods, products or services;                            in  a    policy Schedule,        states that
    e.   Oral or written publication, in any manner, of                         products-completed          operations    are
         material that violates a person's right of                             subject to the General Aggregate Limit.
         privacy;                                                17. "Property damage" means:
    f.   The use of another's advertising idea in your                a.    Physical injury to tangible property, including
         "advertisement"; or                                                all resulting loss of use of that property. All
    g.   Infringing upon another's copyright,       trade                   such loss of use shall be deemed to occur at
         dress or slogan in your "advertisement".                           the time of the physical injury that caused it; or
15. "Pollutants" mean any solid, liquid, gaseous or                   b.    Loss of use of tangible property that is not
    thermal irritant or contaminant, including smoke,                       physically injured. All such loss of use shall be
    vapor, soot, fumes, acids, alkalis, chemicals and                       deemed to occur at the time of the
    waste. Waste includes materials to be recycled,                         "occurrence" that caused it.
    reconditioned or reclaimed.                                       For the purposes of this insurance, electronic data
                                                                      is not tangible property.




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    As used in this definition, electronic data means                   b.    Includes:
    information, facts or programs stored as or on,                           (1) Warranties or representations made at any
    created or used on, or transmitted to or from                                 time with respect to the fitness, quality,
    computer software,        including systems and                               durability, performance or use of "your
    applications software, hard or floppy disks,                                  product"; and
    CD-ROMs, tapes, drives, cells, data processing
    devices or any other media which are used with                            (2) The providing of or failure to provide
    electronically controlled equipment.                                          warnings or instructions.

18. "Suit" means a civil proceeding in which damages                    c.    Does not include vending machines or other
    because of "bodily injury", "property damage" or                          property rented to or located for the use of
    "personal and advertising injury" to which this                           others but not sold.
    insurance applies are alleged. "Suit" includes:                22. "Your work":
    a.   An arbitration proceeding in which such                        a.    Means:
         damages are claimed and to which the insured                         (1) Work or operations performed by you or
         must submit or does submit with our consent;                             on your behalf; and
         or
                                                                              (2) Materials, parts or equipment furnished in
    b.   Any other alternative dispute resolution                                 connection with such work or operations.
         proceeding in which such damages are
         claimed and to which the insured submits with                  b.    Includes:
         our consent.                                                         (1) Warranties or representations made at any
19. "Temporary worker" means a person who is                                      time with respect to the fitness, quality,
    furnished to you to substitute for a permanent                                durability, performance or use of "your
    "employee" on leave or to meet seasonal or                                    work"; and
    short-term workload conditions.                                           (2) The providing of or failure to provide
20. "Volunteer worker" means a person who is not your                             warnings or instructions.
    "employee", and who donates his or her work and
    acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone
    else for their work performed for you.
21. "Your product":
    a.   Means:
         (1) Any goods or products, other than real
             property, manufactured, sold, handled,
             distributed or disposed of by:
                (a) You;
                (b) Others trading under your name; or
                (c) A person or organization whose
                    business or assets you have acquired;
                    and
         (2) Containers (other than vehicles), materials,
             parts   or    equipment     furnished     in
             connection with such goods or products.




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                                                                                           COMMERCIAL GENERAL LIABILITY
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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                        EXCLUSION - ACCESS OR DISCLOSURE
                  OF CONFIDENTIAL OR PERSONAL INFORMATION AND
                   DATA-RELATED LIABILITY - LIMITED BODILY INJURY
                            EXCEPTION NOT INCLUDED
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART



A. Exclusion 2.p. of Section I - Coverage A - Bodily               B.   The following is added to Paragraph 2. Exclusions
   Injury And Property Damage Liability is replaced                     of Section I - Coverage B - Personal And
   by the following:                                                    Advertising Injury Liability:
    2.   Exclusions                                                     2.    Exclusions
         This insurance does not apply to:                                    This insurance does not apply to:
         p.   Access Or Disclosure Of Confidential Or                         Access Or Disclosure Of Confidential Or
              Personal Information And Data-related                           Personal Information
              Liability                                                       "Personal and advertising injury" arising out of
              Damages arising out of:                                         any access to or disclosure of any person's or
              (1) Any access to or disclosure of any                          organization's    confidential   or    personal
                  person's or organization's confidential                     information, including patents, trade secrets,
                  or personal information, including                          processing methods, customer lists, financial
                  patents, trade secrets, processing                          information, credit card information, health
                  methods, customer lists, financial                          information or any other type of nonpublic
                  information, credit card information,                       information.
                  health information or any other type of                     This exclusion applies even if damages are
                  nonpublic information; or                                   claimed    for   notification  costs,  credit
              (2) The loss of, loss of use of, damage to,                     monitoring expenses, forensic expenses,
                  corruption of, inability to access, or                      public relations expenses or any other loss,
                  inability to manipulate electronic data.                    cost or expense incurred by you or others
                                                                              arising out of any access to or disclosure of
              This exclusion applies even if damages are                      any person's or organization's confidential or
              claimed for notification costs, credit                          personal information.
              monitoring expenses, forensic expenses,
              public relations expenses or any other
              loss, cost or expense incurred by you or
              others arising out of that which is
              described in Paragraph (1) or (2) above.
              As used in this exclusion, electronic data
              means information, facts or programs
              stored as or on, created or used on, or
              transmitted to or from computer software,
              including    systems     and    applications
              software, hard or floppy disks, CD-ROMs,
              tapes, drives, cells, data processing
              devices or any other media which are used
              with electronically controlled equipment.




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                                                                                              COMMERCIAL GENERAL LIABILITY
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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                EXCLUSION - UNMANNED AIRCRAFT
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A.   Exclusion 2.g. Aircraft, Auto Or Watercraft under                                      This Paragraph g.(2) applies even if
     Section I - Coverage A - Bodily Injury And                                             the claims against any insured allege
     Property Damage Liability is replaced by the                                           negligence or other wrongdoing in the
     following:                                                                             supervision,     hiring,   employment,
     2.   Exclusions                                                                        training or monitoring of others by that
                                                                                            insured, if the "occurrence" which
          This insurance does not apply to:                                                 caused the "bodily injury" or "property
          g.   Aircraft, Auto Or Watercraft                                                 damage" involved the ownership,
               (1) Unmanned Aircraft                                                        maintenance, use or entrustment to
                                                                                            others of any aircraft (other than
                   "Bodily injury" or "property damage"                                     "unmanned      aircraft"),  "auto"    or
                   arising   out   of   the   ownership,                                    watercraft that is owned or operated
                   maintenance, use or entrustment to                                       by or rented or loaned to any insured.
                   others of any aircraft that is an
                   "unmanned aircraft". Use includes                                        This Paragraph g.(2) does not apply
                   operation and "loading or unloading".                                    to:

                   This Paragraph g.(1) applies even if                                     (a) A watercraft while ashore         on
                   the claims against any insured allege                                        premises you own or rent;
                   negligence or other wrongdoing in the                                    (b) A watercraft you do not own that
                   supervision,    hiring,    employment,                                       is:
                   training or monitoring of others by that                                     (i) Less than 26 feet long; and
                   insured, if the "occurrence" which
                   caused the "bodily injury" or "property                                      (ii) Not being used to carry
                   damage" involved the ownership,                                                   persons or property for a
                   maintenance, use or entrustment to                                                charge;
                   others of any aircraft that is an                                        (c) Parking an "auto" on, or on the
                   "unmanned aircraft".                                                         ways next to, premises you own
               (2) Aircraft (Other Than Unmanned                                                or rent, provided the "auto" is not
                   Aircraft), Auto Or Watercraft                                                owned by or rented or loaned to
                                                                                                you or the insured;
                   "Bodily injury" or "property damage"
                   arising   out   of    the  ownership,                                    (d) Liability assumed        under any
                   maintenance, use or entrustment to                                           "insured     contract"     for the
                   others of any aircraft (other than                                           ownership, maintenance or use of
                   "unmanned      aircraft"), "auto"  or                                        aircraft or watercraft; or
                   watercraft owned or operated by or
                   rented or loaned to any insured. Use
                   includes operation and "loading or
                   unloading".




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                  (e) "Bodily  injury"   or       "property                   This exclusion applies even if the claims
                      damage" arising out of:                                 against any insured allege negligence or other
                       (i) The operation of machinery or                      wrongdoing     in     the   supervision,  hiring,
                           equipment that is attached to,                     employment, training or monitoring of others
                           or part of, a land vehicle that                    by that insured, if the offense which caused the
                           would     qualify   under   the                    "personal and advertising injury" involved the
                           definition       of     "mobile                    ownership, maintenance, use or entrustment
                           equipment" if it were not                          to others of any aircraft that is an "unmanned
                           subject to a compulsory or                         aircraft".
                           financial responsibility law or                    This exclusion does not apply to:
                           other motor vehicle insurance                      a.   The use of another's advertising idea in
                           law where it is licensed or                             your "advertisement"; or
                           principally garaged; or
                                                                              b.   Infringing upon another's copyright, trade
                       (ii) The operation of any of the                            dress or slogan in your "advertisement".
                            machinery or equipment listed
                            in Paragraph f.(2) or f.(3) of          C. The following definition is added to the Definitions
                            the  definition  of   "mobile              section:
                            equipment".                                  "Unmanned aircraft" means an aircraft that is not:
B.   The following exclusion is added to Paragraph 2.                    1.   Designed;
     Exclusions of Coverage B - Personal And                             2.   Manufactured; or
     Advertising Injury Liability:
                                                                         3.   Modified after manufacture;
     2.   Exclusions
                                                                         to be controlled directly by a person from within or
          This insurance does not apply to:                              on the aircraft.
          Unmanned Aircraft
          "Personal and advertising injury" arising out of
          the    ownership,    maintenance,      use    or
          entrustment to others of any aircraft that is an
          "unmanned aircraft". Use includes operation
          and "loading or unloading".




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                                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                                           CG 21 47 12 07


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

A.   The following exclusion is added to Paragraph 2.,              B.   The following exclusion is added to Paragraph 2.,
     Exclusions of Section I - Coverage A - Bodily                       Exclusions of Section I - Coverage B - Personal
     Injury And Property Damage Liability:                               And Advertising Injury Liability:
     This insurance does not apply to:                                   This insurance does not apply to:
     "Bodily injury" to:                                                 "Personal and advertising injury" to:
     (1) A person arising out of any:                                    (1) A person arising out of any:
         (a) Refusal to employ that person;                                   (a) Refusal to employ that person;
         (b) Termination of that person's employment;                         (b) Termination of that person's employment;
             or                                                                   or
         (c) Employment-related practices, policies,                          (c) Employment-related practices, policies,
             acts or omissions, such as coercion,                                 acts or omissions, such as coercion,
             demotion,    evaluation,     reassignment,                           demotion,    evaluation,     reassignment,
             discipline,   defamation,      harassment,                           discipline,   defamation,      harassment,
             humiliation, discrimination or malicious                             humiliation, discrimination or malicious
             prosecution directed at that person; or                              prosecution directed at that person; or
     (2) The spouse, child, parent, brother or sister of                 (2) The spouse, child, parent, brother or sister of
         that person as a consequence of "bodily injury"                     that person as a consequence of "personal
         to that person at whom any of the                                   and advertising injury" to that person at whom
         employment-related practices described in                           any of the employment-related practices
         Paragraphs (a), (b), or (c) above is directed.                      described in Paragraphs (a), (b), or (c) above
     This exclusion applies:                                                 is directed.

     (1) Whether the injury-causing event described in                   This exclusion applies:
         Paragraphs (a), (b) or (c) above occurs before                  (1) Whether the injury-causing event described in
         employment, during employment or after                              Paragraphs (a), (b) or (c) above occurs before
         employment of that person;                                          employment, during employment or after
     (2) Whether the insured may be liable as an                             employment of that person;
         employer or in any other capacity; and                          (2) Whether the insured may be liable as an
     (3) To any obligation to share damages with or                          employer or in any other capacity; and
         repay someone else who must pay damages                         (3) To any obligation to share damages with or
         because of the injury.                                              repay someone else who must pay damages
                                                                             because of the injury.




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                                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                                          CG 21 73 01 15


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
     RAILROAD PROTECTIVE LIABILITY COVERAGE PART
     UNDERGROUND STORAGE TANK POLICY


A.   The following exclusion is added:                                   2.   "Certified act of terrorism" means an act that is
     This insurance does not apply to:                                        certified by the Secretary of the Treasury, in
                                                                              accordance with the provisions of the federal
     TERRORISM                                                                Terrrorism Risk Insurance Act, to be an act of
     "Any injury or damage" arising, directly             or                  terrorism pursuant to such Act. The criteria
     indirectly, out of a "certified act of terrorism".                       contained in the Terrorism Risk Insurance Act
                                                                              for a "certified act of terrorism" include the
B.   The following definitions are added:                                     following:
     1.   For the purposes of this endorsement, "any                          a.     The act resulted in insured losses in
          injury or damage" means any injury or damage                               excess of $5 million in the aggregate,
          covered under any Coverage Part to which                                   attributable to all types of insurance
          this endorsement is applicable, and includes                               subject to the Terrorism Risk Insurance
          but is not limited to "bodily injury", "property                           Act; and
          damage", "personal and advertising injury",
          "injury" or "environmental damage" as may be                        b.     The act is a violent act or an act that is
          defined in any applicable Coverage Part.                                   dangerous to human life, property or
                                                                                     infrastructure and is committed by an
                                                                                     individual or individuals as part of an effort
                                                                                     to coerce the civilian population of the
                                                                                     United States or to influence the policy or
                                                                                     affect the conduct of the United States
                                                                                     Government by coercion.
                                                                   C. The terms and limitations of any terrorism
                                                                      exclusion, or the inapplicability or omission of a
                                                                      terrorism exclusion, do not serve to create
                                                                      coverage for injury or damage that is otherwise
                                                                      excluded under this Coverage Part.




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                                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                                           CG 21 96 03 05


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                        SILICA OR SILICA-RELATED DUST EXCLUSION
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A.   The following exclusion is added to Paragraph 2.,              B.   The following exclusion is added to Paragraph 2.,
     Exclusions of Section I - Coverage A - Bodily                       Exclusions of Section I - Coverage B - Personal
     Injury And Property Damage Liability:                               And Advertising Injury Liability:
     2.   Exclusions                                                     2.   Exclusions
          This insurance does not apply to:                                   This insurance does not apply to:
          Silica Or Silica-Related Dust                                       Silica Or Silica-Related Dust
          a.   "Bodily injury" arising, in whole or in part,                  a.      "Personal and advertising injury" arising, in
               out of the actual, alleged, threatened or                              whole or in part, out of the actual, alleged,
               suspected inhalation of, or ingestion of,                              threatened or suspected inhalation of,
               "silica" or "silica-related dust".                                     ingestion of, contact with, exposure to,
          b.   "Property damage" arising, in whole or in                              existence of, or presence of, "silica" or
               part, out of the actual, alleged, threatened                           "silica-related dust".
               or suspected contact with, exposure to,                        b.      Any loss, cost or expense arising, in whole
               existence of, or presence of, "silica" or                              or in part, out of the abating, testing for,
               "silica-related dust".                                                 monitoring,    cleaning     up,  removing,
          c.   Any loss, cost or expense arising, in whole                            containing,       treating,     detoxifying,
               or in part, out of the abating, testing for,                           neutralizing, remediating or disposing of,
               monitoring,    cleaning     up,  removing,                             or in any way responding to or assessing
               containing,       treating,     detoxifying,                           the effects of, "silica" or "silica-related
               neutralizing, remediating or disposing of,                             dust", by any insured or by any other
               or in any way responding to or assessing                               person or entity.
               the effects of, "silica" or "silica-related
                                                                    C. The following definitions            are   added    to   the
               dust", by any insured or by any other
                                                                       Definitions Section:
               person or entity.
                                                                         1.   "Silica" means silicon dioxide (occurring in
                                                                              crystalline, amorphous and impure forms),
                                                                              silica particles, silica dust or silica compounds.
                                                                         2.   "Silica-related dust" means a mixture              or
                                                                              combination of silica and other dust               or
                                                                              particles.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            NUCLEAR ENERGY LIABILITY EXCLUSION
                                      ENDORSEMENT
                                                      (Broad Form)

This endorsement modifies insurance provided under the following:

     COMMERCIAL AUTOMOBILE COVERAGE PART
     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     FARM COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
     RAILROAD PROTECTIVE LIABILITY COVERAGE PART
     UNDERGROUND STORAGE TANK POLICY

1.   The insurance does not apply:                                       C. Under any Liability Coverage, to "bodily injury"
     A.   Under any Liability Coverage, to "bodily injury"                  or   "property    damage"     resulting    from
          or "property damage":                                             "hazardous properties" of "nuclear material", if:

          (1) With respect to which an "insured" under                        (1) The "nuclear material" (a) is at any
              the policy is also an insured under a                               "nuclear facility" owned by, or operated by
              nuclear energy liability policy issued by                           or on behalf of, an "insured" or (b) has
              Nuclear     Energy    Liability     Insurance                       been discharged or dispersed therefrom;
              Association,   Mutual     Atomic        Energy                  (2) The "nuclear material" is contained in
              Liability Underwriters, Nuclear Insurance                           "spent fuel" or "waste" at any time
              Association of Canada or any of their                               possessed, handled, used, processed,
              successors, or would be an insured under                            stored, transported or disposed of, by or
              any such policy but for its termination                             on behalf of an "insured"; or
              upon exhaustion of its limit of liability; or                   (3) The "bodily injury" or "property damage"
          (2) Resulting from the "hazardous properties"                           arises out of the furnishing by an "insured"
              of "nuclear material" and with respect to                           of services, materials, parts or equipment
              which (a) any person or organization is                             in     connection     with    the   planning,
              required to maintain financial protection                           construction, maintenance, operation or
              pursuant to the Atomic Energy Act of                                use of any "nuclear facility", but if such
              1954, or any law amendatory thereof, or                             facility is located within the United States
              (b) the "insured" is, or had this policy not                        of America, its territories or possessions or
              been issued would be, entitled to                                   Canada, this exclusion (3) applies only to
              indemnity from the United States of                                 "property damage" to such "nuclear
              America, or any agency thereof, under any                           facility" and any property thereat.
              agreement entered into by the United
              States of America, or any agency thereof,             2.   As used in this endorsement:
              with any person or organization.                           "Hazardous properties" includes radioactive, toxic
     B.   Under any Medical Payments coverage, to                        or explosive properties.
          expenses incurred with respect to "bodily                      "Nuclear material" means "source material",
          injury"  resulting    from    the    "hazardous                "special nuclear material" or "by-product material".
          properties" of "nuclear material" and arising out
          of the operation of a "nuclear facility" by any
          person or organization.




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    "Source material", "special nuclear material", and                     (c) Any equipment or device used for the
    "by-product material" have the meanings given                              processing, fabricating or alloying of
    them in the Atomic Energy Act of 1954 or in any                            "special nuclear material" if at any time the
    law amendatory thereof.                                                    total amount of such material in the
    "Spent fuel" means any fuel element or fuel                                custody of the "insured" at the premises
    component, solid or liquid, which has been used or                         where such equipment or device is
    exposed to radiation in a "nuclear reactor".                               located consists of or contains more than
                                                                               25 grams of plutonium or uranium 233 or
    "Waste" means any waste material (a) containing                            any combination thereof, or more than 250
    "by-product material" other than the tailings or                           grams of uranium 235;
    wastes      produced      by      the extraction  or
    concentration of uranium or thorium from any ore                       (d) Any structure, basin, excavation, premises
    processed primarily for its "source material"                              or place prepared or used for the storage
    content, and (b) resulting from the operation by                           or disposal of "waste";
    any person or organization of any "nuclear facility"             and includes the site on which any of the foregoing
    included under the first two paragraphs of the                   is located, all operations conducted on such site
    definition of "nuclear facility".                                and all premises used for such operations.
    "Nuclear facility" means:                                        "Nuclear reactor" means any apparatus designed
         (a) Any "nuclear reactor";                                  or used to sustain nuclear fission in a
                                                                     self-supporting chain reaction or to contain a
         (b) Any equipment or device designed or                     critical mass of fissionable material.
             used for (1) separating the isotopes of
             uranium or plutonium, (2) processing or                 "Property damage" includes all forms of radioactive
             utilizing "spent fuel", or (3) handling,                contamination of property.
             processing or packaging "waste";




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                                                                                                 COMMERCIAL GENERAL LIABILITY


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  AMENDMENT OF DEFINITIONS - INSURED CONTRACT
                                                          (Limited Form)

This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


The definition of "insured contract" in the Definitions section is replaced by the following:
    "Insured contract" means any written:
         a.    Contract for a lease of premises. However, that portion of the contract for a lease of premises that
               indemnifies any person or organization for "property damage" to premises while rented or loaned to
               you, or temporarily occupied by you with permission of the owner, is not an "insured contract";
         b.    Sidetrack agreement;
         c.    Easement or license agreement, except in connection with construction or demolition operations on or
               within 50 feet of a railroad;
         d.    Obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
               municipality;
         e.    Elevator maintenance agreement; or
         f.    Part of any other contract or agreement pertaining to your business (including an indemnification of a
               municipality in connection with work performed for a municipality) under which you assume tort liability
               of another party to pay for "bodily injury" or "property damage" to a third person or organization,
               provided the "bodily injury" or "property damage" is caused, in whole or in part, by you or those acting
               on your behalf. However, such part of a contract or agreement shall only be considered an "insured
               contract" to the extent your assumption of the tort liability is permitted by law. Tort liability means a
               liability that would be imposed by law in the absence of any contract or agreement.
         An "insured contract" does not include that part of any contract or agreement:
         a.    That indemnifies any person or organization for "bodily injury" or "property damage" arising out of
               construction or demolition operations, within 50 feet of any railroad property and affecting any railroad
               bridge or trestle, tracks, road-beds, tunnel, underpass or crossing;
         b.    That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
               (1) Preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports,
                   surveys, field orders, change orders, designs, drawings, or specifications; or
               (2) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                   damage;
         c.    Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
               arising out of the insured's rendering or failure to render professional services, including those listed in
               b.(1) or b.(2) above and supervisory, inspection, architectural or engineering activities; or
         d.    That indemnifies any person or organization for "bodily injury" or "property damage" arising from the
               ownership, maintenance, or use of any aircraft.




All other terms and conditions remain unchanged.




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                                                                                             COMMERCIAL GENERAL LIABILITY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  EXCLUSION - PUNITIVE OR EXEMPLARY DAMAGES
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

The following exclusion is added to 2. Exclusions of Section I:
    This insurance does not apply to punitive or exemplary damages, including but not limited to those damages
    that may be imposed to punish a wrongdoer or to deter others from engaging in a similar behavior.




All other terms and conditions of this policy remain unchanged.




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                                                                                                COMMERCIAL GENERAL LIABILITY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                    EXCLUSION - TOTAL POLLUTION
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A.   Exclusion f. Pollution of 2. Exclusions of Section I - Coverage A - Bodily Injury And Property Damage
     Liability is replaced by the following:
     This insurance does not apply to:
     f.   Pollution
          (1) "Bodily injury" or "property damage" which would not have occurred in whole or in part but for the
              actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of "pollutants"
              at any time.
          (2) Any loss, cost or expense arising out of any:
               (a) Request, demand, order, or statutory or regulatory requirement that any insured or others test for,
                   monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
                   assess the effects of, "pollutants"; or
               (b) Claim or "suit" by or on behalf of any authority, governmental or otherwise, for damages because of
                   testing for, monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in
                   any way responding to, or assessing the effects of, "pollutants"; or
               (c) Requirements by Environmental Protection Agency (EPA) 40 CFR Parts 280 and 281 for
                   underground storage tanks, Comprehensive Environmental Response Compensation and Liability
                   Act (CERCLA) or any similar State or Federal environmental act(s).

B.   The definition of "Pollutants" in the Definitions section is replaced by the following:
     "Pollutants" mean any solid, liquid, gaseous or thermal irritant or contaminant including smoke, vapor, soot,
     fumes, acids, alkalis, chemicals and waste. Waste includes, but is not limited to, materials to be recycled,
     reconditioned or reclaimed.




All other terms and conditions of this policy remain unchanged.




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                                                                                                COMMERCIAL GENERAL LIABILITY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


 EXCLUSION - CONTAGIOUS, INFECTIOUS OR TRANSMISSIBLE DISEASE
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

A.   The following exclusion is added to Paragraph 2., Exclusions of Section I - Coverage A - Bodily Injury And
     Property Damage Liability, Coverage B - Personal And Advertising Injury Liability, and Coverage C -
     Medical Payments:
     Contagious, Infectious or Transmissible Disease
     1.   This insurance does not apply to "bodily injury", "property damage", "personal and advertising injury" or
          medical payments arising out of claims or "suits" for actual or alleged damages caused by or arising out of:
          a.   Direct or indirect contact with or exposure to any human, mammal, reptile, insect, bird, fish, parasite, or
               any sub-species thereof infected with or carrying any "infectious agent" that may result in the
               contracting or transferring of any "contagious, infectious or transmissible disease"; or
          b.   Direct or indirect exposure to any "contagious, infectious or transmissible disease"; or
          c.   Use of, contact with, or exposure to, any product or object allegedly infected with, exposed to or
               contaminated by any "infectious agent" whether or not such product or object was handled, inspected,
               distributed, manufactured or processed by any insured or any other person.
     2.   This exclusion applies regardless of culpability or intent, including whether or not such damages were
          caused by or arising out of:
          a.   Allegations of negligent hiring, placement, training, or supervision; or
          b.   Any premises owned or occupied by, rented or leased to any insured; or
          c.   Any act, error or omission relating to negligent maintenance of premises where the insured allegedly
               knew or should have known that exposure to any "infectious agent" may result in the contracting or
               transferring of any "contagious, infectious or transmissible disease"; or
          d.   Any act, error or omission relating to negligent handling, inspection, distribution, manufacturing or
               processing of any product or object where the insured allegedly knew or should have known that
               exposure to any "infectious agent" may result in the contracting or transferring of any "contagious,
               infectious or transmissible disease".
     3.   This exclusion also applies to any:
          a.   Claims or "suits" brought by any other person, firm or organization asserting rights derived from,
               contingent upon, or arising out of a "contagious, infectious or transmissible disease" and specifically
               excludes from coverage, claims or "suits" for:
               (1) Emotional distress;
               (2) Loss of society, services, consortium or income;
               (3) Reimbursement for expenses including, but not limited to, medical expenses, hospital expenses, or
                   wages, paid or incurred, by such other person, firm or organization; or
               (4) Legal expenses, costs or fees associated with any claim or "suit".
          b.   Obligation to share damages with or repay someone who must pay damages arising out of any claim or
               "suit".




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          c.   Any loss, cost or expense arising out of any:
               (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                   monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
                   the effects of any "contagious, infectious or transmissible disease"; or
               (2) Claim or "suit" by or on behalf of any authority, governmental or otherwise, for damages because of
                   testing for, monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in
                   any way responding to, or assessing the effects of any "contagious, infectious or transmissible
                   disease".
     4.   We will have no duty to defend or indemnify any insured in any action or proceeding alleging damages
          arising out of any "contagious, infectious or transmissible disease".

B.   For the purpose of this endorsement, the following definitions are added to the Definitions Section:
     1.   "Contagious, infectious or transmissible disease" means a disease or condition caused by or arising out of
          direct or indirect contact with or exposure to any form of "infectious agent".
          "Contagious, infectious or transmissible diseases" include, but are not limited to, Anthrax, Avian Influenza
          Viruses including all Influenza A viruses and H5N1 Influenza, Botulism, Bovine Spongiform Encephalopathy,
          Cat Scratch Fever, Cholera, Chronic Wasting Disease, Diphtheria, Dysentery, E. coli, Fifth Disease,
          Foot-and-Mouth Disease, Group A Streptococcal Disease, Group B Streptococcal Disease, Hantavirus
          Infections, Hepatitis A, Hepatitis B, Hepatitis C, Influenza, Legionellosis (Legionnaires' Disease or Pontiac
          Disease), Lyme Disease, Malaria, Meningitis, Necrotizing Fasciitis, New Variant Creutzfeldt-Jakob Disease,
          Pertussis, Pneumococcal Disease, Rabies, Ringworm, Rocky Mountain Spotted Fever, Scrapie, Shingles,
          Staphylococcus, Tetanus, Transmissible Spongiform Encephalopathy, Variant Creutzfeldt-Jakob Disease,
          West Nile Virus, Yellow Fever or Zoonoses.
     2.   "Infectious agent" means any one or more pathogens such as, but not limited to, bacterium, fungus, marker,
          microbial agent, microorganism, organism, protozoa, virus, or any other source, variant or mutation thereof,
          capable of transmission by any means from any source to any other source that can potentially infect,
          contaminate, cause, contribute or lead to the development of a "contagious, infectious or transmissible
          disease".




All other terms and conditions of this policy remain unchanged.




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                                                                                               COMMERCIAL GENERAL LIABILITY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               LIMITATION OF COVERAGE TO DESIGNATED OPERATIONS
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A.   The following exclusion is added to 2. Exclusions of Section I - Coverage A - Bodily Injury And Property
     Damage Liability, Coverage B - Personal And Advertising Injury Liability and Coverage C - Medical
     Payments:
     This insurance does not apply to "bodily injury", "property damage", "personal and advertising injury" or medical
     payments arising out of, or in any way related to, operations performed by any insured or any person or
     organization for whom any insured may be legally or contractually responsible, unless such operations are “
     "designated operations".

B.   For the purpose of this endorsement, the following definition is added to the Definitions section:
     "Designated operations" means only those operations performed by any insured that are described on the
     General Liability Coverage Part Declarations, the endorsements, or supplements of this insurance.




All other terms and conditions of this policy remain unchanged.




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                                                                                                COMMERCIAL GENERAL LIABILITY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           EXCLUSION - MICROORGANISMS, BIOLOGICAL ORGANISMS,
                BIOAEROSOLS OR ORGANIC CONTAMINANTS
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following exclusions are added to 2. Exclusions of Section I - Coverage A - Bodily Injury And Property
Damage Liability, Coverage B - Personal And Advertising Injury Liability and Coverage C - Medical Payments:
This insurance does not apply to:
1.   "Bodily injury", "property damage", "personal and advertising injury", or medical payments arising out of, related
     to, caused by or in any way connected with the exposure to, presence of, formation of, existence of or actual,
     alleged or threatened discharge, dispersal, seepage, migration, release or escape of any microorganisms,
     biological organisms, bioaerosols or organic contaminants including, but not limited to, mold, mildew, fungus,
     spores, yeast or other toxins, mycotoxins, allergens, infectious agents, wet or dry rot or rust, or any materials
     containing them at any time, regardless of the cause of growth, proliferation or secretion.
2.   Any loss, cost or expense arising out of any:
     a.   Request, demand, order, or requirement by or on behalf of any authority, governmental or otherwise, that
          any insured or others abate, test for, monitor, clean up, remove, contain, treat, detoxify or neutralize,
          remediate or dispose of, or in any way respond to, or assess the effects of microorganisms, biological
          organisms, bioaerosols or organic contaminants including, but not limited to, mold, mildew, fungus, spores,
          yeast, or other toxins, mycotoxins, allergens, infectious agents, wet or dry rot or rust, or any materials
          containing them at any time, regardless of the cause of growth, proliferation or secretion; or
     b.   Claim or "suit" by or on behalf of any authority, governmental or otherwise, for damages because of
          abating, testing for, monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing,
          remediating or disposing of, or in any way responding to, or assessing the effects of microorganisms,
          biological organisms, bioaerosols or organic contaminants including, but not limited to, mold, mildew,
          fungus, spores, yeast, or other toxins, mycotoxins, allergens, infectious agents, wet or dry rot or rust, or any
          materials containing them at any time, regardless of the cause of growth, proliferation or secretion.
We shall have no duty to investigate, defend, or indemnify any insured in any action or proceeding alleging
damages arising out of direct or indirect contact with, any exposure to, or the ingestion, inhalation or absorption of
any microorganisms, biological organisms, bioaerosols, or organic contaminants including, but not limited to, mold,
mildew, fungus, spores, yeast or other toxins, mycotoxins, allergens, infectious agents, wet or dry rot or rust, or any
materials containing them at any time, regardless of the cause of growth, proliferation or secretion.
This exclusion does not apply to any fungi, bacteria, microorganisms or biological organisms that are, are on, or are
contained in, a good or product intended for bodily consumption.




All other terms and conditions of this policy remain unchanged.




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                                                                                             COMMERCIAL GENERAL LIABILITY


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                EXCLUSION - CONTRACTORS AND SUBCONTRACTORS
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following exclusion is added to 2. Exclusions of Section I - Coverage A - Bodily Injury And Property Damage
Liability, Coverage B - Personal And Advertising Injury Liability and Coverage C - Medical Payments:
This insurance does not apply to "bodily injury", "property damage", "personal and advertising injury" or medical
payments arising out of work performed by any contractor or subcontractor whether hired by or on behalf of any
insured, or any acts or omissions in connection with the general supervision of such work.




All other terms and conditions of this policy remain unchanged.




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                                                                                             COMMERCIAL GENERAL LIABILITY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                CHANGES - CIVIL UNION OR DOMESTIC PARTNERSHIP
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


All references to spouse shall include an individual who is a party to a civil union or is in a domestic partnership
recognized under state law, where applicable.




All other terms and conditions remain unchanged.




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POLICY NUMBER: NN1125585                                                                        COMMERCIAL GENERAL LIABILITY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      AMENDMENT OF CONDITIONS - PREMIUM AUDIT
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
     PROFESSIONAL LIABILITY COVERAGE PART


A.   The Premium Audit Condition under Section IV - Conditions is replaced by the following:
     Premium Audit
     1.   We will compute all premiums for this Coverage Part in accordance with our rules and rates. Premium
          shown in this Coverage Part as advance premium is a minimum and deposit premium.
          The rates for each classification shown in the Declarations are multiplied by the estimated premium bases
          of that classification for the term to determine the advance premium.
          We may conduct an audit of your books to determine the actual premium bases developed during the
          policy period. To calculate the actual premium developed during the policy period we will use one, or a
          combination, of the following premium bases: payroll, admissions, gross sales, total cost, area, each
          exposure unit, units or total operating expenditures.
     2.   If we determine, whether by audit of your books and records or otherwise, that you are conducting
          operations not scheduled on this policy, we may add the appropriate classifications and compute the rates
          and premiums in accordance with our rules and rates in effect on the inception date of this policy, unless
          coverage has been restricted to "designated operations".
     3.   Premium Bases.
          The premium bases are defined in accordance with our rules and the following additional definitions:
          a.   Payroll (premium basis symbol p): Remuneration paid to "employees", "casual laborers", "temporary
               workers", day laborers, statutory workers, seasonal workers or "leased workers", including but not
               limited to:
               (1) Money or substitutes for money; commissions; bonuses; overtime; payments to statutory
                   insurance or pension plans; profit sharing or incentive plans; pay for holidays, vacation or sickness;
                   and fees paid to employment agencies for temporary personnel provided to you.
               (2) If your operations consist of a number of separate operations classified individually in the
                   Declarations, the payroll will be allocated to each classification where you have maintained records
                   for each separate operation. Any such operation for which separate records are not maintained by
                   you will be assigned to the highest rated classification.
               (3) For premium computation purposes, the payroll of executive officers, individual insureds and
                   co-partners is subject to a minimum annual payroll per person of:

                                                            $

                   (If no entry is made, the minimum payroll as established by our rating rules will apply.)
               The rates apply per $1,000 of Payroll.
          b.   Admissions (premium basis symbol m): The total number of persons, other than your "employees",
               admitted to the insured event or to events conducted on the premises whether on paid admissions,
               tickets, complimentary tickets or passes.
               The rates apply per 1,000 Admissions.




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         c.    Gross Sales (premium basis symbol s): The gross amount charged by you, your concessionaires or
               by others trading under your name for:
               (1) All goods or products, sold or distributed;
               (2) Operations performed during the policy period; and
               (3) Rentals; or
               (4) Dues or fees.
               The rates apply per $1,000 of Gross Sales.
         d.    "Total Cost" (premium basis symbol c) means the total cost of all work let or sublet in connection with
               each specific project including:
               (1) The cost of all labor, materials and equipment furnished, used or delivered for use in the execution
                   of the work including the cost of finished equipment installed whether or not furnished by the
                   contractor, or subcontractor, or by you; and
               (2) All fees, bonuses or commissions made, paid or due.
               The rates apply per $1,000 of Total Cost.
         e.    Area (premium basis symbol a): The total number of square feet of floor space at the insured premises.
               The rates apply per 1,000 square feet of Area.
         f.    Each (premium basis symbol t): This basis of premium involves units of exposure, and the quantity
               comprising each unit of exposure is indicated in the Declarations, such as "per person".
               The rates apply per each unit of exposure.
         g.    Units (premium basis symbol u): A single room or group of rooms intended for occupancy as separate
               living quarters by a family, by a group of unrelated persons living together, or by a person living alone.
               The rates apply per Unit.
         h.    Total Operating Expenditures (premium basis symbol o): Total expenditures (including grants,
               entitlements and shared revenue) without regard to source of revenue during the policy period
               including accounts payable.
               The rates apply per $1,000 of Total Operating Expenditures.
    4.   The first Named Insured must keep records of the information we need for premium computation and send
         us copies at such times as we may request. Failure to supply such records upon request will be deemed a
         breach of condition and subject this policy, and may subject any in force policy of yours, to cancellation for
         breach of conditions.
    5.   We reserve the right to examine and audit your books and records as they relate to this policy at any time
         during the policy period and up to three years afterward.
    6.   Premium shown in this Coverage Part as advance premium is a minimum and deposit premium. Advance
         premium includes any payments identified as premium paid prior to policy expiration. At the close of each
         audit period, we will compute the earned premium for that period. Audit premium is due and payable upon
         notice to the first Named Insured. Failure to pay the audit premium due will be deemed a breach of contract
         and subject this policy, and may subject any in force policy of yours, to cancellation for non-payment of
         premium.
         a.    If the actual earned premium generated as a result of an audit for the policy period is less than the
               advance premium, such advance premium is the minimum premium for the policy period indicated and
               is not subject to adjustment.
         b.    If the actual earned premium generated as a result of an audit for the policy period is greater than the
               advance premium, then a final premium adjustment endorsement will be issued. The additional
               premium amount shown on the final premium adjustment endorsement is due and payable to us upon
               notice to the first Named Insured.
    7.   Estimated Annual Audit Procedure:
         If, after three documented attempts, we are unable to examine your books and records to obtain the
         information necessary to complete the audit, we may implement our estimated audit procedure as outlined
         below:
         a.    An Estimated Audit Endorsement will be issued reflecting a fifty percent (50%) increase in your reported
               premium basis. This increase is an estimate based on information we have on file, or your business
               operations.


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          b.   The Estimated Audit Endorsement will include a copy of the Unproductive Audit Report that outlines the
               documented attempts made to collect the required information.
          c.   If you agree with the Estimated Audit Endorsement, you must remit payment for the full amount of the
               estimated audit; or
          d.   If you dispute the Estimated Audit Endorsement, you must provide the requested audit information so
               we can calculate the proper earned premium developed for the policy period.
     8.   Cancellation Audit Procedure.
          a.   If the policy is canceled prior to the expiration date the first Named Insured retains the unearned
               premium; we will retain the earned premium developed by:
               (1) Multiplying the advance premium by the applicable pro-rata factor, short-rate factor, or minimum
                   earned premium percentage; or
               (2) An audit of your books and records for the period the policy was in force,
               whichever is greater.
          b.   If the actual earned premium generated as a result of an audit is greater than the advance premium
               paid at issuance, then a final premium adjustment endorsement will be issued. The additional premium
               amount shown on the final premium adjustment endorsement is due and payable to us upon notice to
               the first Named Insured.

B.   The following definitions are added to the Definitions section:
     1.   "Casual laborers" are persons who provide services that are performed in the course of the employing unit's
          trade or business regardless of the amount of remuneration received or the length of time the services are
          provided.
     2.   "Designated operations" means only those operations performed by any insured that are described on the
          Common Policy Declarations, the General Liability Coverage Part Declarations, or the endorsements or
          supplements of this insurance.




All other terms and conditions of this policy remain unchanged.




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POLICY NUMBER: NN1125585                                                                             COMMERCIAL GENERAL LIABILITY


            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                 DEDUCTIBLE LIABILITY INSURANCE
                           (Including Allocated Loss Adjustment Expense)
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                                                    SCHEDULE

           Coverage                                                         Amount And Basis Of Deductible

                                                         PER CLAIM                    PER OCCURRENCE                           PER ITEM

     Bodily Injury Liability                         $                       - OR -       $                                Not Applicable
                - OR -
     Property Damage Liability                       $                       - OR -       $                       - OR -   $
                - OR -
     Bodily Injury Liability and                     $   500                 - OR -       $                                Not Applicable
     Property Damage Liability Combined


A.    Our obligation under the Bodily Injury Liability and Property Damage Liability Coverages to pay damages on
      your behalf applies only to the amount of damages in excess of any deductible amounts stated in the Schedule
      as applicable to such coverages.

B.    You may select a deductible amount on either a per claim, a per "occurrence" or per item basis. Your selected
      deductible applies to the coverage option and to the basis of the deductible indicated by the placement of the
      deductible amount in the Schedule. The deductible amount stated in the Schedule applies as follows:
      1.   PER CLAIM BASIS. If the deductible amount indicated in the Schedule is on a per claim basis, that
           deductible applies as follows:
           a.    Under Bodily Injury Liability Coverage, to all damages sustained by any one person because of "bodily
                 injury";
           b.    Under Property Damage Liability Coverage, to all damages sustained by any one person because of
                 "property damage"; or
           c.    Under Bodily Injury and Property Damage Liability Coverage Combined, to all damages sustained by
                 any one person because of:
                 (1) "Bodily injury";
                 (2) "Property damage"; or
                 (3) "Bodily injury" and "property damage" combined
           as the result of any one "occurrence".
           If damages are claimed for care, loss of services, loss of support or death resulting at any time from "bodily
           injury", a separate deductible amount will be applied to each person making a claim for such damages.
           With respect to "property damage", person includes an organization.




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     2.   PER OCCURRENCE BASIS. If the deductible amount indicated in the Schedule is on a per "occurrence"
          basis, that deductible amount applies as follows:
          a.   Under Bodily Injury Liability Coverage, to all damages because of "bodily injury";
          b.   Under Property Damage Liability Coverage, to all damages because of "property damage"; or
          c.   Under Bodily Injury and Property Damage Liability Coverage Combined, to all damages because of:
               (1) "Bodily injury";
               (2) "Property damage"; or
               (3) "Bodily injury" and "property damage" combined
          as the result of any one "occurrence", regardless of the number of persons or organizations who sustain
          damages because of that "occurrence".
     3. PER ITEM BASIS. If the deductible amount indicated in the Schedule is on a per item basis, that deductible
        amount applies under Property Damage Liability Coverage, to each item damaged because of "property
        damage" sustained by one person or organization as the result of any one "occurrence".

C. The deductible amount stated in the Schedule applies to loss, legal expense, and our "Allocated Loss
   Adjustment Expense" incurred, whether or not payment is made to the claimant, compromise settlement is
   reached or the claim is denied.

D. The terms of this insurance, including those with respect to:
     1.   Our right and duty to defend the insured against any "suits" seeking those damages; and
     2.   Your duties in the event of an "occurrence", claim or "suit"
     apply irrespective of the application of the deductible amount.

E.   We may, at our sole election and option, either:
     1.   Pay any part or all of the deductible amount to effect settlement of any claim or "suit" and upon notification
          of the action taken, you will promptly reimburse us for such part of the deductible amount as has been paid
          by us; or
     2.   Upon our receipt of notice of any claim or at any time thereafter, request you to pay and deposit with us all
          or any part of the deductible amount, to be held and applied according to the terms of this policy.

F.   The following is added to the Definitions section:
     "Allocated Loss Adjustment Expense" will include all costs and expenses incurred by us in investigating and
     adjusting any loss, with the exception of salary and overhead.




All other terms and conditions of this policy remain unchanged.




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                                                                                                  COMMERCIAL GENERAL LIABILITY


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       AMENDMENT OF LIQUOR LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


Exclusion c. Liquor Liability under Paragraph 2., Exclusions of Section I - Coverage A - Bodily Injury and
Property Damage Liability is replaced by the following:
    This insurance does not apply to:
    c.   Liquor Liability
         "Bodily injury" or "property damage" for which any insured may be held liable by reason of:
         (1) Causing or contributing to the intoxication of any person, including causing or contributing to the
             intoxication of any person because alcoholic beverages were permitted to be brought on your
             premises, for consumption on your premises;
         (2) The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of
             alcohol; or
         (3) Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic beverages.
         This exclusion applies even if the claims against any insured or his indemnitee allege negligence or other
         wrongdoing in:
               (a) The supervision, hiring, employment, training or monitoring of others by that insured; or
               (b) Providing or failing to provide transportation with respect to any person that may be under the
                   influence of alcohol;
         if the "occurrence" which caused the "bodily injury" or "property damage", involved that which is described
         in Paragraph (1), (2) or (3) above.
         This exclusion applies only if you:
         (1) Are an owner or lessor of premises used for activities described in (2), (3), (4) or (5) below whether
             such activities are performed with or without your knowledge;
         (2) Manufacture, sell or distribute alcoholic beverages;
         (3) Serve or furnish alcoholic beverages for a charge where the activity:
               (a) Requires a license; and
               (b) Is for the purpose of financial gain or livelihood;
         (4) Serve or furnish alcoholic beverages without a charge, if a license is required for such activity; or
         (5) Permit any person to bring any alcoholic beverages on your premises, for consumption on your
             premises.




All other terms and conditions remain unchanged.




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                                                                                                COMMERCIAL GENERAL LIABILITY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                            EXCLUSION - ASBESTOS
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

A.   The following is added to Paragraph 2. Exclusions of Section I - Coverage A - Bodily Injury And Property
     Damage Liability, Coverage B - Personal And Advertising Injury Liability and Coverage C - Medical
     Payments:
     This insurance does not apply to:
     1.   "Bodily injury", "property damage", "personal and advertising injury", medical payments or "reduction in
          value" related to the actual, alleged, or threatened presence of, or exposure to "asbestos" in any form, or to
          harmful substances emanating from "asbestos". This includes ingestion, inhalation, absorption, contact
          with, existence or presence of, or exposure to "asbestos". Such injury from or exposure to "asbestos" also
          includes, but is not limited to:
          a.   The existence, installation, storage, handling or transportation of "asbestos";
          b.   The removal, abatement or containment of "asbestos" from any structures, materials, goods, products,
               or manufacturing process;
          c.   The disposal of "asbestos";
          d.   Any structures, manufacturing processes, or products containing "asbestos";
          e.   Any obligation to share damages with or repay someone else who must pay damages because of such
               injury or damage; or
          f.   Any supervision, instructions, recommendations, warnings or advice given or which should have been
               given in connection with the above.
     2.   Any loss, cost or expense, including, but not limited to payment for investigation or defense, fines, penalties
          and other costs or expenses, arising out of any:
          a.   Claim, "suit", demand, judgment, obligation, order, request, settlement, or requirement by or on behalf
               of any authority, governmental or otherwise, that any insured or any other person or entity test for,
               monitor, clean up, remove, contain, mitigate, treat, neutralize, remediate, or dispose of, or in any way
               respond to, or assess the actual or alleged effects of "asbestos"; or
          b.   Claim, "suit", demand, judgment, obligation, request, or settlement due to any actual, alleged, or
               threatened injury or damage from "asbestos" or testing for, monitoring, cleaning up, removing,
               containing, mitigating, treating, neutralizing, remediating, or disposing of, or in any way responding to
               or assessing the actual or alleged effects of, "asbestos" by any insured or by any other person or entity;
               or
          c.   Claim, "suit", demand, judgment, obligation, or request to investigate which would not have occurred, in
               whole or in part, but for the actual or alleged presence of or exposure to "asbestos".
     This exclusion applies regardless of who manufactured, produced, installed, used, owned, sold, distributed,
     handled, stored or controlled the "asbestos".

B. The following definitions are added to the Definitions section:
     1.   "Asbestos" means any type or form of asbestos, asbestos fibers, asbestos products, or asbestos materials,
          including any products, goods, or materials containing asbestos or asbestos fibers, products or materials
          and any gases, vapors, scents or by-products produced or released by asbestos.
     2.   "Reduction in value" means any claim, demand or "suit" that alleges diminution, impairment or devaluation
          of tangible property.



All other terms and conditions of this policy remain unchanged.




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